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  10   CHRISTOPHER RICHMOND

  11                    UNITED STATES DISTRICT COURT FOR THE
  12
                           SOUTHERN DISTRICT OF CALIFORNIA
  13

  14   CHRISTOPHER RICHMOND, an                     Case No: 3:20-cv-01925-W-KSC
  15   individual,
                   Plaintiff,                       DECLARATION OF ALAN K.
  16                                                BRUBAKER IN SUPPORT OF
                   v.                               PLAINTIFF’S OPPOSITION TO
  17
                                                    DEFENDANTS’ REQUESTS FOR
  18   DAVID MIKKELSON, an individual;
                                                    ATTORNEYS’ FEES PURSUANT TO
       BRAD WESTBROOK, an individual;
  19                                                ECF 38
       and DOE DEFENDANTS 1-10,
  20   inclusive,
                  Defendants,
  21
                                                    Judge:           Hon. Thomas J. Whelan
       and
  22                                                Dept.:           3C
        SNOPES MEDIA GROUP, INC.                    Mag. Judge:      Hon. Karen S. Crawford
  23
               Nominal Defendant.                   Action filed:    September 25, 2020
  24
  25

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                                                 -1-
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   1         I, Alan K. Brubaker, declare:
   2         1.     I am an attorney duly admitted to practice before all courts of this State
   3   and the Southern District of California. I am a partner in Wingert Grebing Brubaker
   4   & Juskie LLP. I know of the facts stated in this declaration and, if called as a
   5   witness, could and would competently testify to such facts.
   6                                  Biography and Resume
   7         2.     Attached as Exhibit 1 is a true copy of my professional resume.
   8         3.     I have been a licensed attorney in the State of California since 1976. In
   9   my nearly five decades of practice, have tried over sixty cases in federal and state
  10   courts. My practice areas include complex civil litigation, intellectual property
  11   disputes and defense of catastrophic injury claims. I have received an AV©
  12   Preeminent© rating (highest legal competence) from Martindale-Hubbell and have
  13   been listed in the Best Lawyers in America© for nearly 20 years. I am a member of
  14   the American College of Trial Lawyers, an invitation-only association of lawyers
  15   and judges experienced in the trial of cases dedicated to the improvement of the
  16   standards of trial practice; an invitation only organization. I am also a past president
  17   of CAL-ABOTA, the California regional chapter of the American Board of Trial
  18   Advocates, the premier association of American trial lawyers. I am also a Fellow in
  19   the International Society of Barristers, admission to which is by invitation only.
  20         4.     I have received an AV© Preeminent© rating (highest legal
  21   competence) from Martindale-Hubbell and have been listed in the Best Lawyers in
  22   America© for 20 years. I have also been recognized in each edition of San Diego
  23   Super Lawyers®. In 2015, I received the Daniel T. Broderick III Professionalism
  24   and Civility Award, which recognizes a San Diego attorney who demonstrates the
  25   highest levels of civility, integrity and professionalism.
  26         5.     Since I began my work as a lawyer in San Diego in 1976, I have
  27   litigated numerous matters in the San Diego Superior Court, the United States
  28   District Court for the Southern District of California and in Superior Courts in other
                                                 -2-
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   1   counties in California. During that time, I have had the opportunity to work with
   2   and against hundreds of attorneys in complex litigation, intellectual property
   3   disputes, litigation involving business transactions, and the sequela to those
   4   transactions, including malpractice and fee disputes. I have been retained as a fee
   5   expert in approximately three cases pending in state and federal courts.
   6                              Scope of Retention and Review
   7         6.     I have been retained by counsel for Plaintiff CHRISTOPHER
   8   RICHMOND to review various historical pleadings and to opine regarding the
   9   reasonableness of the rates charged, hours billed, and attorneys’ fees sought by
  10   counsel for Defendants DAVID MIKKELSON and BRAD WESTBROOK in their
  11   Motion for Attorneys’ Fees Under Code of Civil Procedure Sections 425.16(c)(l)
  12   and 128.5 and their Brief in Support of Request for Attorneys’ Fees and by counsel
  13   for Defendant SNOPES MEDIAL GROUP, INC.’s Motion for Sanctions Under
  14   Federal Rule of Civil Procedure 11.
  15         7.     I have been provided and have reviewed case documents numbered
  16   ECF 9, 11-1, 12-1, 17, 18, 23, 25-1, 26-1, 29, 31, 35, 36, 38, 40, 42, 42-1, 43, 43-3.
  17         8.     I have also reviewed and analyzed the specific fee requests evidenced
  18   in “Exhibit B,” document ECF 43-3 and in document ECF 42-1.
  19         9.     Exhibit 2 is a true and correct copy of a spreadsheet populated using
  20   the billing entries from Procopio found in Exhibits 1-8 of the Declaration of Paul A
  21   Tyrell in Support of Brief of Snopes Media Group, Inc. in Support of Sanctions
  22   Award (ECF 42-1) (Tyrell Declaration). This spreadsheet has been sorted to show
  23   the entries from earliest at the top to the most recent entries at the bottom.
  24         10.    Exhibit 3 is a true and correct copy of a spreadsheet populated using
  25   the billing entries from Gordon Rees found in Exhibit B of the Declaration of Holly
  26   L.K. Heffner in Support of Defendants David Mikkelson and Brad Westbrook’s
  27   Request for Attorneys’ Fees, Pursuant to ECF 38 (Rule 11 Order) (Heffner
  28   Declaration). This spreadsheet has been sorted to show the entries from earliest
                                                 -3-
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   1   entries at the top to the most recent entries at the bottom. There is a slight
   2   discrepancy in the numbers reflected on the spreadsheet, which indicate 225.7 hours
   3   for a total of $108,812.50, in comparison with the 227.8 hours for $109,990.00
   4   claimed by the Individual Defendants. Though I did not personally verify or
   5   compare this spreadsheet with Gordon Rees billing entries, an administrative
   6   assistant reviewed these numbers and corresponding descriptions twice to verify
   7   their accuracy against the billing entries in Gordon Rees’ invoices.
   8         11.    Exhibit 4 is a true and correct copy of a spreadsheet populated by
   9   combining the billing entries from Procopio in Exhibits 1-8 of the Tyrell
  10   Declaration with the billing entries from Gordon Rees in Exhibit B of the Heffner
  11   Declaration. This spreadsheet has been sorted to show the entries from earliest
  12   entries at the top to the most recent at the bottom.
  13         12.    Exhibit 5 is a true and correct copy of a printout of William
  14   Belanger’s biography from Procopio’s website.
  15         13.    Exhibit 6 is a true and correct copy of a spreadsheet showing all time
  16   billed by Procopio attorney William Belanger, populated using the billing entries
  17   from Procopio using Exhibits 1-8 of the Tyrell Declaration. This spreadsheet has
  18   been sorted to show the earliest entries at the top to the most recent at the bottom.
  19         14.    Exhibit 7 is a true and correct copy of a spreadsheet showing all time
  20   billed by Procopio attorney Ryan Caplan, populated using the billing entries from
  21   Procopio using Exhibits 1-8 of the Tyrell Declaration. This spreadsheet has been
  22   sorted to show the earliest entries at the top to the most recent at the bottom.
  23         15.    Exhibit 8 is a true and correct copy of a spreadsheet showing all time
  24   billed by Procopio paralegal Erin Alcantara, populated using the billing entries
  25   from Procopio using Exhibits 1-8 of the Tyrell Declaration. This spreadsheet has
  26   been sorted to show the earliest entries at the top to the most recent at the bottom.
  27         16.    Exhibit 9 is a true and correct copy of a spreadsheet showing all time
  28   billed by Gordon Rees attorney Richard Sybert, populated using the billing entries
                                                 -4-
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   1   from Gordon Rees in Exhibit B to the Heffner Declaration. This spreadsheet has
   2   been sorted to show the earliest entries at the top to the most recent at the bottom.
   3         17.    Exhibit 10 is a true and correct copy of two spreadsheets showing all
   4   time billed by Procopio partner Tyrell and associate Kozaczuk, populated using the
   5   billing entries from Procopio using Exhibits 1-8 to the Tyrell Declaration. This
   6   spreadsheet has been sorted to show the earliest entries at the top to the most recent
   7   at the bottom.
   8         18.    Exhibit 11 is a true and correct three spreadsheets showing all time
   9   billed by Gordon Rees partner Heffner and associates Ren and Brown, populated
  10   using the billing entries from Gordon Rees in Exhibit B to the Heffner Declaration.
  11   This spreadsheet has been sorted to show the earliest entries at the top to the most
  12   recent at the bottom.
  13         19.    Exhibit 12 is a true and correct copy of relevant excerpts of the “2020
  14   Real Rate Report,” published by Wolters Kluwer, which is the most recent report
  15   available and includes data through 2019. In its Data Methodology Appendix, the
  16   report states that the rate data in it “were taken from invoice line items contained in
  17   invoices received and approved by participating companies.” This information
  18   includes law firm, timekeeper ID, timekeepers’ role (partner, associate, paralegal),
  19   uniform task codes, date of service, hours, billed, hourly rate billed, and fees billed.
  20                                   Applicable Standards
  21         20.    In the Ninth Circuit, courts calculate an award of attorneys’ fees using
  22   the lodestar method, multiplying “the number of hours the prevailing party
  23   reasonably expended on the litigation by a reasonable hourly rate.” Camacho v.
  24   Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008) (citation omitted); see also
  25   McGrath v. Cty. of Nevada, 67 F.3d 248, 252 (9th Cir. 1995) (explaining that
  26   awards of attorney’s fees are calculated by the Lodestar method of multiplying the
  27   reasonable number of hours necessary to the success of the action by the reasonable
  28   hourly prevailing market rate for the particular legal work performed).
                                                 -5-
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   1         21.    The burden is on the fee applicant to demonstrate that the number of
   2   hours spent were “reasonably expended” and that counsel made a “good faith effort
   3   to exclude from [the] fee request hours that are excessive, redundant, or otherwise
   4   unnecessary[.]” Hensley v. Eckerhart, 461 U.S. 424, 434 (1983). This Court has
   5   broad discretion in determining the reasonableness of attorney’s fees. See Gates v.
   6   Deukmejian, 987 F.2d 1392, 1398 (9th Cir. 1992).
   7         22.    In applying these standards here, I note my great respect for Procopio
   8   and for Gordon Rees. Though I have not met and do not know the attorneys
   9   involved, I have worked with several attorneys affiliated with each firm, and have
  10   found them to be competent, diligent and ethical. One of my former colleagues
  11   from Wingert Grebing is a partner at Gordon Rees whom I highly respect.
  12       Opinion 1: Duplicative Billing and Overbilling Related to Conferences
  13         23.    I note that Snopes and the Individual Defendants filed substantially
  14   similar briefs supporting their nearly identical motions to dismiss (ECF 11-1, 11-2,
  15   23, 24), and in support of their motions for Rule 11 sanctions (ECF 25-1, 26-1, 35,
  16   36). They relied on nearly identical principles of law as that argued in their motions
  17   to dismiss. However, instead of filing one motion with a joinder by the other, they
  18   filed two nearly identical sets of motions.
  19         24.    I also note in the billing evidence that the two defendants’ firms
  20   regularly called, corresponded, conferred, and reviewed one another’s pleadings
  21   and motions. It appears they regularly shared strategy in their joint efforts to defeat
  22   Plaintiff’s claims and impose sanctions. For example, on October 5, 2020, there
  23   was a joint call between the two firms attended by Tyrell, Belanger, and Sybert, the
  24   three highest billing attorneys on this matter. (See Ex. 4, at 10/5/2020.) Defendants
  25   seek monetary sanctions for time incurred by all three attorneys. This is but a single
  26   example of similar billing entries found throughout the evidence submitted by
  27   defendants. The firms each also claim fees for correspondence between Sybert and
  28   Tyrell that same day.
                                                 -6-
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   1         25.    Another example can be found in a conference between Procopio
   2   attorney Kozaczuk and Gordon Rees attorney Heffner on December 15, 2020,
   3   shortly before the filing of defendants’ motions to dismiss. Heffner billed 1.8 hours
   4   to the conference, and Kozaczuk billed. 1.4 hours. (See Ex. 4 at 12/15/20.) This also
   5   happened on December 21 and 28, 2020. (See id. at 12/21/20, 12/28/20.)
   6         26.    This multi-brief approach also resulted in duplication of effort and fees
   7   in each party’s review of the other’s respective briefing. For example, on January 1,
   8   2021, Gordon Rees attorneys Sybert, Heffner and Brown each billed time to review
   9   Snopes’ Rule 11 motion, and seek fees for all three reviews in monetary sanctions. I
  10   can see no distinct contribution from each attorney to this, or similar reviews that
  11   took place when Snopes’ reviewed the Individual Defendants’ briefing.
  12         27.    Based on this review of the evidence submitted by defendants
  13   supporting their requests for monetary sanctions, it is my opinion there was a
  14   significant duplication of effort in the work performed by Procopio and Gordon
  15   Rees to dismiss the complaint and obtain sanctions. Accordingly, the time incurred
  16   by both defendants was unreasonable and excessive. See ACLU of Georgia v.
  17   Barnes, 168 F.3d 423, 428–29 (11th Cir. 1999) (explaining that attorneys are
  18   ethically required to use good “billing judgment,” which makes it unreasonable to
  19   bill a client for hours that are “excessive, redundant, or otherwise unnecessary.”)
  20   (citing Hensley, 461 U.S. at 434).
  21                   Opinion 2: Unreasonableness of Procopio’s Hours
  22         28.    Procopio identifies six categories of work related to the hours billed on
  23   behalf of Snopes: “[1] Analyzing the Complaint and FAC; [2] Evaluating options
  24   for responding to Richmond’s claims and conducting legal research regarding
  25   different options; [3] Drafting Snopes motion to dismiss, including legal research;
  26   [4] Drafting Snopes Rule 11 motion for sanctions, including legal research; [5]
  27   Reviewing pleadings, motions, orders and other materials from the state action in
  28   connection with the motion to dismiss and for sanctions; [and] [6] Analyzing
                                                 -7-
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   1   Richmond’s oppositions to the motion to dismiss and motion for sanctions and
   2   documents filed in support thereof, conducting further legal research and review of
   3   exhibits and other documents, and preparing replies.” (ECF 43-1, ¶14.) The total
   4   amount requested by Snopes also includes $7,800 attributable to the drafting of
   5   Snopes Fee Brief itself, for which exact figures were unavailable. (Id., ¶16.)
   6         29.    In my review of the Tyrell Declaration, Procopio’s billing entries, and
   7   the spreadsheet populated with those entries (Ex. 2), I note that William Belanger
   8   was not referenced in the Tyrell Declaration. In reviewing his biography on
   9   Procopio’s website, I noted that he appears to be a transactional attorney focused on
  10   mergers and acquisitions. Mr. Tyrell provides no discussion of what role Mr.
  11   Belanger played in the litigation of this Action, and Mr. Belanger’s billing entries
  12   appear to be boilerplate review of pleadings, communications with other attorneys
  13   and clients. He played no active role.
  14         30.    Based on the billing entries in Exhibit 6, it is my opinion Mr.
  15   Belanger’s assistance in this Action was unnecessary, that it appears he may have
  16   been simply keeping track of the matter in his role as a corporate attorney (since he
  17   seems to have no litigation background or experience), and I cannot identify a
  18   distinct contribution made by him. Accordingly, any monetary sanctions that may
  19   be awarded should exclude $5,131.00 for Mr. Belanger’s 7.6 hours of work claimed
  20   by Snopes. This time appears to have been unnecessary to obtain dismissal of the
  21   claims and unreasonably incurred.
  22         31.    I also noted that a Procopio attorney Ryan Caplan appeared to have
  23   regularly vaguely described work performed. These descriptions provide no
  24   understanding of what specific task Mr. Caplan performed or how that task
  25   advanced Snopes’ efforts.
  26         32.    For example, Mr. Caplan’s entries for December 2, 3, 9, 15 and 16,
  27   2020 are substantively identical, describing vague assistance, research, analysis,
  28   review and evaluation of the complaint and motion to dismiss. (See Ex. 7.) These
                                                 -8-
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   1   entries also appear to be for minimal amounts of time, most less than 1 hour, and it
   2   is difficult to understand how Mr. Caplan’s work was reasonable or necessary to
   3   Snopes’ successful dismissal of the complaint.
   4         33.    Based on these billing descriptions, it is my opinion Mr. Caplan’s
   5   assistance was unnecessary and duplicative of work performed by other attorneys
   6   supporting Snopes’ efforts, and I cannot identify a distinct contribution made by
   7   him. Accordingly, any monetary sanctions that may be awarded should exclude the
   8   $10,152.50 for Mr. Caplan’s 19 hours of work claimed by Snopes. This time
   9   appears to have been unreasonably incurred.
  10         34.    I also note that Snopes sought a rate of $300 per hour for work
  11   performed by paralegal Erin Alcantara, which appeared to me to be extremely high,
  12   even for a paralegal of 10-years’ experience. In reviewing Ms. Alcantara’s billing
  13   entries, the work performed by her was administrative (such as updating
  14   chronology, preparing documents, and reviews), and not properly awarded as
  15   monetary sanctions.
  16         35.    Based on these billing descriptions, it is my opinion that Ms.
  17   Alcantara’s time billed to Snopes was for administrative tasks and clerical work
  18   that should not be reasonably billed as part of legal fees, and I cannot identify a
  19   distinct contribution made by her to Snopes’ legal success. (See Ex. 8); see also
  20   Pierce v. Cnty. of Orange, 905 F.Supp.2d 1017, 1031 (2012) (clerical work not
  21   properly billed to the client) (citing Missouri v. Jenkins, 491 U.S. 274, 288 n.10
  22   (1989)); In re North (Bush Fee App.), 313 U.S.App.D.C. 188, 195 (D.C. Cir. 1995)
  23   “work of a predominantly secretarial nature …is thus properly included in the
  24   office overhead rather than as a separate charge.”); Keith v. Volpe, 644 F.Supp.
  25   1317 at 1323 (C.D. Cal. 1986) (disallowing hours claimed for such items as
  26   “pickup copies,” “Xerox/distribute memo,” “tag exhibits,” “file review,” “organize
  27   files,” and “reproduce documents” because “such routine work” should be reflected
  28   as overhead and not billed to clients on an hourly basis); cf. also Hensley, 461 U.S.
                                                 -9-
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    1   at 434 (“Hours that are not properly billed to one's client also are not properly billed
    2   to one’s adversary pursuant to statutory authority.”). Accordingly, any monetary
    3   sanctions that may be awarded should exclude the $960.00 for Ms. Alcantara’s 3.2
    4   hours of work claimed by Snopes.
    5                  Opinion 3: Unreasonableness of Gordon Rees Hours
    6         36.    Unlike Procopio, Gordon Rees identifies no specific categories of
    7   work performed. However, it is reasonable to believe that Gordon Rees performed
    8   similar functions, even if they may be categorized slightly differently. (ECF 43-1.)
    9   I conclude the fee requests are not reasonable, evidencing internal redundancy,
   10   excessive time invested and a duplication of efforts between the defense firms,
   11   Gordon & Rees and Procopio. Significant modifications must be made to the total
   12   number of hours billed and the applicable hourly rates to arrive at a reasonable
   13   award of attorney’s fees, should the Court decide to impose monetary sanctions. I
   14   noticed similar overbilling in evidence submitted by the Individual Defendants. For
   15   example, many of Gordon Rees attorney Richard Sybert’s entries show no
   16   contribution to any dismissal efforts, and simply reflect correspondence,
   17   conferences and other similar work. (See Ex. 9).
   18         37.    His entries also reflected case initiation work, such as case initiation
   19   and conversations about potential representation (id. at 10/8/20, 10/27/20), conflict
   20   waivers; (id. at 11/22/20, 12/15/20); obtaining payment for his clients from Snopes
   21   (11/25/20); and other tasks traditionally not properly billed to clients, and which are
   22   not considered reasonably necessary to a client’s success in an action.
   23         38.    It appears Gordon Rees partner Holly Heffner, who has been litigating
   24   in California for over 15 years, performed the majority of the substantive work
   25   relating to drafting the motion to dismiss and the Rule 11 motion. (See Ex. 11.) As
   26   a result, it is unclear what distinct role Mr. Sybert performed beyond multiple calls
   27   and correspondences, mostly appearing to have been with Mr. Mikkelson.
   28
                                                  - 10 -
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    1         39.    Based on these billing descriptions, it is my opinion Mr. Sybert’s
    2   assistance in this action was unnecessary and duplicative of work performed by
    3   other attorneys supporting Snopes’ efforts. I cannot identify a distinct contribution
    4   made by him. Accordingly, any monetary sanctions that may be awarded should
    5   exclude the $15,582.50 for Mr. Sybert’s 27.1 hours of work claimed by Snopes.
    6   This time appears to have been unreasonably incurred.
    7                  Opinion 4: Reduction of Hours to Avoid Duplication
    8         40.    Although it is not necessarily uncommon or unethical to bill for
    9   multiple attorneys on a single matter, reasonable billing practices include ensuring
   10   each attorney staffed and billing on a particular matter provides a distinct
   11   contribution demonstrated by evidence. See ACLU of Georgia, 168 F.3d at 428–29
   12   (11th Cir. 1999). Reasonable fees do not include time billed that identifies no
   13   specific contribution to an action or the success of a party in an action. Id. As noted,
   14   several attorneys from Procopio and Gordon Rees billed time I cannot see as having
   15   provided a demonstrably specific and unique contribution.
   16         41.    The difficulty comes in quantifying this duplication. A reasonable
   17   number of hours would be derived by combining the total time spent by the two
   18   firms, (reducing that number by the time incurred by Belanger (7.6 hours), Caplan
   19   (19.0 hours), Alcantara (3.2 hours), and Sybert (27.1), and dividing the resulting
   20   hours spent by two to account for duplication by the two firms. This exercise is
   21   reflected in the following table:
   22

   23    Collective hours claimed by Snopes and Individual Defendants              532.4
   24    (minus) Belanger hours billed                                                 7.6
   25    (minus) Caplan hours billed                                                   19
   26    (minus) Alcantara hours billed                                                3.2
   27    (minus) Sybert hours billed                                                27.1
   28
                                                  - 11 -
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    1
            Collective hours after unnecessary work                                475.5
    2
            Divided by two                                                     237.75 hours1
    3
                 42.   I believe the resulting 237.75 hours is a reasonable amount of time
    4
        necessary for defendants collectively to succeed on their motions to dismiss and for
    5
        sanctions. This opinion is further supported by my understanding from defendants’
    6
        briefing they have claimed to have significant experience litigating the 2017 State
    7
        Action based on substantially similar facts and circumstances against same parties
    8
        for nearly four years, and that efficiencies should have been gained from such
    9
        longstanding and continued representation of a party throughout that litigation
   10
        which is not reflected in the hours billed. (ECF 11-1, 12-1, 23, 25-1, 26-1, 35, and
   11
        36.)
   12
                 Opinion 5: Unreasonableness of Procopio and Gordon Rees Rates
   13
                 43.   Reasonable rates for attorneys’ fees recoveries are calculated
   14
        according to prevailing market rates in the community where the work is performed
   15
        and by attorneys of comparable skill, experience, and reputation. Blum v. Stenson,
   16
        465 U.S. 886, 893, 895 n. 11 (1984).
   17
                 44.   Before identifying the reasonable hourly rate to be applied to the
   18
        237.75 hours of total work performed (based on the calculations above), it is
   19
        necessary to distinguish between work done by associates and work by partners,
   20
        which traditionally carry significantly different hourly rates.
   21
                 45.   In looking at a reasonable balance between associate/partner time, it
   22
        seems Procopio and Gordon Rees took different approaches. Procopio’s lowest-
   23
        billing associate billed 257.7 hours, while Mr. Tyrell, the litigation partner on the
   24
        matter, charged a mere 19.2 hours. (See Ex. 10.)
   25

   26
        1
          This represents time actually incurred as shown in defendants’ billing statements,
   27
        and does not include time for drafting the fee briefs themselves. I address the
   28   reasonable time for the fee briefing itself below.
                                                 - 12 -
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    1         46.    Gordon Rees partner Ms. Heffner billed 118.6 hours compared with
    2   the 80 hours of associate time billed by Mr. Ren (62.2 hours) and Mr. Brown (17.8
    3   hours). (See Ex. 11.)
    4         47.    Collectively, excluding unnecessary work identified above, defendants
    5   incurred 137.8 hours of partner billable time (19.2 hours by Mr. Tyrell + 118.6
    6   hours by Heffner).
    7         48.    Similarly, defendants collectively incurred (excluding unnecessary
    8   work) 337.7 hours of associate billable time (257.7 hours by Mr. Kozaczuk + 62.2
    9   hours by Mr. Ren + 17.8 hours by Mr. Brown).
   10         49.    Comparing the collective partner time against the collective associate
   11   time indicates the appropriate allocation to apply to the 237.75 hours of time I
   12   identified above as representing a reasonable, non-duplicative effort necessary to
   13   the defendants collective success. Here, comparing the collective partner time billed
   14   to this matter (137.8 hours) with the collective associate time billed to this matter
   15   (337.7 hours) yields a ratio of approximately 40.8 partner hours for every 59.2
   16   associate hours (137.8 divided by 337.8 = 0.408 x 100).
   17         50.    Based on my experience as a litigator and a fee expert, this ratio of
   18   partner to associate billing, derived from defendants’ own billing evidence and data,
   19   is inefficient and unreasonable as matters should be staffed to push much more
   20   work to the lowest billing attorney. Also, in my opinion, given the 237.75 hours of
   21   reasonable work identified above, the reasonable allocation of billable time in this
   22   matter should be 97 hours of partner time (237.75 hours x 0.408 ratio = 97.02
   23   hours) and 140.75 hours of associate time (237.75 associate hours – 97 partner
   24   hours = 140.75 hours).
   25         51.    To arrive at an appropriate lodestar figure, this number of reasonable
   26   hours must be multiplied by a reasonable hourly rate for partners and associates in
   27   the San Diego area.
   28
                                                  - 13 -
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    1         52.    Here, Procopio and Gordon Rees each claim their hourly rates are
    2   comparable with San Diego prevailing market rates, although each firm charges
    3   substantially different rates, instead of relying on reports or other facts showing
    4   rates charged by attorneys of similar experience at comparable San Diego firms, or
    5   citing cases in which such rates have been deemed reasonable for these or other
    6   attorneys in the San Diego market.
    7         53.    For example, Procopio claims hourly rates of $425 to $760 per hour in
    8   2020 and $460 to $785 per hour in 2021 are comparable to their San Diego peer
    9   firms, but provides no information beyond Tyrell’s own personal experience to
   10   justify this claim. (ECF 42-1, ¶¶6–7.) Gordon Rees claims that its rates, $350 per
   11   hour for an associate and $550 per hour for Ms. Heffner’s work as a partner are
   12   reasonable, but as with Procopio, Ms. Heffner provides no basis for this statement
   13   beyond her personal knowledge and experience. (ECF 43-1, ¶¶8–9.)
   14         54.    The problem with these statements is that they represent a subjective
   15   value judgment, not an objective assessment of the “prevailing market rate” for
   16   comparable lawyers at similar firms. For example, neither Procopio nor Gordon
   17   Rees identifies the firms they understand to be their “peer firms” or the rates
   18   charged by attorneys of similar skill and experience at those firms.
   19         55.    Given the divergent opinions between defendants regarding the
   20   prevailing market rates, and the lack of objective evidence from defendants
   21   supporting their motions, I sought objective data concerning relevant rates in the
   22   San Diego region to opine on a reasonable rate to apply to the reasonable number of
   23   hours identified above – the 2020 Real Rate Report, page 31 of which provides a
   24   table showing 2019 Real Rates for Partners and Associates in San Diego, breaking
   25   down hourly rates by litigation/non-litigation, partner/associate, and first
   26   quartile/median/third-quartile. (See Ex. 12 at 31.)
   27         56.    Even accounting for the fact the Rate Report includes data through
   28   2019, San Diego third-quartile rates of $605 for litigation partners, and $295 for
                                                  - 14 -
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    1   litigation associates are, in my experience, reasonable hourly rate for firms such as
    2   Procopio and Gordon Rees in 2020 and 2021. (Ex. 12 at 31.) This is because the
    3   rates provided for 2017, 2018 and 2019 show no discernable trend of substantial
    4   increases, and I believe pandemic-related market pressures have limited even
    5   modest increases that could be expected in a given year. In my opinion, these rates
    6   recognize that Procopio and Gordon Rees are relatively large, full-service law firms
    7   with extensive geographic reach and relatively sophisticated practices, but there is a
    8   lower market rate traditionally applied to work in state and federal courts in San
    9   Diego, in comparison with rates in larger markets such as Los Angeles, San
   10   Francisco, New York, or Washington, D.C.
   11         57.    In my experience, hourly rates of $780, such as those charged by Paul
   12   Tyrell, are excessive compared to the prevailing market rates for similarly
   13   experienced attorneys in San Diego with complex commercial litigation practices in
   14   state and federal court. For example, I note that Gordon Rees attorney Richard
   15   Sybert, with similar experience to Mr. Tyrell, charges $575 per hour, which I view
   16   as much more in line with the prevailing market rates for attorneys with similar
   17   experience and skill to Messrs. Tyrell and Sybert on commercial litigation matters.
   18         58.    Applying the reasonable San Diego partner rate of $605 per hour to the
   19   97.0 hours of partner time reasonably necessary to defendants’ success on dismissal
   20   and sanctions, I believe the lodestar total of $58,685.00 (97.0 hours x $605 per
   21   hour) is a reasonable amount of fees incurred by defendants in time billed by
   22   partners.
   23         59.    Applying the reasonable San Diego associate rate of $295 hour to the
   24   140.75 hours of associate time reasonably necessary to defendants’ success on
   25   dismissal and sanctions, I believe the lodestar total of $41,521.25 (140.75 hours x
   26   $295 per hour) is a reasonable amount of fees incurred by defendants in time billed
   27   by associates.
   28
                                                  - 15 -
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    1         60.       My opinion is that the lodestar figure of $100,206.25 ($58,685.00 +
    2   $41,521.25) is the amount of attorneys’ fees reasonably necessary for defendants to
    3   succeed in dismissing plaintiff’s action and obtaining sanctions. This amount does
    4   not include the time spent on the fee briefing itself (ECF 42-1 and 43-1), which I
    5   discuss next.
    6                        Opinion 6: Reasonable Fees for Fee Briefing
    7         61.       The amounts discussed above do not include legal fees incurred in
    8   briefing attorneys’ fees pursuant as directed in ECF 38. Both defendants estimate
    9   the time spent on fee briefing, with Tyrell estimating 10 hours of partner time (ECF
   10   42-1, ¶¶16–17, and Heffner estimating 17 hours of partner time (ECF 43-1, ¶17).
   11   Collectively, this amounts to 27 hours of attorney time.
   12         62.       The duplicative nature of defendants’ briefing noted above was the
   13   sole cause for the need for duplicative briefing on attorneys’ fees. The principles
   14   applicable to the fees incurred in defendants’ motions to dismiss and for sanctions
   15   equally apply to the fee briefing requested by this Court.
   16         63.       50% of the 27 hours charged by counsel, or 13.5 hours, are reasonable
   17   for defendants’ fee briefing since the supporting evidence consists of billing
   18   invoices in each firms’ possession and the subjective experiences and beliefs of
   19   senior attorneys at each firm regarding the reasonableness of their rates.
   20         64.       Similarly, although both firms had partners drafting the fee briefing,
   21   there is no reason the partner to associate ratio of 0.408 calculated above would not
   22   equally apply to defendants’ fee briefing. Applying this ratio to the 13.5 hours of
   23   reasonable time, I believe the fee briefing reasonably necessitated 5.5 hours of
   24   partner time (13.5 x. .408 = 5.508) and 8 hours of associate time (13.5 – 5.5 = 8.).
   25         65.       Applying the reasonable San Diego market partner rate ($605 per
   26   hour) and associate rate ($295 per hour) discussed above to these reasonable hours
   27   yields a total reasonable fee of $5,687.8, as shown in the table below:
   28
                                                   - 16 -
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    1
         Partner Lodestar (5.5 hours x $605 per hour)                         $3,327.50
    2
         Associate Lodestar (8.0 hours x $295 per hour)                       $2,360.00
    3
         Total reasonable fee                                                 $5,687.50
    4
                                              Conclusion
    5
              66.    Based on the information and assessments noted above, it is my
    6
        opinion that should the Court decide monetary sanctions are necessary, the total
    7
        fees reasonably incurred by defendants collectively in succeeding in dismissing
    8
        plaintiff’s actions and seeking Rule 11 sanctions are $105,893.75, as summarized in
    9
        the table below:
   10
   11
         Motion to dismiss and sanctions motions lodestar                   $100,206.25

   12
         Fee briefing lodestar                                              $5,687.50

   13
         Total reasonable award                                             $105,893.75

   14         67.    Based on the evidence submitted by defendants, and because their

   15   effort to dismiss plaintiff’s action and seek sanctions was fully aligned and

   16   mutually beneficial, I see no reason this award should not be allocated equally

   17   between the respective parties, with $52,946.875 to Snopes and $52,946.875 to the

   18   Individual Defendants.

   19         I declare under penalty of perjury under the laws of the State of California
   20   that the foregoing is true and correct. This Declaration is signed on November
   21   16, 2021 in San Diego, California.
   22
                                                                        _________________
   23                                               Alan K. Brubaker
   24
   25

   26
   27

   28
                                                  - 17 -
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                          EXHIBIT 1
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                          EXHIBIT 2
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Date        Person     Hours       Description                               Hourly rate Total Cost
   09/25/20 Tyrell             0.2 Review notice of new federal court             $745.00      $149.00
                                   action filed by Richmond today; emails to
                                   Mr. Mikkelson and team re same
   09/27/20 Tyrell             1.4 Review and analysis of new action filed        $745.00   $1,043.00
                                   by Richmond; legal research regarding
                                   defenses to be raised by Snopes Media
                                   Group; correspondence re new actoin
   09/28/20 Belanger           1.3 Attention to new federal court complaint      $670.00      $871.00
                                   and review of realted internal legal team
                                   correspondence regarding same; analyze
                                   and respond to [REDACTED] related to
                                   same
   09/28/20 Tyrell             0.6 Correspondence re new federal case filed      $745.00      $447.00
                                   by Richmond, [REDACTED] and related
                                   issues
   09/28/20 Tyrell             0.3 Telephone conference with J Kozaczuk re       $745.00      $223.50
                                   research regarding newly filed federal
                                   court action and strategy for motion to
                                   dismiss
   09/28/20 Kozaczuk           0.2 Confer with P. Tyrell regarding C.            $425.00       $85.00
                                   Richmond's federal complaint, including
                                   issues related to [REDACTED]
   09/28/20 Kozaczuk           5.2 Initial analysis of federal complaint filed   $425.00    $2,210.00
                                   by C. Richmond; cross-reference with file
                                   and consider potential pleading
                                   challenges; analysis of case law relating
                                   to [REDACTED] causes of action,
                                   including applicable [REDACTED] for
                                   claims in federal court and recent
                                   California and Delaware cases addressing
                                   [REDACTED]; analyze [REDACTED]
                                   prepare memorandum regarding case
                                   law reelevant to motion to dismiss on
                                   grounds of [REDACTED], including
                                   analysis of [REDACTED].

   09/28/20 Caplan             0.3 Continue research and analysis regarding      $525.00      $157.50
                                   new federal action filed by Richmond,
                                   implications of the same, and next steps

   10/05/20 Belanger           1.2 Attend all-hands call regarding new           $670.00      $804.00
                                   federal action, response to same;
                                   correspondence with Mr. Tyrell regarding
                                   [REDACTED]; review and analyze same

   10/05/20 Tyrell             0.8 Strategy call re new actions; follow up       $745.00      $596.00
                                   with W Belanger re same
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Date        Person        Hours       Description                               Hourly rate Total Cost
   10/05/20 Kozaczuk              1.4 Review federal complaint filed by C.           $425.00      $595.00
                                      Richmond, consider pleading challenges
                                      to plaintiff's claims, and confer with R.
                                      Caplan regarding the same; analysis of
                                      [REDACTED]; review legal authority
                                      addressing consideration of [REDACTED]
                                      in connection with anticipated motion to
                                      dismiss
   10/23/20 Tyrell                0.2 Follow up re timing of response to new        $745.00      $149.00
                                      action
   10/23/20 Kozaczuk              0.4 Review of file regarding [REDACTED] in        $425.00      $170.00
                                      preparation for motion to dismiss federal
                                      claims, including Snopes' [REDACTED]

   10/26/20 Kozaczuk              2.5 Evaluate potential Rule 11 motion for         $425.00    $1,062.50
                                      sanctions in federal action, including
                                      review of file and analyze pertinent legal
                                      authority; analyze [REDACTED] and
                                      related cases addressing propriety of
                                      Rule 11 sanctions where claims are
                                      [REDACTED]
   10/26/20 Alcantara             1.6 Confer with J. Kozaczuk regardign key         $300.00      $480.00
            (paralegal)               documents and progress regarding case
                                      going forward; prepare documents in
                                      regard to same; update to chronology in
                                      regard to Richmond Answer.
   10/27/20 Kozaczuk              1.8 Analysis of case law regarding standards      $425.00      $765.00
                                      for Rule 11 motions and the [REDACTED],
                                      including analysis of [REDACTED], and
                                      related cases; prepare memorandum
                                      regarding pertinent legal authority for
                                      potential Rule 11 sanctions motion in the
                                      federal action.
   10/27/20 Kozaczuk              0.2 Confer with R. Caplan regarding potential     $425.00       $85.00
                                      Rule 11 motion for sanctions in the
                                      federal action.
   10/30/20 Tyrell                0.3 Telephone call with J Kozaczuk regarding      $745.00      $223.50
                                      motion to dismiss and possible Rule 11
                                      motion.
   10/30/20 Kozaczuk              6.7 Begin preparation of motion to dismiss C.     $425.00    $2,847.50
                                      Richmond's federal complaint; review of
                                      file including prior pleadings, claims, and
                                      allegations asserted by plaintiffs in state
                                      court action for purposes of preparing
                                      same.
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Date        Person     Hours       Description                                Hourly rate Total Cost
   10/30/20 Kozaczuk           0.4 Review docket for federal action and            $425.00      $170.00
                                   consider next steps (.2); confer with P.
                                   Tyrell regarding federal action, including
                                   Rule 11 motion for sanctions and
                                   [REDACTED] (.2).
   10/30/20 Kozaczuk            1 Prepare memorandum regarding relevant          $425.00       $425.00
                                  case law for seeking Rule 11 sanctions in
                                  federal action in preparation for Rule 11
                                  motion.
   10/31/20 Kozaczuk           4.2 Analyze whether Richmond's federal            $425.00     $1,785.00
                                   claims are barred by the [REDACTED] for
                                   purposes of client's motion to dismiss C.
                                   Richmond's federal complaint including
                                   review of [REDACTED], and cases
                                   addressing claims [REDACTED]; analyze
                                   [REDACTED], and their progeny regarding
                                   application of [REDACTED] and related
                                   cases addressing the [REDACTED];
                                   prepare memorandum regarding
                                   pertinent case law and application to C.
                                   Richmond's claims.


   11/03/20 Kozaczuk           7.3 Alanyze case law regarding [REDACTED]         $425.00     $3,102.50
                                   for purposes of seeking dismissal of the
                                   federal action under Rule 12(b)(1) and
                                   prepare memorandum analyzing
                                   application of [REDACTED] to plaintiff's
                                   federal causes of action; review recent
                                   decisions including [REDACTED] and
                                   evaluate whether [REDACTED] analyze
                                   civil actions implicating [REDACTED].
   11/03/20 Kozaczuk           3.2 Continue preparation of motion to stay        $425.00     $1,360.00
                                   federal procexeding, including discussion
                                   regarding claims, pleadings, and
                                   adjudicated issues in state court action
                                   and related judicial findings; review of
                                   file in connection with same
   11/04/20 Kozaczuk           1.6 Continue preparation of memorandum            $425.00       $680.00
                                   analyzing key issues for seeking stay or
                                   dismissal under [REDACTED] and review
                                   of file in connection with same.
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Date        Person     Hours       Description                                Hourly rate Total Cost
   11/04/20 Kozaczuk           8.2 Prepare motion to dismiss derivative            $425.00   $3,485.00
                                   shareholder claims pursuant to Rule
                                   12(b)(6) and Rule 23.1; continue
                                   preparation of memorandum analyzing
                                   pertinent legal authority for motion to
                                   dismiss; analysis of case law regarding
                                   [REDACTED] applicable to Richmond's
                                   shareholder derivative claims; review
                                   federal cases addressing [REDACTED]
   11/05/20 Caplan             0.5 Research and analysis regarding case           $525.00      $262.50
                                   status and next steps.
   11/11/20 Kozaczuk           0.6 Evaluate [REDACTED] with respect to            $425.00      $255.00
                                   shareholder derivative claims for
                                   purposes of [REDACTED]; review legal
                                   authority regarding same, including
                                   [REDACTED].
   11/16/20 Tyrell             1.1 Review research and upates re motion to        $745.00      $819.50
                                   dismiss, motion to stay, and Rule 11
                                   motion; draft [REDACTED]; follow up
                                   with team re motions.
   11/01/20 Kozaczuk           5.3 Extensive analysis of Ninth Circuit            $425.00    $2,252.50
                                   jurisprudence regading application of
                                   [REDACTED] for purposes of Snopes'
                                   motion to dismiss the federal complaint,
                                   including [REDACTED], and other
                                   decisions analyzing [REDACTED]; begin
                                   preparation of Snopes' motion to dismiss
                                   the federal complaint.
   11/02/20 Kozaczuk            6 Prepare motion to stay federal action           $425.00    $2,550.00
                                  pending adjudication of state action and
                                  continue preparation of Rule 12(b)(6)
                                  motion to dismiss; review legal authority
                                  regarding [REDACTED], including
                                  [REDACTED] and subsequent cases.
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Date        Person     Hours       Description                             Hourly rate Total Cost
   11/02/20 Kozaczuk           4.8 Analysis of case law and state and           $425.00   $2,040.00
                                   federal pleadings for purposes of
                                   evaluating [REDACTED]; analyze
                                   [REDACTED] and its progeny regarding
                                   [REDACTED]; review case law including
                                   [REDACTED] addressoing applicable legal
                                   standards for challenging [REDACTED];
                                   analyze [REDACTED] and other cases
                                   regarding [REDACTED] for purposes of
                                   evaluating dismissal [REDACTED];
                                   prepare memorandum analyzing legal
                                   authority relevant to dismissal of
                                   Richmond's claims on grounds of
                                   [REDACTED]; confer with R. Caplan
                                   regarding the same.

   11/02/20 Caplan               1 Research and analysis regarding             $525.00     $525.00
                                   response to Richmond action.
   11/03/20 Tyrell             0.9 Telephone call with J. Kozaczuk regarding   $745.00     $670.50
                                   arguments and strategy for motion to
                                   dismiss and possible motion to stay.

   11/04/20 Caplan             0.3 Prepare acknowledgement of receipt of       $525.00     $157.50
                                   complaint/summons on behalf of
                                   Snopes.
   11/05/20 Kozaczuk           0.4 Confer with R. Caplan regarding seeking     $425.00     $170.00
                                   stay or dismissal under [REDACTED]
   11/05/20 Kozaczuk           5.9 Evaluate dismissal of Richmond's claims     $425.00    $2,507.50
                                   under [REDACTED] extensive review of
                                   federal cases applying the [REDACTED]
                                   and decisions addressing the
                                   [REDACTED]; prepare memorandum
                                   analyzing pertinent case law [REDACTED]
                                   dismissal of C. Richmond's federal claims
                                   under [REDACTED].
   11/05/20 Caplan               1 Research and analysis regarding             $525.00     $525.00
                                   challenges to lawsuit and next steps.
   11/06/20 Tyrell             0.2 Review research notes re motions to         $745.00     $149.00
                                   dismiss; preliminary draft of litigation
                                   update.
   11/06/20 Kozaczuk           1.4 Review case law regarding application of    $425.00     $595.00
                                   the [REDACTED], and other district court
                                   decisions applying [REDACTED] and
                                   addressing persuasive holdings of other
                                   circuits; prepare discussion regarding
                                   pertinent legal authority in memorandum
                                   [REDACTED].
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Date        Person     Hours       Description                                Hourly rate Total Cost
   11/09/20 Kozaczuk           4.7 Analyze case law addressing stay or             $425.00   $1,997.50
                                   dismissal [REDACTED], and cases
                                   addressing [REDACTED]; prepare
                                   discussion in memorandum applying
                                   pertinent case law to claims at bar in the
                                   federal action and consider next steps re:
                                   pleading challenges.
   11/10/20 Kozaczuk            5 Analysis of pertinent case law regarding      $425.00     $2,125.00
                                  [REDACTED] for purposes of raising
                                  preclusion defenses in client's motion to
                                  dismiss, and prepare memorandum
                                  analyzing relevant legal authority;
                                  extensive analysis of [REDACTED]; review
                                  [REDACTED], and other federal cases
                                  applying [REDACTED]; review California
                                  federal and state court cases analyzing
                                  [REDACTED].
   11/10/20 Kozaczuk           2.6 Review legal authority relevant to           $425.00     $1,105.00
                                   seeking [REDACTED]; analyze district and
                                   circuit court decisions applying
                                   [REDACTED]; continue preparation of
                                   memorandum analysing potential issue
                                   and [REDACTED] and germane legal
                                   authority in preparation for motion to
                                   dismiss.
   11/10/20 Caplan             0.3 Research and analysis regarding              $525.00       $157.50
                                   response to complaint; confer with J.
                                   Kozaczuk regarding the same.
   11/11/20 Tyrell             0.4 Telephone conference with J Kozaczuk re      $745.00       $298.00
                                   new argument for motion to dismiss
                                   based on lack of verification.
   11/11/20 Kozaczuk           0.1 Confer with P. Tyrell regarding C.           $425.00        $42.50
                                   Richmond's failure to verify the federal
                                   complaint.
   11/11/20 Kozaczuk           1.4 Confer with R. Caplan regarding              $425.00       $595.00
                                   challenges to C. Richmond's federal
                                   complaint including discussion of
                                   [REDACTED].
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Date        Person     Hours       Description                             Hourly rate Total Cost
   11/11/20 Kozaczuk           4.6 Continue preparation of client's motion      $425.00   $1,955.00
                                   to dismiss; analyze [REDACTED] and
                                   subsequent cases addressing Ninth
                                   Circuit [REDACTED]; analyze case law
                                   regarding [REDACTED]; review
                                   [REDACTED] and other cases addressing
                                   pleadings [REDACTED], and continue
                                   preparation of memorandum addressing
                                   pertinent legal authority for motion to
                                   dismiss pursuant to Rule 12(b)(6).


   11/11/20 Kozaczuk           1.9 Evaluate plaintiff's compliance with        $425.00     $807.50
                                   pleading requirements under
                                   [REDACTED]; analysis of [REDACTED] and
                                   its progeny regarding [REDACTED] and
                                   appropriate remedits; consider next steps
                                   and prepare discussion regarding same in
                                   client's motion to dismiss.
   11/11/20 Caplan             1.4 Continue research and analysis regarding    $525.00     $735.00
                                   pleading challenges to complaint; confer
                                   with J. Kozaczuk regarding the same.

   11/16/20 Kozaczuk           0.2 Correspondence with P. Tyrell re: moving    $425.00      $85.00
                                   for sanctions under Rule 11.
   11/17/20 Tyrell             0.8 Telephone conference with R Caplan and      $745.00     $596.00
                                   J Kozaczuk re motions to dismiss; review
                                   legal research regarding same.
   11/17/20 Kozaczuk           0.3 Review of file and Rule 23.1 in             $425.00     $127.50
                                   preparation for meet and confer with
                                   opposing counsel; call with plaintiff's
                                   counsel to discuss unverified complaint.
   11/17/20 Caplan             0.8 Continue research and analysis regarding    $525.00     $420.00
                                   status of lawsuits, upcoming pleadings,
                                   and next steps.
   11/18/20 Kozaczuk           6.3 Continue preparation of motion to           $425.00    $2,677.50
                                   dismiss Richmond's derivative
                                   shareholder claims.
   11/19/20 Tyrell             0.4 Telephone conference with J Kozaczuk re     $745.00     $298.00
                                   motion to dismiss and strategy;
                                   correspondence with counsel re same
   11/25/20 Kozaczuk           0.1 Call with plaintiff's counsel regarding     $425.00      $42.50
                                   filing of amended complaint.
   11/30/20 Tyrell             0.2 Review correspondence regarding             $745.00     $149.00
                                   anticipated amended complaint;
                                   [REDACTED].
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Date        Person     Hours       Description                                Hourly rate Total Cost
   11/30/20 Kozaczuk           0.2 Confer with R. Caplan regarding                 $425.00       $85.00
                                   Richmnond's [REDACTED] and potential
                                   [REDACTED].
   11/30/20 Kozaczuk           9.3 Continue preparation of motion to               $425.00   $3,952.50
                                   dismiss the federal complaint including
                                   discussion regarding res judicata effect
                                   of the anti-SLAPP order and application
                                   of the primary rights theory; review
                                   [REDACTED] and related cases regarding
                                   [REDACTED], and prepare discussion in
                                   client's motion to dismiss regarding prior
                                   litigation of pertinent elements and
                                   alleged issues in the state action.


   11/30/20 Kozaczuk           0.1 Review and reply to correspondence from       $425.00        $42.50
                                   plaintiff's counsel regarding filing of the
                                   amended complaint; interoffice
                                   correspondence regarding the same.
   11/30/20 Caplan             0.7 Research and analysis regarding               $525.00       $367.50
                                   potential [REDACTED] Richmond
                                   complaint; confer with J. Kozaczuk
                                   regarding the same.
   12/01/20 Kozaczuk           5.2 Continue preparation of motion to             $425.00     $2,210.00
                                   dismiss derivative suit; analyze
                                   [REDACTED] and other case law
                                   regarding [REDACTED].
   12/01/20 Kozaczuk           1.5 Analysis of [REDACTED] and its progeny        $425.00       $637.50
                                   and evaluate filing [REDACTED] in the
                                   federal action; review case law regarding
                                   [REDACTED].
   12/02/20 Tyrell             0.3 Preliminary review of verified cross-         $745.00       $223.50
                                   complaint; correspondence re same.
   12/02/20 Kozaczuk           0.5 Review verified first amended complaint       $425.00       $212.50
                                   and cross-reference with original
                                   complaint; review legal authority
                                   addressing sufficiency of [REDACTED].

   12/02/20 Kozaczuk           5.6 Review of file and identify pleadings         $425.00     $2,380.00
                                   relevant to responsive motions for
                                   client's request for judicial notice;
                                   continue preparation of memorandum of
                                   points and authorities in support of
                                   client's motion to dismiss the C.
                                   Richmond's derivative claims.
   12/02/20 Caplan             0.2 Review and evaluate verified first            $525.00       $105.00
                                   amended complaint.
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Date        Person        Hours       Description                              Hourly rate Total Cost
   12/03/20 Tyrell                0.2 Correspondence re acceptance of service;      $745.00      $149.00
                                      follow up re timing for filing motion to
                                      dismiss.
   12/03/20 Kozaczuk              4.8 Continue preparation of motion to             $425.00   $2,040.00
                                      dismiss C. Richmond's shareholder
                                      derivative claims.
   12/03/20 Caplan                0.2 Research and analysis regarding               $525.00      $105.00
                                      response to amended complaint.
   12/09/20 Caplan                0.3 Research and analysis regarding               $525.00      $157.50
                                      response to Richmond complaint.
   12/09/20 Alcantara             0.8 Update case chronology.                       $300.00      $240.00
            (paralegal)
   12/12/20 Kozaczuk              2.8 Prepare client's motion to dismiss           $425.00    $1,190.00
                                      pursuant to Federal Rules of Civil
                                      Procedure 12(b)(6) and 23.1.
   12/13/20 Kozaczuk              8.4 Continue preparation of motino to            $425.00    $3,570.00
                                      dismiss the First Amended Complaint;
                                      analyze case law [REDACTED] for
                                      procedural and substantive aspects of
                                      [REDACTED] analysis; review case law
                                      addressing [REDACTED] and prepare
                                      discussion regarding the same in the
                                      memorandum of points and authorities.
   12/14/20 Kozaczuk              1.6 Analyze case law regarding [REDACTED]        $425.00      $680.00
                                      prepare memorandum addressing the
                                      same in anticipation of opposition
                                      arguments from plaintiff.
   12/14/20 Kozaczuk              7.7 Analyze case law regarding [REDACTED]        $425.00    $3,272.50
                                      including [REDACTED]; continue
                                      preparation of memorandum of points
                                      and authorities in support of motion to
                                      dismiss including discussion of
                                      inadequate representation and
                                      application of res judicata to derivative
                                      shareholder claims.
   12/15/20 Tyrell                0.7 Review and provide preliminary               $745.00      $521.50
                                      comments on motion to dismiss.
   12/15/20 Kozaczuk              1.4 Call with counsel regarding motions to       $425.00      $595.00
                                      dismiss the C. Richmond's federal claims;
                                      coordinate and discusss arguments and
                                      supporting legal authority.

   12/15/20 Kozaczuk              0.4 Confer with R. Caplan regarding motion       $425.00      $170.00
                                      to dismiss and potential requests for stay
                                      of action.
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Date        Person        Hours       Description                             Hourly rate Total Cost
   12/15/20 Kozaczuk              7.1 Continue preparation of motion to            $425.00   $3,017.50
                                      dismiss [REDACTED]; review of file and
                                      identify pertinent records for judicial
                                      notice in support of motion to dismiss.
   12/15/20 Caplan                3.2 Assist with preparation of motion to         $525.00   $1,680.00
                                      dismiss First Amended Complaint.
   12/16/20 Tyrell                3.3 Review draft memorandum of points and        $745.00   $2,458.50
                                      authorities in support of Snopes Media
                                      Group's motion to dismiss; telephone
                                      conferrences with J Kozaczuk re
                                      arguments and moving papers; legal
                                      research regarding [REDACTED] and
                                      other issues; revise moving papers.
   12/16/20 Kozaczuk              0.8 Call with counsel to discuss overlapping      $425.00    $340.00
                                      legal arguments and authority for
                                      motions to dismiss the federal claims.
   12/16/20 Kozaczuk              6.9 Prepare request for judicial notice;          $425.00   $2,932.50
                                      continue review of file for identification
                                      of pertinent records for judicial notice in
                                      support of preclusion, demand futility,
                                      and inadequate representation
                                      arguments; review legal authority
                                      addressing use of judicial notice to
                                      establish re judicata and demand futility
                                      for purposes of citing the same in
                                      request for judicial notice; revise and
                                      finalize motion to dismiss the First
                                      Amended Complaint.

   12/16/20 Caplan                0.4 Continue assisting with motion to             $525.00    $210.00
                                      dismiss.
   12/16/20 Alcantara             0.5 Review and analysis of new case               $300.00    $150.00
            (paralegal)               developments; update to chronology in
                                      regard to same.
   12/17/20 Belanger              1.9 Review Richmond Complaint and Motion          $670.00   $1,273.00
                                      to Dismiss.
   12/17/20 Tyrell                0.8 Correspondence and telephone                  $745.00    $596.00
                                      conference with J Kozaczuk re Motion to
                                      Dismiss Richmond Federal Action
   12/17/20 Kozaczuk              0.1 Call with department clerk regarding          $425.00     $42.50
                                      motion to dismiss and hearing date.
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Date        Person        Hours       Description                                    Hourly rate Total Cost
   12/17/20 Kozaczuk              0.5 Review [REDACTED], and related cases                $425.00      $212.50
                                      [REDACTED] regarding [REDACTED] of
                                      Rule 11 motions in connection with
                                      dispositive motions; interoffice
                                      correspondence regarding the same for
                                      purposes of preparing Rule 11 motion
                                      seeking sanctions.
   12/17/20 Caplan                0.3 Review and evaluate motions to dismiss;            $525.00      $157.50
                                      prepare notices of appearance.
   12/17/20 Alcantara             0.3 Review of motion to dismiss and case               $300.00       $90.00
            (paralegal)               status in regard to same.
   12/18/20 Caplan                0.2 Research ana analysis regarding possible           $525.00      $105.00
                                      Rule 11 motion.
   12/21/20 Kozaczuk              0.3 Call with counsel regarding motions to             $425.00      $127.50
                                      dismiss and anticipated reply briefs.
   12/23/20 Belanger              0.6 Review litigation status correspondence.           $670.00      $402.00

   12/23/20 Kozaczuk              7.5 Prepare Rule 11 motion for sanctions;              $425.00     $3,187.50
                                      review [REDACTED], and other California,
                                      Ninth Circuit, and out-of-district decisions
                                      imposing sanctions under Rule 11
                                      [REDACTED] for purposes of referencing
                                      the same in memorandum of points and
                                      authorities.
   12/27/20 Kozaczuk              4.1 Continue preparation of memorandum of              $425.00     $1,742.50
                                      points and authorities in support of
                                      request for sanctions pursuant to Rule
                                      11; analyze federal cases addressing
                                      requests for sanctions in shareholder
                                      derivative suits.
   12/28/20 Kozaczuk              0.4 Call with counsel regarding motions for            $425.00      $170.00
                                      sanctions.
   12/28/20 Kozaczuk              4.3 Continue preparation of motion for                 $425.00     $1,827.50
                                      sanctions pursuant to Federal Rule of
                                      Civil Procedure 11 including discussion of
                                      Mr. Hrutkay's knowledge or presumed
                                      knowledge over Rule 11 violations, and
                                      review of file regarding records
                                      evidencing the same.
   12/29/20 Kozaczuk              0.3 Confer with R. Caplan regarding Rule 11            $425.00      $127.50
                                      motion for sanctions.
   12/29/20 Kozaczuk                4 Continue preparation of memorandum of              $425.00     $1,700.00
                                      points and authorities in support of Rule
                                      11 motion; review case law regarding
                                      [REDACTED] for purposes of citing same
                                      in moving papers.
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Date        Person     Hours       Description                                Hourly rate Total Cost
   12/29/20 Caplan             0.5 Research and analysis regarding Rule 11         $525.00      $262.50
                                   motion.
   12/30/20 Kozaczuk           6.3 Prepare motion for sanctions pursuant to        $425.00   $2,677.50
                                   Rule 11; review of file regarding
                                   pertinent background for Rule 11 motion
                                   and identify relevant records for judicial
                                   notice; prepare request for judicial
                                   notice.
   12/30/20 Caplan             0.3 Continue research and analysis regarding      $525.00       $157.50
                                   Rule 11 motion.
   12/31/20 Kozaczuk           0.3 Confer with R. Caplan regarding service       $425.00       $127.50
                                   of Rule 11 motion and next steps.
   12/31/20 Kozaczuk           4.6 prepare and revise moving papers              $425.00     $1,955.00
                                   seeking Rule 11 sanctions; review
                                   revisions by R. Caplan and continue
                                   preparation of memorandum of points
                                   and authorities; analyze [REDACTED] and
                                   its progeny regarding [REDACTED], for
                                   purposes of seeking sanctions against C.
                                   Richmond in the motion for sanctions.


   12/31/20 Kozaczuk           0.2 Review newly published decision               $425.00        $85.00
                                   [REDACTED] for potential impact on
                                   pending motion to dismiss.
   12/31/20 Kozaczuk           0.3 Confer with R. Caplan regarding               $425.00       $127.50
                                   arguments in Rule 11 motion, including
                                   seeking sanctions as to C. Richmond and
                                   asserting Rule 11 violations for lack of
                                   evidentiary support.
   01/01/21 Kozaczuk           4.3 Prepare attorney declaration and finalize     $460.00     $1,978.00
                                   motion for sanctions and supporting
                                   papers; correspondence with R. Caplan
                                   regarding revisions to moving papers;
                                   prepare correspondence to counsel
                                   serving motion for sanctions pursuant to
                                   Federal Rule of Civil Procedure Rule 11.


   01/01/21 Caplan             3.7 Continue preparing Rule 11 motion;            $550.00     $2,035.00
                                   continue research and analysis regarding
                                   the same.
   01/04/21 Belanger           0.9 Review summary of federal litigation          $685.00       $616.50
                                   matters, correspondence from Mr. Tyrell
                                   regarding same; review draft Rule 11
                                   motion for sanctions regarding same.
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Date        Person     Hours       Description                                Hourly rate Total Cost
   01/05/21 Kozaczuk           0.3 Review Mikkelson and Werstbrook's               $460.00      $138.00
                                   motion for sanctions.
   01/06/21 Belanger           0.4 Review correspondence regarding motion          $685.00      $274.00
                                   for sanctions.
   01/06/21 Tyrell             0.3 Review motion for sanctions filed by            $780.00      $234.00
                                   individual defendants.
   01/07/21 Tyrell             0.1 Telephone call with defense counsel.            $780.00       $78.00
   01/07/21 Tyrell             0.2 Review motions filed by individual              $780.00      $156.00
                                   defendants.
   01/12/21 Tyrell             0.6 Review and comment on Richmond's                $780.00      $468.00
                                   opposition to motion to dismiss.
0/12/21     Kozaczuk           0.4 Call with counsel to discuss opposition         $460.00      $184.00
                                   papers and plaintiff's anticipated ex
                                   parte application.
   01/12/21 Kozaczuk           1.8 Initial review of opposition papers to the      $460.00      $828.00
                                   motions to dismiss Richmond's claims;
                                   confer with R. Caplan regarding same in
                                   preparation for reply.
   01/12/21 Caplan             0.7 Research and analysis regarding                 $550.00      $385.00
                                   plaintiffs' opposition to motions to
                                   dismiss, proposed extension request,
                                   response to Rule 11 motion, and next
                                   steps.
   01/13/21 Belanger           0.5 Brief review of opposition to Motion to       $685.00       $342.50
                                   Dismiss and related correspondnce.
   01/13/21 Kozaczuk           0.3 Confer with counsel regarding arguments       $460.00       $138.00
                                   raised in plaintiff's opposition to the
                                   motions to dismiss; review of file in
                                   connection with the same.

   01/13/21 Kozaczuk           0.1 Review plaintiff's ex parte application       $460.00        $46.00
                                   and supporting declaration.
   01/13/21 Caplan             0.1 Review and evaluate ex parte application      $550.00        $55.00
                                   from Richmond requesting briefing
                                   extension.
   01/14/21 Belanger           0.3 Telephone conference with Mr. Kozaczuk        $685.00       $205.50
                                   regarding status of pending litigation
                                   matters, motion to stay action.

   01/15/21 Kozaczuk           0.2 Telephone conference with counsel             $460.00        $92.00
                                   regarding reply briefs in support of
                                   motions to dismiss.
   01/15/21 Caplan             0.2 Review and evaluate court order on MTD        $550.00       $110.00
                                   briefing.
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Date        Person     Hours        Description                              Hourly rate Total Cost
   01/17/21 Kozaczuk            4.2 Preparation of reply brief in support of      $460.00   $1,932.00
                                    motion to dismiss derivative claims;
                                    analyze cases addressing [REDACTED],
                                    and prepare analysis regarding the same
                                    for purposes of rebutting arguments
                                    raised in plaintiff's opposition papers.

   01/19/21 Tyrell              1.6 Review and revise reply in support of         $780.00   $1,248.00
                                    motion to dismiss; review reply in
                                    support of Mikkelson motion; follow up
                                    with J Kozaczuk re suggestions for
                                    particular arguments.
   01/19/21 Kozaczuk           10.6 Prepare and finalize reply brief in support   $460.00   $4,876.00
                                    of motion to dismiss C. Richmond's
                                    derivative claims; analyze case law cited
                                    in plaintiff's opposition papers, review
                                    related decisions, and address plaintiff's
                                    arguments relating to the same in reply
                                    brief with reference to pertinent legal
                                    authority; analyze [REDACTED], and
                                    prepare discussion addressing same in
                                    reply brief.

   01/19/21 Caplan              0.7 Research and analysis regarding reply         $550.00    $385.00
                                    brief in support of motion to dismiss;
                                    confer with J. Kozaczuk regarding the
                                    same.
   01/22/21 Belanger            0.3 Brief review of replies in furtherance of     $685.00    $205.50
                                    Motion to Dismiss.
   01/22/21 Kozaczuk            0.1 Call with clerk regarding client's motion     $460.00     $46.00
                                    for sanctions pursuant to Federal Rule of
                                    Civil Procedure 11.
   01/22/21 Kozaczuk            0.3 Confer with counsel regarding Rule 11         $460.00    $138.00
                                    motions seeking sanctions.
   01/22/21 Kozaczuk            0.3 Draft correspondence to opposing              $460.00    $138.00
                                    counsel regarding Rule 11 motion for
                                    sanctions; confer with R. Caplan
                                    regarding the same.
   01/22/21 Kozaczuk            0.3 Review cases addressing [REDACTED] for        $460.00    $138.00
                                    purposes of timing filing of motion for
                                    sanctions.
   01/22/21 Kozaczuk            1.4 Review and finalize moving papers and         $460.00    $644.00
                                    exhibits for motion for sanctions
                                    pursuant to Federal Rule of Civil
                                    Procedure 11.
   01/22/21 Caplan              0.3 Research and analysis regarding filing of     $550.00    $165.00
                                    Rule 11 motion.
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Date        Person     Hours       Description                                Hourly rate Total Cost
   01/24/21 Kozaczuk           0.3 Revise supporting exhibits in support of        $460.00      $138.00
                                   Rule 11 sanctions for filing.
   01/25/21 Tyrell             0.2 Telephone call from Attorney Hrutkay re         $780.00      $156.00
                                   briefing schedule for sanctions motion;
                                   follow up re same.
   01/25/21 Kozaczuk           0.1 Call with counsel regarding stipulation to      $460.00       $46.00
                                   extend time to oppose motion for
                                   sanctions.
   01/25/21 Caplan             0.2 Research and analysis regarding filed           $550.00      $110.00
                                   Rule 11 motion and next steps.
   01/26/21 Caplan             0.2 Review and evaluate Rule 11 motion              $550.00      $110.00
                                   filed by Mikkelson
   02/01/21 Kozaczuk           0.1 Call with M. Hrutkay regarding joint            $460.00       $46.00
                                   motionto continue hearings on Rule 11
                                   motions for sanctions.
   02/02/21 Kozaczuk           0.7 Prepare and revise joint motion for             $460.00      $322.00
                                   continuance of motion for sanctions and
                                   proposed order.
   02/03/21 Kozaczuk           0.3 Review newly-published [REDACTED]               $460.00      $138.00
                                   decision regarding [REDACTED] for
                                   purposes of evaluating potential
                                   persuasive authority for pending motion
                                   to dismiss; correspondence with R.
                                   Caplan regarding the same.
   02/03/21 Caplan             0.2 Research and analysis regarding new           $550.00       $110.00
                                   caselaw concerning [REDACTED].
   02/05/21 Kozaczuk           0.4 Review correspondence from M. Hrutkay,        $460.00       $184.00
                                   revise joint stipulation and proposed
                                   order, and prepare reply correspondence
                                   to M. Hrutkay; review and reply to
                                   correspondence from defendants'
                                   counsel regarding the same.

   02/05/21 Kozaczuk           0.3 Review proposed revisions to joint            $460.00       $138.00
                                   motion; interoffice correspondence and
                                   prepare response to M. Hrutkay regarding
                                   the same; provide instruction for filing.

   02/05/21 Caplan             0.2 Review and evaluate joint mouton [sic]        $550.00       $110.00
                                   regarding Rule 11 briefing.
   02/08/21 Caplan             0.2 Review and evaluate filed joint motion to     $550.00       $110.00
                                   continue Rule 11 briefing.
   02/16/21 Caplan             0.2 Review and evaluate order granting joint      $550.00       $110.00
                                   motion on Rule 11 briefing.
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Date        Person     Hours       Description                                 Hourly rate Total Cost
   02/25/21 Caplan             0.2 Research and analysis regarding new              $550.00      $110.00
                                   caselaw addressing [REDACTED], as
                                   applicable to pending MTD briefing.
   03/19/21 Tyrell             0.3 Review opposition papers re motion for           $780.00      $234.00
                                   sanctions.
   03/22/21 Belanger           0.2 Review correspondence regarding                  $685.00      $137.00
                                   responsive motions with respect to
                                   sanctions.
   03/22/21 Kozaczuk           0.2 Call with H. Heffner regarding                   $460.00       $92.00
                                   oppositions to the Rule 11 sanctions
                                   motions.
   03/22/21 Kozaczuk           0.2 Confer with P. Tyrell regarding reply brief      $460.00       $92.00
                                   in support of motion for sanctions.
   03/22/21 Kozaczuk           4.7 Analyze opposition papers filed in               $460.00   $2,162.00
                                   response to Snopes' and defendants'
                                   motions for sanctions, including
                                   supporting declarations and exhibits, and
                                   motions to file under seal; review
                                   authorities cited by plaintiff, cross-
                                   reference with authority and arguments
                                   in underlying motions, and consider
                                   appropriate arguments for reply; consider
                                   next steps re: opposition to plaintiff's
                                   request for sanctions.

   03/23/21 Tyrell             0.6 Correspondence re [REDACTED]                   $780.00       $468.00
   03/23/21 Tyrell               1 Review Plaintiff's opposition to motion        $780.00       $780.00
                                   for sanctions; emails to J Kozaczuk re
                                   strategy for reply brief.
   03/23/21 Kozaczuk           2.7 Prepare reply brief re: Rule 11 motion for     $460.00     $1,242.00
                                   sanctions; analyze opposition arguments
                                   regarding [REDACTED] required under
                                   Rule 11 including [REDACTED] review
                                   case law including [REDACTED].

   03/23/21 Kozaczuk           6.5 Begin preparation of reply brief in            $460.00     $2,990.00
                                   support of sanctions motion; analyze
                                   case law [REDACTED] including analysis
                                   of [REDACTED] and related cases
                                   addressing [REDACTED] analysis; review
                                   legal authority [REDACTED] and
                                   additional legal theories [REDACTED],
                                   and prepare discussion regarding the
                                   same in reply brief.
   03/24/21 Kozaczuk           0.6 Call with H. Heffner regarding opposition      $460.00       $276.00
                                   papers and reply briefs for pending
                                   motions for Rule 11 sanctions.
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Date        Person     Hours         Description                                 Hourly rate Total Cost
   03/24/21 Kozaczuk            10.4 Continue preparation of reply to                 $460.00   $4,784.00
                                     plaintiff's opposition to sanctions motion;
                                     analyze [REDACTED] including federal
                                     cases addressing the same for purposes
                                     of rebutting plaintiff's arguments
                                     [REDACTED]; prepare discussion
                                     addressing [REDACTED], including
                                     discussion regarding [REDACTED]; review
                                     authority addressing plaintiff's argument
                                     re: [REDACTED].


   03/25/21 Tyrell               1.2 Review and revise Reply in support of         $780.00       $936.00
                                     Rule 11 motion; telephone conference
                                     with J Kozaczuk re same.
   03/25/21 Kozaczuk             0.2 Call with H. Heffner re: arguments raised     $460.00        $92.00
                                     in plaintiff's opposition papers to the
                                     Rule 11 motions.
   03/25/21 Kozaczuk             0.4 Call with H. Heffner regarding legal          $460.00       $184.00
                                     authority relevant to reply briefs and
                                     evidence submitted in opposition to the
                                     Rule 11 motions
   03/25/21 Kozaczuk             7.9 Further preparation of reply brief re: Rule   $460.00     $3,634.00
                                     11 sanctions; prepare discussion
                                     regarding timing and appropriateness of
                                     motion with reference to supporting
                                     authority; consider [REDACTED]
                                     submitted in opposition to sanctions
                                     motions; review of file regarding
                                     evidence [REDACTED]; prepare discussoin
                                     regarding Snopes right to challenge
                                     derivative claims and discussion
                                     analyzing and applying objective standard
                                     for assessing frivolous filing and claims
                                     filed for an improper purposes.


   03/25/21 Kozaczuk             3.4 Revise and finalize reply brief in support       $460.00   $1,564.00
                                     of motion for Rule 11 sanctions against
                                     plaintiff and his counsel.
   03/26/21 Kozaczuk             0.3 Review defendants' objections and reply          $460.00     $138.00
                                     briefs in support of Rule 11 sanctions.
            TOTAL              306.7                                            TOTAL         $142,534.00
            Total              306.7                                            Total
            Reported                                                            reported
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                          EXHIBIT 3
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Date       Person    Hours       Description                                Hourly rate    Total Cost
10/03/20   Sybert            0.2 corresponded David re [REDACTED]                $575.00         $115.00
10/05/20   Heffner           0.3 Action on opening matter and                    $550.00         $165.00
                                 calendaring responsive pleading
                                 deadline; confer with attorney Sybert re
                                 attorney handling
10/05/20   Sybert            0.8 prep and conference call with Snopes            $575.00         $460.00
                                 counsel re deadling with new Chris
                                 Richmond federal suit
10/05/20   Sybert            0.5 corresponded David re [REDACTED]                $575.00         $287.50
                                 followed up re same
10/05/20   Sybert            0.6 corresponded Richmond counsel re                $575.00         $345.00
                                 acceptance of Waiver of Service,
                                 reviewed and revised same
10/05/20   Sybert            0.4 corresponded ProCopio re [REDACTED]             $575.00         $230.00
                                 reviewed same
10/05/20   Sybert            0.2 corresponded Tyrell re [REDACTED]               $575.00         $115.00
10/07/20   Sybert            0.3 conferred re Westbrook, reviewed                $575.00         $172.50
                                 [REDACTED]
10/07/20   Sybert            0.2 corresponded David re [REDACTED]                $575.00         $115.00
10/08/20   Sybert            0.3 correspond, phone Brad Westbrook re             $575.00         $172.50
                                 representation in new Chris Richmond
                                 suit
10/09/20   Sybert            0.4 corresponded David with analysis of             $575.00         $230.00
                                 grounds of oppositionto new Chris
                                 Richmond federal suit
10/16/20   Sybert            0.2 conferred with Bill Belanger re                 $575.00         $115.00
                                 [REDACTED]
10/26/20   Sybert            0.2 conferred, corresponded Belanger, David         $575.00         $115.00
                                 re [REDACTED]
10/27/20   Sybert            0.3 corresponded Westbrook, David,                  $575.00         $172.50
                                 Belanger re representation in new suit
10/30/20   Heffner           1.1 Draft demand to SMG for                         $550.00         $605.00
                                 indemnification and/or advancement of
                                 litigation fees and costs
11/03/20   Heffner           0.2 Review waiver of service; actoin on             $550.00         $110.00
                                 calendar and file
11/03/20   Sybert            0.1 reviewed response date to complaint             $575.00          $57.50
11/17/20   Ren               3.9 Review and analyze the complaint in the         $350.00       $1,365.00
                                 federal action and relevant pleadings in
                                 the state court proceeding to prepare
                                 drafting the motion to dismiss

11/18/20   Ren               1.5 Draft the legal standard for motion to          $350.00         $525.00
                                 dismiss under 12(b)(1) and 12(b)(6)
11/18/20   Ren               2.5 Draft the factual and proedural                 $350.00         $875.00
                                 background for the motion to dismiss
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
11/18/20   Ren               0.8 Draft the notice to motion to dismiss and         $350.00         $280.00
                                 motion to dismiss
11/18/20   Ren               2.5 Research and investigate Plaintiff's state        $350.00         $875.00
                                 citizenship information in public record
                                 database to help form arguments
                                 regarding diversity jurisdiction

11/19/20   Ren               1.5 Continued drafting the factual and                $350.00         $525.00
                                 procedural background
11/19/20   Ren                 2 Review and analyze legal authorities              $350.00         $700.00
                                 regarding the res judicata and collateral
                                 estoppel to help form arguments in the
                                 motion to dismiss
11/19/20   Sybert            0.3 corresponded plaintiff's counsel re               $575.00         $172.50
                                 service, response date for Westbrook
11/20/20   Ren               2.2 Review and analyze legal authorities              $350.00         $770.00
                                 regarding the court's [REDACTED]
11/20/20   Ren               2.6 Draft the arguments regarding the res             $350.00         $910.00
                                 judicata and collateral estoppel for the
                                 motion to dismiss
11/21/20   Ren               2.9 Draft the arguments regarding                     $350.00       $1,015.00
                                 [REDACTED] for the motion to dismiss
11/21/20   Ren               1.5 Review and analyze legal authorities              $350.00         $525.00
                                 regarding establishing diversity
                                 jurisdiction
11/21/20   Ren               1.8 Draft the arguments regarding the lack of         $350.00         $630.00
                                 diversity jurisdiction
11/22/20   Sybert            0.2 reviewed and conferred re conflicts               $575.00         $115.00
                                 waiver for Brad Westbrook
11/23/20   Heffner           0.7 Review docket and proof of service of             $550.00         $385.00
                                 complaint on Westbrook; review local
                                 rules relative to extending responsive
                                 pleading deadline and confer with
                                 attorney Sybert; correspond with
                                 plaintiff's counsel re stipulation
11/23/20   Heffner           0.8 Prepare legal service agreement and               $550.00         $440.00
                                 conflict waiver
11/23/20   Ren                 3 Review and analyze legal authorities              $350.00       $1,050.00
                                 regarding [REDACTED] to determine
                                 whether it applies to the motion, revise
                                 the MPA in support of the motion to
                                 dismiss
11/23/20   Sybert            0.2 reviewed and corresponded David re                $575.00         $115.00
                                 filing a challenge based on [REDACTED]
11/24/20   Heffner           0.2 Correspond with plaintiff's counsel re            $550.00         $110.00
                                 Westbrook responsive pleading
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Date       Person    Hours       Description                                 Hourly rate    Total Cost
11/24/20   Sybert            0.3 reviewed and conferred re representation         $575.00         $172.50
                                 of Westbrook, stipulation with opposing
                                 counsel re response

11/24/20   Sybert            0.4 reviewed application of [REDACTED]               $575.00         $230.00
                                 doctrine to Richmond complaint,
                                 corresponded Paul Tyrell re same
11/25/20   Sybert            0.3 reviewed and conferred, corresponded             $575.00         $172.50
                                 Bill Belanger, re corporate
                                 reimbursement of Westbrook
11/28/20   Heffner           3.7 Review draft motion to dismiss; revise           $550.00       $2,035.00
                                 and further draft; identify issues for
                                 further development and confer with
                                 attorney Ren re same
11/29/20   Sybert            0.5 reviewed notes on first draft response to        $575.00         $287.50
                                 new Richmond complaint
11/30/20   Heffner           0.3 Correspond with plaintiff's counsel re           $550.00         $165.00
                                 first amended complaint and responsive
                                 pleading
11/30/20   Ren               1.5 Revise the factual and proedural                 $350.00         $525.00
                                 background in the motion to dismiss
11/30/20   Ren               1.9 Review and analyze legal authorities             $350.00         $665.00
                                 regarding the finality of a judgment on
                                 the merit when the appeal is pending
11/30/20   Sybert            0.2 correspond Hrutkay re stipulation for            $575.00         $115.00
                                 unified response date to verified
                                 amended complaint
12/01/20   Heffner           0.2 Correspond with Procopio re anticipated          $550.00         $110.00
                                 first amended complaint
12/01/20   Ren                 2 Make further revisions to the MPA in             $350.00         $700.00
                                 support of the motion to dismiss
                                 Plaintiff's complaint
12/02/20   Heffner           0.8 Status and strategy re pleading                  $550.00         $440.00
                                 challenges and anticipated first amended
                                 complaint; confer with attorneys Sybert
                                 and Ren re same
12/02/20   Ren               0.3 Receive and review the first amended             $350.00         $105.00
                                 complaint, determine the responsive due
                                 date to the amended complaint with
                                 opposing counsel's email
12/02/20   Ren               1.1 Revise the MPA in support of the motion          $350.00         $385.00
                                 to dismiss the complaint
12/02/20   Sybert            0.7 reviewed Verified First Amended                  $575.00         $402.50
                                 Complaint, corresponded David re
                                 [REDACTED]
12/02/20   Sybert            1.1 reviewed first draft motion to dismiss           $575.00         $632.50
                                 complaint
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
12/02/20   Sybert            0.4 reviewed corresponded Richmond                    $575.00         $230.00
                                 counsel re application of Rule 15 to bar
                                 stipulation, necessity to revise response
                                 date, directed re preparation of
                                 necessary court papers
12/03/20   Sybert            0.2 Corresponded Matt Hrutkay re Rule 15,             $575.00         $115.00
                                 electronic service
12/03/20   Sybert            0.4 reviewed and conferred re any derivative          $575.00         $230.00
                                 nature of surviving claims, reviewed
                                 correspondence re same
12/07/20   Ren               0.8 Draft and revise Defendant's motion to            $350.00         $280.00
                                 dismiss and MPA in support of the
                                 motion to dismiss plaintiff's First
                                 Amended Complaint
12/08/20   Ren               0.9 Draft and revise the request for judicial         $350.00         $315.00
                                 notice in support of the motion to
                                 dismiss Plaintiff's first amended
                                 complaint
12/09/20   Heffner           0.2 Review correspondence and certificate of          $550.00         $110.00
                                 service from plaintiff's counsel; ation on
                                 file and calendar; confer with attorney
                                 Sybert
12/09/20   Heffner           1.2 Analyze derivative claims for additional          $550.00         $660.00
                                 pleading challenges including review of
                                 SMG and client demurrers in state court
                                 action and order on same, Dunn's state
                                 court complaint and demurrer thereto
12/09/20   Sybert            0.2 reviewed certificate of service of the            $575.00         $115.00
                                 Verified First Amended Complaint
12/10/20   Heffner           0.7 Initial analysis of merits of plaintiff's         $550.00         $385.00
                                 allegations relative to SMG's
                                 characterization of fee advancements as
                                 business expenses for tax purposes
12/10/20   Heffner           2.1 Analyze plaintiff's fraud, negligent              $550.00       $1,155.00
                                 misrepresentation, unjust enrichment
                                 claims for 12(b)(6) challenges; develop
                                 arguments and outline same
12/11/20   Heffner           2.7 Analyze and further develop res judicata          $550.00       $1,485.00
                                 and collateral estoppel challenges to
                                 plaintiff's fraud, negligent
                                 misrepresentation, unjust enrichment
                                 claims; develop and draft motion to
                                 dismiss
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
12/13/20   Heffner           2.3 Review and further draft request for              $550.00       $1,265.00
                                 judicial notice supporting motion to
                                 dismiss and identify 36 supporting
                                 exhibits preparatory to filing; augment
                                 motion to reflect same
12/14/20   Heffner           4.3 Review revised motion to dismiss;                 $550.00       $2,365.00
                                 analyse issues and continued research
                                 relative to demand futility, standing, and
                                 direct (non derivative) claims; further
                                 draft
12/15/20   Heffner           1.8 Status and strategy re claims and                 $550.00         $990.00
                                 pleading challenges; conference with
                                 SMG counsel re same; subsequent
                                 correspondences with same via phone
                                 and e-mail
12/15/20   Heffner           3.4 Reviewed revised motion to dismiss;               $550.00       $1,870.00
                                 further analyze and develop issues
                                 relative to diversity jurisdiction and
                                 request for discovery re same; further
                                 draft
12/15/20   Ren               1.5 Review documents and case files in the            $350.00         $525.00
                                 state court case and prepare exhibits for
                                 the motion to dismiss the first amended
                                 complaint in the federal court case
12/15/20   Sybert            0.3 corresponded Westbrook, Procopio re               $575.00         $172.50
                                 SMG payment of Westbrook fees
12/15/20   Sybert            2.2 reviewed documents for Request for                $575.00       $1,265.00
                                 Judicial Notice in connection with motion
                                 to dismiss Complaint: ROA summary;
                                 TAC; two anti-SLAPP motions (notice &
                                 MPA) + two oppositions MPA + two
                                 replies + two court's minute orders; two
                                 demurrers (notice & MPA) + two
                                 oppositions MPA + two replies + two
                                 notice of ruling
12/15/20   Sybert            0.3 finalized, corresponded with Messrs.              $575.00         $172.50
                                 Mikkelson and Westbrook re conflicts
                                 waivers
12/16/20   Heffner           1.4 Further status and strategy on pleading           $550.00         $770.00
                                 challenges; correspond with SMG's
                                 counsel re same via phone and e-mail
12/16/20   Heffner           6.7 Continue preparation of motion to                 $550.00       $3,685.00
                                 dismiss
12/16/20   Heffner           1.2 Calls and e-mails with SMG counsel re             $550.00         $660.00
                                 motion to dismiss
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
12/16/20   Ren               0.5 Review and confirm Plaintiff's public             $350.00         $175.00
                                 available record in Puerto Rico for the
                                 purpose of rebutting the diversity
                                 citiaenship jurisdiction
12/16/20   Sybert            2.7 revised and edited draft motion for               $575.00       $1,552.50
                                 dismissal based, inter alia, on res
                                 judicata
12/17/20   Heffner           0.3 Review SMG's motion to dismiss                    $550.00         $165.00
12/17/20   Sybert            0.3 multiple correspondence with David re             $575.00         $172.50
                                 [REDACTED] and arguments if Complaint
                                 survives pleading stage
12/18/20   Heffner           0.5 Draft proposed order granting motion to           $550.00         $275.00
                                 dismiss
12/18/20   Heffner           0.2 Review truncated deadline for motion to           $550.00         $110.00
                                 dismiss reply briefing due to court
                                 holiday; call to counsel for SMG
12/21/20   Heffner           0.4 Call with SMG counsel re strategy for             $550.00         $220.00
                                 motion to dismiss reply breiefing and
                                 potential Rule 11 motion
12/22/20   Heffner           1.3 Consider sanctions motion and timing of           $550.00         $715.00
                                 same including review of Rule 11 and
                                 decisional authority; confer with
                                 attorneys Sybert and Brown
12/22/20   Sybert            0.5 [REDACTED] corresponded David re same             $575.00         $287.50

12/22/20   Sybert            0.2 corresponded David re [REDACTED]                  $575.00         $115.00
12/23/20   Brown               1 Conduct and summarize legal research              $350.00         $350.00
                                 on [REDACTED] and review emails on
                                 same
12/23/20   Heffner           1.1 Review attorney Brown's summary and               $550.00         $605.00
                                 authority re [REDACTED] analyze and
                                 confer internally re application including
                                 [REDACTED]
12/23/20   Heffner           0.5 [REDACTED]                                        $550.00         $275.00
12/23/20   Sybert            1.4 further review and analysis of                    $575.00         $805.00
                                 [REDACTED], correspond David re same
12/26/20   Brown             1.4 Conduct and analyze legal research on             $350.00         $490.00
                                 sanctions for purposes of preparing
                                 motion
12/26/20   Brown             1.3 Review motions to dismiss and                     $350.00         $455.00
                                 attachments filed with the court for
                                 purposes of preparing motion for
                                 sanctions
12/28/20   Brown             0.4 Develop strategy and plan for motion for          $350.00         $140.00
                                 sanctions
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
12/28/20   Heffner           3.4 Continue analysis and research relative to        $550.00       $1,870.00
                                 sanctions motion and further develop
                                 strategy; calls with counsel for SMG (.4)
                                 and attorney Brown (.3); outline grounds
                                 for motion
12/29/20   Brown             1.9 Draft motion for sanctions                        $350.00         $665.00
12/29/20   Brown             1.7 Conduct and analyze legal research on             $350.00         $595.00
                                 basis for sanctions, including Rule 11 and
                                 court's inherent power
12/30/20   Brown             0.5 Supplement motion for sanctions with              $350.00         $175.00
                                 authority on res judicata and standing
12/30/20   Brown               1 Supplement motion for sanctions on                $350.00         $350.00
                                 types of sanctions a court may issue
12/30/20   Brown             0.6 Continue drafting motion for sanctions            $350.00         $210.00
12/30/20   Heffner           3.9 Review draft Rule 11 memorandum;                  $550.00       $2,145.00
                                 analysis and continue drafting same
12/31/20   Heffner           5.4 Continue preparation of Rule 11                   $550.00       $2,970.00
                                 memorandum and supporting documents

01/01/21   Heffner           1.3 Review SMG's Rule 11 correspondence to            $550.00         $715.00
                                 plaintiff's counsel and enclosed motion

01/01/21   Sybert            0.6 reviewed Snopes Media Group Inc.'s                $575.00         $345.00
                                 motion for an order imposing sanctions
                                 against Plaintiff Christopher Richmond
                                 and his counsel, Matthew Hrutkay and
                                 Hrutkay Law PC, pursuant to Federal Rule
                                 of Civil Procedure 11, and supporting
                                 papers
01/03/21   Brown             0.2 Review and analyze Snopes' motion for             $350.00          $70.00
                                 sanctions
01/04/21   Brown             0.3 Prepare notice of motion for sanctions            $350.00         $105.00
01/04/21   Heffner           3.5 Review and continue drafting notice of            $550.00       $1,925.00
                                 motion and memorandum supporting
                                 Rule 11 sanctions; draft attorney
                                 declaration and correspondence to
                                 plaintiff's counsel serving same
01/04/21   Sybert            0.1 correspond David re Hrutkay new filing            $575.00          $57.50
01/05/21   Heffner           0.2 Review client correspondence re timing            $550.00         $110.00
                                 of motions to dismiss and for sanctions;
                                 draft response re anticipated sequencing

01/05/21   Heffner           0.3 Correspond with client and plaintiff's            $550.00         $165.00
                                 counsel re revision to sanctions motion
01/05/21   Sybert            0.8 reviewed and corresponded clients re              $575.00         $460.00
                                 Rule 11 sanctions motion against
                                 Plaintiff and his counsel
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Date       Person    Hours       Description                                 Hourly rate    Total Cost
01/06/21   Sybert            0.2 corresponded David re interplay between          $575.00         $115.00
                                 Rule 11 motion and motion to dismiss

01/07/21   Sybert            0.4 conferred with corporate counsel re              $575.00         $230.00
                                 [REDACTED] for Messrs. Mikkelson and
                                 Westbrook
01/12/21   Heffner           0.9 Review correspondences from plaintiff's          $550.00         $495.00
                                 counsel and SMG re late opposition filing
                                 and stipulation to continue briefing
                                 schedule; call with SMG counsel re same;
                                 review ex parte application

01/12/21   Heffner           1.9 Review and analyze plaintiff's opposition        $550.00       $1,045.00
                                 to motion to dismiss preparatory to
                                 drafting reply, strategy with attorneys
                                 Sybert and Ren
01/12/21   Heffner           3.4 Review plaintiff's authority cited in            $550.00       $1,870.00
                                 opposition to motion to dismiss direct
                                 claim for breach of fiduciary duty;
                                 research and review 20+ opinions;
                                 analysis re application of Jones v. H.F.
                                 Ahmanson & Co and potential effect of
                                 allegations re majority voting bloc
01/12/21   Ren                 2 Review and analyze the objection to the          $350.00         $700.00
                                 request for judicial notice to prepare
                                 drafting the reply
01/12/21   Sybert            0.5 reviewed Richmond "Omnibus                       $575.00         $287.50
                                 Objections" to our Request for Judicial
                                 Notice
01/12/21   Sybert            1.5 reviewed and analyzed Richmond's                 $575.00         $862.50
                                 Opposition to the pending motions to
                                 dismiss his federal action, corresponded
                                 clients re same
01/13/21   Heffner           2.1 Review plaintiff's arguments in                  $550.00       $1,155.00
                                 opposition to motion to dismiss that
                                 business judgment rule inapplicable at
                                 pleading stage; research and develop
                                 arguments in reply
01/13/21   Heffner           0.5 Research application of the business             $550.00         $275.00
                                 judgment rule to officers in California
01/13/21   Heffner           0.3 Call and e-mail with counsel for SMG re          $550.00         $165.00
                                 plaintiff's allegations and underlying
                                 letter exchange relative to tax return
                                 issue
01/13/21   Heffner           0.9 Draft reply in support of motion to              $550.00         $495.00
                                 dismiss
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Date       Person    Hours       Description                                   Hourly rate    Total Cost
01/13/21   Heffner           1.1 Further analyze and develop                        $550.00         $605.00
                                 counterarguments in reply to plaintiff's
                                 opposition to motion to dismiss breach of
                                 fiduciary duty claim
01/13/21   Ren                 5 Start drafting the reply to Plaintiff's 40+        $350.00       $1,750.00
                                 page long objections to the request for
                                 judicial notice
01/14/21   Heffner           3.4 Continue to analysis and strategy in               $550.00       $1,870.00
                                 response to plaintiff's motion to dismiss
                                 opposition including continued review of
                                 first amended complaint,
                                 correspondences between parties and
                                 pleadings in underlying state court action


01/14/21   Heffner           1.2 Review and analyze plaintiff's 68-page             $550.00         $660.00
                                 objectoin to requests for judicial notice;
                                 review Evidence Code and decisional
                                 authority relative to same
01/14/21   Ren               4.7 Review and analyze legal authorities               $350.00       $1,645.00
                                 distringuishing permitted request for
                                 judicial notice and improper judicial
                                 notice, draft arguments rebut Plaintiff's
                                 arguments in objection to the request for
                                 judicial notice
01/15/21   Heffner           0.3 Correspond with court clerk re pending ex          $550.00         $165.00
                                 parte application to revise dispositive
                                 motion briefing schedule; review notice
                                 of entry of order granting same
01/15/21   Heffner           0.6 Research whether damages allegations               $550.00         $330.00
                                 sufficient under CA law
01/15/21   Heffner           0.2 Call with SMG counsel re status and                $550.00         $110.00
                                 strategy of reply supporting motion to
                                 dismiss
01/15/21   Heffner           5.9 Draft reply supporting motion to dismiss           $550.00       $3,245.00
01/15/21   Ren                 8 Continue drafting reply to Plaintiff's             $350.00       $2,800.00
                                 objection to each exhibit requested in the
                                 request for judicial notice
01/16/21   Heffner           3.6 Continue drafting reply supporting                 $550.00       $1,980.00
                                 motion to dismiss
01/16/21   Ren                 3 Continue drafting the reply to Plaintiff's         $350.00       $1,050.00
                                 objection to each individual exhibit
                                 requested in the request for judicial
                                 noticee
01/17/21   Heffner           0.2 Status and strategy call with SMG's                $550.00         $110.00
                                 counsel re reply briefing supporting
                                 motion to dismiss
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Date       Person    Hours       Description                                    Hourly rate    Total Cost
01/19/21   Heffner           3.3 Review and continue preparation of                  $550.00       $1,815.00
                                 response to plaintiff's objections to
                                 request for judicial notice
01/19/21   Ren               0.3 Revise and finalize the reply to Plaintiff's        $350.00         $105.00
                                 objection to the Request for Judicial
                                 Notice
01/19/21   Sybert            0.2 corresponded Brad Westbrook re                      $575.00         $115.00
                                 [REDACTED] corresponded David and
                                 Brad re reply, including our responses on
                                 their objections to judicial notice, in
                                 support of our motion to dismiss
                                 Richmond's federal suit
01/19/21   Sybert            0.5 final review Reply in Support of Motion             $575.00         $287.50
                                 to Dismiss
01/19/21   Sybert            0.3 final revisions to Defendant's Reply to             $575.00         $172.50
                                 Oppo to Request for Judicial Notice in
                                 support of Motion to Dismiss
01/20/21   Heffner           0.2 Correspond with client re analysis of               $550.00         $110.00
                                 fraud claim
01/20/21   Heffner           0.2 Correspond with counsel for SMG re                  $550.00         $110.00
                                 motion to dismiss and Rule 11 briefing
01/20/21   Heffner           0.3 Review SMG's reply in support of motion             $550.00         $165.00
                                 to dismiss
01/20/21   Sybert            0.2 corresponded David re Richmond claim                $575.00         $115.00
01/21/21   Heffner           0.8 Review and finalize Rule 11 motion                  $550.00         $440.00
                                 including notice, memorandum of points
                                 and authorities, and attorney declaration;
                                 call with clerk re hearing date for same

01/21/21   Heffner           0.9 Further draft demand for SMG                        $550.00         $495.00
                                 indemnification and/or advancement of
                                 litigation fees and costs; confer with
                                 attorneys Howatt and Sybert re same
01/21/21   Sybert            0.4 reviewed draft correspondence to Snopes             $575.00         $230.00
                                 re defense of Richmond suit against
                                 Mikkelson and Westbrook
01/22/21   Heffner           0.4 Review message from counsel for SMG;                $550.00         $220.00
                                 call with sme re demand for legal fee
                                 advancements; confer with attorney
                                 Sybert re issue relative to same
01/22/21   Heffner           0.4 Calls and e-mails with SMG counsel re               $550.00         $220.00
                                 Rule 11 motions and hearing on same
01/22/21   Sybert            0.2 reviewed questions from David on our                $575.00         $115.00
                                 Reply in support of Motion to Dismiss
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Date       Person    Hours       Description                                 Hourly rate    Total Cost
01/25/21   Heffner           0.7 Review and respond to client questions           $550.00         $385.00
                                 re motion to dismiss briefing including
                                 review of respondent's brief relative to
                                 Cal. Corp. Code 317(f) analysis under
                                 Delaware decisional authority
01/25/21   Heffner           0.7 Correspond with SMG and plaintiff's              $550.00         $385.00
                                 counsel re Hrutkay request to continue
                                 Rule 11 briefing in light of accident and
                                 hospital stay; confer with attorneys
                                 Sybert and Howatt re strategy
01/25/21   Heffner           0.2 Correspond with client re motion to              $550.00         $110.00
                                 dismiss and sanctions motion
01/25/21   Sybert            0.3 correspondence from David re Rule 11             $575.00         $172.50
                                 hearing, transmitted RUle [sic] motion
                                 papers
01/26/21   Heffner           0.5 Finalize and execute Rule 11 motion;             $550.00         $275.00
                                 action on filing
01/29/21   Heffner           0.2 Call with SMG's counsel re joint motion          $550.00         $110.00
                                 relative to Rule 11 briefing schedule and
                                 demand on Board for legal fee
                                 advancements
02/05/21   Heffner           0.7 Correspond with counsel for plaintiff and        $550.00         $385.00
                                 SMG re Rule 11 briefing and joint motion
                                 relative to same; review multiple
                                 iterations; approve motion and draft
                                 response
02/08/21   Heffner           0.3 Review correspondences between                   $550.00         $165.00
                                 counsel re motion to amend Rule 11
                                 briefing schedule and filing of same
02/16/21   Heffner           0.1 Review order granting joint motion to            $550.00          $55.00
                                 amend briefing schedule for Rule 11
                                 snactions motions; action on calendar
02/16/21   Sybert            0.3 review ORDER Granting Joint Motion               $575.00         $172.50
                                 (Doc. [27]) to Continue Hearing and
                                 Briefing on Motion for Sanctions;
                                 corresponded clients re same
02/23/21   Heffner           0.3 Review status re correspondences with            $550.00         $165.00
                                 Westbrook relative to [REDACTED];
                                 confer with attorney Sybert
02/23/21   Sybert            0.5 reviewed and corresponded re status of           $575.00         $287.50
                                 [REDACTED]
02/27/21   Sybert            0.1 followed up with Paul Tyrell re                  $575.00          $57.50
                                 [REDACTED]
03/15/21   Sybert            0.5 reviewed [REDACTED]                              $575.00         $287.50
03/18/21   Sybert            0.6 reviewed and analyzed Richmond                   $575.00         $345.00
                                 Opposition to Motion for Sanctions
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Date       Person    Hours       Description                                   Hourly rate    Total Cost
03/19/21   Brown             0.7 Review opposition brief in preparation of          $350.00         $245.00
                                 drafting reply brief
03/19/21   Heffner           0.2 Confer re strategy for Rule 11 reply brief         $550.00         $110.00
03/21/21   Brown             1.1 Draft reply brief in support of motion for         $350.00         $385.00
                                 sanctions
03/22/21   Brown             2.1 Continue to draft reply brief in support of        $350.00         $735.00
                                 motion for sanctions and supplement
                                 with further factual analysis and
                                 comparison to state court case
03/22/21   Heffner           4.1 Review and analyze plaintiff's opposition          $550.00       $2,255.00
                                 to clients' Rule 11 motion and the
                                 opposition to Snopes's Rule 11 motion;
                                 further review of prior briefing including
                                 Rule 11 moving papers and motion to
                                 dismiss papers; outline issues
03/22/21   Heffner           0.3 Call with Snopes' counsel re Rule 11               $550.00         $165.00
                                 opposition and strategy
03/23/21   Brown             0.4 Supplement reply brief in support of               $350.00         $140.00
                                 motion for sanctions with further legal
                                 authority
03/23/21   Heffner           3.8 Review draft Rule 11 reply brief and cited         $550.00       $2,090.00
                                 authorities; identify issues for further
                                 research and development and confer
                                 with attorney Brown re same; continue
                                 drafting
03/24/21   Brown             0.5 Conduct legal research on demurrers and            $350.00         $175.00
                                 motions to dismiss by nominal parties,
                                 and analyze as compared to this case

03/24/21   Heffner           5.6 Continue analysis and drafting of Rule 11          $550.00       $3,080.00
                                 reply brief
03/24/21   Heffner           0.3 Develop strategy for objections to                 $550.00         $165.00
                                 evidence; confer with attorney Brown re
                                 same
03/24/21   Heffner           0.7 Calls with counsel for Snopes re Rule 11           $550.00         $385.00
                                 briefing
03/25/21   Brown             1.6 Conduct legal research on a draft                  $350.00         $560.00
                                 objections to new evidence raised by
                                 plaintiff in opposition
03/25/21   Brown             1.1 Respond to Plaintiff's arguments under             $350.00         $385.00
                                 Rule 23.1 in reply brief and conduct legal
                                 research re: same
03/25/21   Heffner           0.7 Further strategy calls with Snopes's               $550.00         $385.00
                                 counsel
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Date       Person     Hours         Description                                 Hourly rate    Total Cost
03/25/21   Heffner              0.2 Review tentative ruling on demurrer to           $550.00         $110.00
                                    Dunn's lawsuit relative to Richmond
                                    matter; confer with attorney Sybert re
                                    same
03/25/21   Heffner              4.1 Review draft objections to evidence;             $550.00       $2,255.00
                                    analyze, including review of Hrutkay,
                                    Tencer, and Richmond declarations,
                                    exhibits thereto, request for judicial
                                    notice, and motion to seal; further draft
                                    objections and augment reply brief to
                                    reflect same
03/25/21   Heffner              2.9 Further develop Rule 11 briefing strategy        $550.00       $1,595.00
                                    including conference with attorney
                                    Sybert; review revisions and comments
                                    from same and continue drafting

03/25/21   Sybert               0.7 reviewed and revised draft Reply in              $575.00     $402.50
                                    support of sanctions motion
04/21/21   Sybert               0.2 [REDACTED]                                       $575.00     $115.00
04/22/21   Heffner              0.2 Status and strategy with attorneys Sybert        $550.00     $110.00
                                    and Howatt re [REDACTED]
04/26/21   Heffner              0.2 Review status; client update including           $550.00     $110.00
                                    Rule 11 sanctions briefing
           TOTAL              225.7                                            TOTAL         $108,812.50
           Total              227.8                                        2.1 Total         $109,990.00
           reported                                                            reported
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                          EXHIBIT 4
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Date        Person     Hours       Description                               Hourly rate Total Cost
   09/25/20 Tyrell             0.2 Review notice of new federal court             $745.00      $149.00
                                   action filed by Richmond today; emails to
                                   Mr. Mikkelson and team re same
   09/27/20 Tyrell             1.4 Review and analysis of new action filed        $745.00   $1,043.00
                                   by Richmond; legal research regarding
                                   defenses to be raised by Snopes Media
                                   Group; correspondence re new actoin
   09/28/20 Belanger           1.3 Attention to new federal court complaint      $670.00      $871.00
                                   and review of realted internal legal team
                                   correspondence regarding same; analyze
                                   and respond to [REDACTED] related to
                                   same
   09/28/20 Tyrell             0.6 Correspondence re new federal case filed      $745.00      $447.00
                                   by Richmond, [REDACTED] and related
                                   issues
   09/28/20 Tyrell             0.3 Telephone conference with J Kozaczuk re       $745.00      $223.50
                                   research regarding newly filed federal
                                   court action and strategy for motion to
                                   dismiss
   09/28/20 Kozaczuk           0.2 Confer with P. Tyrell regarding C.            $425.00       $85.00
                                   Richmond's federal complaint, including
                                   issues related to [REDACTED]
   09/28/20 Kozaczuk           5.2 Initial analysis of federal complaint filed   $425.00    $2,210.00
                                   by C. Richmond; cross-reference with file
                                   and consider potential pleading
                                   challenges; analysis of case law relating
                                   to [REDACTED] causes of action,
                                   including applicable [REDACTED] for
                                   claims in federal court and recent
                                   California and Delaware cases addressing
                                   [REDACTED]; analyze [REDACTED]
                                   prepare memorandum regarding case
                                   law reelevant to motion to dismiss on
                                   grounds of [REDACTED], including
                                   analysis of [REDACTED].

   09/28/20 Caplan             0.3 Continue research and analysis regarding      $525.00      $157.50
                                   new federal action filed by Richmond,
                                   implications of the same, and next steps

10/03/20    Sybert             0.2 corresponded David re [REDACTED]              $575.00      $115.00
   10/05/20 Belanger           1.2 Attend all-hands call regarding new           $670.00      $804.00
                                   federal action, response to same;
                                   correspondence with Mr. Tyrell regarding
                                   [REDACTED]; review and analyze same

   10/05/20 Tyrell             0.8 Strategy call re new actions; follow up       $745.00      $596.00
                                   with W Belanger re same
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Date        Person     Hours       Description                               Hourly rate Total Cost
   10/05/20 Kozaczuk           1.4 Review federal complaint filed by C.           $425.00      $595.00
                                   Richmond, consider pleading challenges
                                   to plaintiff's claims, and confer with R.
                                   Caplan regarding the same; analysis of
                                   [REDACTED]; review legal authority
                                   addressing consideration of [REDACTED]
                                   in connection with anticipated motion to
                                   dismiss
10/05/20    Heffner            0.3 Action on opening matter and                 $550.00       $165.00
                                   calendaring responsive pleading
                                   deadline; confer with attorney Sybert re
                                   attorney handling
10/05/20    Sybert             0.8 prep and conference call with Snopes         $575.00       $460.00
                                   counsel re deadling with new Chris
                                   Richmond federal suit
10/05/20    Sybert             0.5 corresponded David re [REDACTED]             $575.00       $287.50
                                   followed up re same
10/05/20    Sybert             0.6 corresponded Richmond counsel re             $575.00       $345.00
                                   acceptance of Waiver of Service,
                                   reviewed and revised same
10/05/20    Sybert             0.4 corresponded ProCopio re [REDACTED]          $575.00       $230.00
                                   reviewed same
10/05/20    Sybert             0.2 corresponded Tyrell re [REDACTED]            $575.00       $115.00
10/07/20    Sybert             0.3 conferred re Westbrook, reviewed             $575.00       $172.50
                                   [REDACTED]
10/07/20    Sybert             0.2 corresponded David re [REDACTED]             $575.00       $115.00
10/08/20    Sybert             0.3 correspond, phone Brad Westbrook re          $575.00       $172.50
                                   representation in new Chris Richmond
                                   suit
10/09/20    Sybert             0.4 corresponded David with analysis of          $575.00       $230.00
                                   grounds of oppositionto new Chris
                                   Richmond federal suit
10/16/20    Sybert             0.2 conferred with Bill Belanger re              $575.00       $115.00
                                   [REDACTED]
   10/23/20 Tyrell             0.2 Follow up re timing of response to new       $745.00       $149.00
                                   action
   10/23/20 Kozaczuk           0.4 Review of file regarding [REDACTED] in       $425.00       $170.00
                                   preparation for motion to dismiss federal
                                   claims, including Snopes' [REDACTED]
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Date        Person        Hours       Description                                Hourly rate Total Cost
   10/26/20 Kozaczuk              2.5 Evaluate potential Rule 11 motion for           $425.00   $1,062.50
                                      sanctions in federal action, including
                                      review of file and analyze pertinent legal
                                      authority; analyze [REDACTED] and
                                      related cases addressing propriety of
                                      Rule 11 sanctions where claims are
                                      [REDACTED]
   10/26/20 Alcantara             1.6 Confer with J. Kozaczuk regarding key         $300.00      $480.00
            (paralegal)               documents and progress regarding case
                                      going forward; prepare documents in
                                      regard to same; update to chronology in
                                      regard to Richmond Answer.
10/26/20    Sybert                0.2 conferred, corresponded Belanger, David       $575.00      $115.00
                                      re [REDACTED]
   10/27/20 Kozaczuk              1.8 Analysis of case law regarding standards      $425.00      $765.00
                                      for Rule 11 motions and the [REDACTED],
                                      including analysis of [REDACTED], and
                                      related cases; prepare memorandum
                                      regarding pertinent legal authority for
                                      potential Rule 11 sanctions motion in the
                                      federal action.
   10/27/20 Kozaczuk              0.2 Confer with R. Caplan regarding potential     $425.00       $85.00
                                      Rule 11 motion for sanctions in the
                                      federal action.
10/27/20    Sybert                0.3 corresponded Westbrook, David,                $575.00      $172.50
                                      Belanger re representation in new suit
   10/30/20 Tyrell                0.3 Telephone call with J Kozaczuk regarding      $745.00      $223.50
                                      motion to dismiss and possible Rule 11
                                      motion.
   10/30/20 Kozaczuk              6.7 Begin preparation of motion to dismiss C.     $425.00    $2,847.50
                                      Richmond's federal complaint; review of
                                      file including prior pleadings, claims, and
                                      allegations asserted by plaintiffs in state
                                      court action for purposes of preparing
                                      same.
   10/30/20 Kozaczuk              0.4 Review docket for federal action and          $425.00      $170.00
                                      consider next steps (.2); confer with P.
                                      Tyrell regarding federal action, including
                                      Rule 11 motion for sanctions and
                                      [REDACTED] (.2).
   10/30/20 Kozaczuk                1 Prepare memorandum regarding relevant         $425.00      $425.00
                                      case law for seeking Rule 11 sanctions in
                                      federal action in preparation for Rule 11
                                      motion.
10/30/20    Heffner               1.1 Draft demand to SMG for                       $550.00      $605.00
                                      indemnification and/or advancement of
                                      litigation fees and costs
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Date        Person     Hours       Description                               Hourly rate Total Cost
   10/31/20 Kozaczuk           4.2 Analyze whether Richmond's federal             $425.00   $1,785.00
                                   claims are barred by the [REDACTED] for
                                   purposes of client's motion to dismiss C.
                                   Richmond's federal complaint including
                                   review of [REDACTED], and cases
                                   addressing claims [REDACTED]; analyze
                                   [REDACTED], and their progeny regarding
                                   application of [REDACTED] and related
                                   cases addressing the [REDACTED];
                                   prepare memorandum regarding
                                   pertinent case law and application to C.
                                   Richmond's claims.


   11/01/20 Kozaczuk           5.3 Extensive analysis of Ninth Circuit         $425.00     $2,252.50
                                   jurisprudence regading application of
                                   [REDACTED] for purposes of Snopes'
                                   motion to dismiss the federal complaint,
                                   including [REDACTED], and other
                                   decisions analyzing [REDACTED]; begin
                                   preparation of Snopes' motion to dismiss
                                   the federal complaint.
   11/02/20 Kozaczuk            6 Prepare motion to stay federal action        $425.00     $2,550.00
                                  pending adjudication of state action and
                                  continue preparation of Rule 12(b)(6)
                                  motion to dismiss; review legal authority
                                  regarding [REDACTED], including
                                  [REDACTED] and subsequent cases.

   11/02/20 Kozaczuk           4.8 Analysis of case law and state and          $425.00     $2,040.00
                                   federal pleadings for purposes of
                                   evaluating [REDACTED]; analyze
                                   [REDACTED] and its progeny regarding
                                   [REDACTED]; review case law including
                                   [REDACTED] addressoing applicable legal
                                   standards for challenging [REDACTED];
                                   analyze [REDACTED] and other cases
                                   regarding [REDACTED] for purposes of
                                   evaluating dismissal [REDACTED];
                                   prepare memorandum analyzing legal
                                   authority relevant to dismissal of
                                   Richmond's claims on grounds of
                                   [REDACTED]; confer with R. Caplan
                                   regarding the same.

   11/02/20 Caplan              1 Research and analysis regarding              $525.00       $525.00
                                  response to Richmond action.
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Date        Person     Hours       Description                                 Hourly rate Total Cost
   11/03/20 Kozaczuk           7.3 Alanyze case law regarding [REDACTED]            $425.00   $3,102.50
                                   for purposes of seeking dismissal of the
                                   federal action under Rule 12(b)(1) and
                                   prepare memorandum analyzing
                                   application of [REDACTED] to plaintiff's
                                   federal causes of action; review recent
                                   decisions including [REDACTED] and
                                   evaluate whether [REDACTED] analyze
                                   civil actions implicating [REDACTED].
   11/03/20 Kozaczuk           3.2 Continue preparation of motion to stay          $425.00    $1,360.00
                                   federal procexeding, including discussion
                                   regarding claims, pleadings, and
                                   adjudicated issues in state court action
                                   and related judicial findings; review of
                                   file in connection with same
   11/03/20 Tyrell             0.9 Telephone call with J. Kozaczuk regarding       $745.00      $670.50
                                   arguments and strategy for motion to
                                   dismiss and possible motion to stay.

11/03/20    Heffner            0.2 Review waiver of service; actoin on             $550.00      $110.00
                                   calendar and file
11/03/20    Sybert             0.1 reviewed response date to complaint             $575.00       $57.50
   11/04/20 Kozaczuk           1.6 Continue preparation of memorandum              $425.00      $680.00
                                   analyzing key issues for seeking stay or
                                   dismissal under [REDACTED] and review
                                   of file in connection with same.
   11/04/20 Kozaczuk           8.2 Prepare motion to dismiss derivative            $425.00    $3,485.00
                                   shareholder claims pursuant to Rule
                                   12(b)(6) and Rule 23.1; continue
                                   preparation of memorandum analyzing
                                   pertinent legal authority for motion to
                                   dismiss; analysis of case law regarding
                                   [REDACTED] applicable to Richmond's
                                   shareholder derivative claims; review
                                   federal cases addressing [REDACTED]
   11/04/20 Caplan             0.3 Prepare acknowledgement of receipt of           $525.00      $157.50
                                   complaint/summons on behalf of
                                   Snopes.
   11/05/20 Caplan             0.5 Research and analysis regarding case            $525.00      $262.50
                                   status and next steps.
   11/05/20 Kozaczuk           0.4 Confer with R. Caplan regarding seeking         $425.00      $170.00
                                   stay or dismissal under [REDACTED]
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Date        Person     Hours       Description                               Hourly rate Total Cost
   11/05/20 Kozaczuk           5.9 Evaluate dismissal of Richmond's claims        $425.00   $2,507.50
                                   under [REDACTED] extensive review of
                                   federal cases applying the [REDACTED]
                                   and decisions addressing the
                                   [REDACTED]; prepare memorandum
                                   analyzing pertinent case law [REDACTED]
                                   dismissal of C. Richmond's federal claims
                                   under [REDACTED].
   11/05/20 Caplan               1 Research and analysis regarding              $525.00      $525.00
                                   challenges to lawsuit and next steps.
   11/06/20 Tyrell             0.2 Review research notes re motions to          $745.00      $149.00
                                   dismiss; preliminary draft of litigation
                                   update.
   11/06/20 Kozaczuk           1.4 Review case law regarding application of     $425.00      $595.00
                                   the [REDACTED], and other district court
                                   decisions applying [REDACTED] and
                                   addressing persuasive holdings of other
                                   circuits; prepare discussion regarding
                                   pertinent legal authority in memorandum
                                   [REDACTED].
   11/09/20 Kozaczuk           4.7 Analyze case law addressing stay or          $425.00    $1,997.50
                                   dismissal [REDACTED], and cases
                                   addressing [REDACTED]; prepare
                                   discussion in memorandum applying
                                   pertinent case law to claims at bar in the
                                   federal action and consider next steps re:
                                   pleading challenges.
   11/10/20 Kozaczuk            5 Analysis of pertinent case law regarding      $425.00    $2,125.00
                                  [REDACTED] for purposes of raising
                                  preclusion defenses in client's motion to
                                  dismiss, and prepare memorandum
                                  analyzing relevant legal authority;
                                  extensive analysis of [REDACTED]; review
                                  [REDACTED], and other federal cases
                                  applying [REDACTED]; review California
                                  federal and state court cases analyzing
                                  [REDACTED].

   11/10/20 Kozaczuk           2.6 Review legal authority relevant to           $425.00    $1,105.00
                                   seeking [REDACTED]; analyze district and
                                   circuit court decisions applying
                                   [REDACTED]; continue preparation of
                                   memorandum analysing potential issue
                                   and [REDACTED] and germane legal
                                   authority in preparation for motion to
                                   dismiss.
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Date        Person     Hours       Description                                 Hourly rate Total Cost
   11/10/20 Caplan             0.3 Research and analysis regarding                  $525.00      $157.50
                                   response to complaint; confer with J.
                                   Kozaczuk regarding the same.
   11/11/20 Kozaczuk           0.6 Evaluate [REDACTED] with respect to             $425.00      $255.00
                                   shareholder derivative claims for
                                   purposes of [REDACTED]; review legal
                                   authority regarding same, including
                                   [REDACTED].
   11/11/20 Tyrell             0.4 Telephone conference with J Kozaczuk re         $745.00      $298.00
                                   new argument for motion to dismiss
                                   based on lack of verification.
   11/11/20 Kozaczuk           0.1 Confer with P. Tyrell regarding C.              $425.00       $42.50
                                   Richmond's failure to verify the federal
                                   complaint.
   11/11/20 Kozaczuk           1.4 Confer with R. Caplan regarding                 $425.00      $595.00
                                   challenges to C. Richmond's federal
                                   complaint including discussion of
                                   [REDACTED].
   11/11/20 Kozaczuk           4.6 Continue preparation of client's motion         $425.00     $1,955.00
                                   to dismiss; analyze [REDACTED] and
                                   subsequent cases addressing Ninth
                                   Circuit [REDACTED]; analyze case law
                                   regarding [REDACTED]; review
                                   [REDACTED] and other cases addressing
                                   pleadings [REDACTED], and continue
                                   preparation of memorandum addressing
                                   pertinent legal authority for motion to
                                   dismiss pursuant to Rule 12(b)(6).


   11/11/20 Kozaczuk           1.9 Evaluate plaintiff's compliance with            $425.00      $807.50
                                   pleading requirements under
                                   [REDACTED]; analysis of [REDACTED] and
                                   its progeny regarding [REDACTED] and
                                   appropriate remedits; consider next steps
                                   and prepare discussion regarding same in
                                   client's motion to dismiss.
   11/11/20 Caplan             1.4 Continue research and analysis regarding        $525.00      $735.00
                                   pleading challenges to complaint; confer
                                   with J. Kozaczuk regarding the same.

   11/16/20 Tyrell             1.1 Review research and upates re motion to         $745.00      $819.50
                                   dismiss, motion to stay, and Rule 11
                                   motion; draft [REDACTED]; follow up
                                   with team re motions.
   11/16/20 Kozaczuk           0.2 Correspondence with P. Tyrell re: moving        $425.00       $85.00
                                   for sanctions under Rule 11.
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Date        Person     Hours       Description                              Hourly rate Total Cost
   11/17/20 Tyrell             0.8 Telephone conference with R Caplan and        $745.00      $596.00
                                   J Kozaczuk re motions to dismiss; review
                                   legal research regarding same.
   11/17/20 Kozaczuk           0.3 Review of file and Rule 23.1 in               $425.00      $127.50
                                   preparation for meet and confer with
                                   opposing counsel; call with plaintiff's
                                   counsel to discuss unverified complaint.
   11/17/20 Caplan             0.8 Continue research and analysis regarding     $525.00      $420.00
                                   status of lawsuits, upcoming pleadings,
                                   and next steps.
11/17/20    Ren                3.9 Review and analyze the complaint in the      $350.00    $1,365.00
                                   federal action and relevant pleadings in
                                   the state court proceeding to prepare
                                   drafting the motion to dismiss

   11/18/20 Kozaczuk           6.3 Continue preparation of motion to            $425.00    $2,677.50
                                   dismiss Richmond's derivative
                                   shareholder claims.
11/18/20    Ren                1.5 Draft the legal standard for motion to       $350.00      $525.00
                                   dismiss under 12(b)(1) and 12(b)(6)
11/18/20    Ren                2.5 Draft the factual and proedural              $350.00      $875.00
                                   background for the motion to dismiss
11/18/20    Ren                0.8 Draft the notice to motion to dismiss and    $350.00      $280.00
                                   motion to dismiss
11/18/20    Ren                2.5 Research and investigate Plaintiff's state   $350.00      $875.00
                                   citizenship information in public record
                                   database to help form arguments
                                   regarding diversity jurisdiction

   11/19/20 Tyrell             0.4 Telephone conference with J Kozaczuk re      $745.00      $298.00
                                   motion to dismiss and strategy;
                                   correspondence with counsel re same
11/19/20    Ren                1.5 Continued drafting the factual and           $350.00      $525.00
                                   procedural background
11/19/20    Ren                  2 Review and analyze legal authorities         $350.00      $700.00
                                   regarding the res judicata and collateral
                                   estoppel to help form arguments in the
                                   motion to dismiss
11/19/20    Sybert             0.3 corresponded plaintiff's counsel re          $575.00      $172.50
                                   service, response date for Westbrook
11/20/20    Ren                2.2 Review and analyze legal authorities         $350.00      $770.00
                                   regarding the court's [REDACTED]
11/20/20    Ren                2.6 Draft the arguments regarding the res        $350.00      $910.00
                                   judicata and collateral estoppel for the
                                   motion to dismiss
11/21/20    Ren                2.9 Draft the arguments regarding                $350.00    $1,015.00
                                   [REDACTED] for the motion to dismiss
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Date        Person     Hours       Description                               Hourly rate Total Cost
11/21/20    Ren                1.5 Review and analyze legal authorities           $350.00      $525.00
                                   regarding establishing diversity
                                   jurisdiction
11/21/20    Ren                1.8 Draft the arguments regarding the lack of      $350.00      $630.00
                                   diversity jurisdiction
11/22/20    Sybert             0.2 reviewed and conferred re conflicts            $575.00      $115.00
                                   waiver for Brad Westbrook
11/23/20    Heffner            0.7 Review docket and proof of service of          $550.00      $385.00
                                   complaint on Westbrook; review local
                                   rules relative to extending responsive
                                   pleading deadline and confer with
                                   attorney Sybert; correspond with
                                   plaintiff's counsel re stipulation
11/23/20    Heffner            0.8 Prepare legal service agreement and          $550.00       $440.00
                                   conflict waiver
11/23/20    Ren                  3 Review and analyze legal authorities         $350.00     $1,050.00
                                   regarding [REDACTED] to determine
                                   whether it applies to the motion, revise
                                   the MPA in support of the motion to
                                   dismiss
11/23/20    Sybert             0.2 reviewed and corresponded David re           $575.00       $115.00
                                   filing a challenge based on [REDACTED]
11/24/20    Heffner            0.2 Correspond with plaintiff's counsel re       $550.00       $110.00
                                   Westbrook responsive pleading
11/24/20    Sybert             0.3 reviewed and conferred re representation     $575.00       $172.50
                                   of Westbrook, stipulation with opposing
                                   counsel re response

11/24/20    Sybert             0.4 reviewed application of [REDACTED]           $575.00       $230.00
                                   doctrine to Richmond complaint,
                                   corresponded Paul Tyrell re same
   11/25/20 Kozaczuk           0.1 Call with plaintiff's counsel regarding      $425.00        $42.50
                                   filing of amended complaint.
11/25/20    Sybert             0.3 reviewed and conferred, corresponded         $575.00       $172.50
                                   Bill Belanger, re corporate
                                   reimbursement of Westbrook
11/28/20    Heffner            3.7 Review draft motion to dismiss; revise       $550.00     $2,035.00
                                   and further draft; identify issues for
                                   further development and confer with
                                   attorney Ren re same
11/29/20    Sybert             0.5 reviewed notes on first draft response to    $575.00       $287.50
                                   new Richmond complaint
   11/30/20 Tyrell             0.2 Review correspondence regarding              $745.00       $149.00
                                   anticipated amended complaint;
                                   [REDACTED].
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Date        Person     Hours       Description                                Hourly rate Total Cost
   11/30/20 Kozaczuk           0.2 Confer with R. Caplan regarding                 $425.00       $85.00
                                   Richmnond's [REDACTED] and potential
                                   [REDACTED].
   11/30/20 Kozaczuk           9.3 Continue preparation of motion to               $425.00   $3,952.50
                                   dismiss the federal complaint including
                                   discussion regarding res judicata effect
                                   of the anti-SLAPP order and application
                                   of the primary rights theory; review
                                   [REDACTED] and related cases regarding
                                   [REDACTED], and prepare discussion in
                                   client's motion to dismiss regarding prior
                                   litigation of pertinent elements and
                                   alleged issues in the state action.


   11/30/20 Kozaczuk           0.1 Review and reply to correspondence from       $425.00        $42.50
                                   plaintiff's counsel regarding filing of the
                                   amended complaint; interoffice
                                   correspondence regarding the same.
   11/30/20 Caplan             0.7 Research and analysis regarding               $525.00       $367.50
                                   potential [REDACTED] Richmond
                                   complaint; confer with J. Kozaczuk
                                   regarding the same.
11/30/20    Heffner            0.3 Correspond with plaintiff's counsel re        $550.00       $165.00
                                   first amended complaint and responsive
                                   pleading
11/30/20    Ren                1.5 Revise the factual and proedural              $350.00       $525.00
                                   background in the motion to dismiss
11/30/20    Ren                1.9 Review and analyze legal authorities          $350.00       $665.00
                                   regarding the finality of a judgment on
                                   the merit when the appeal is pending
11/30/20    Sybert             0.2 correspond Hrutkay re stipulation for         $575.00       $115.00
                                   unified response date to verified
                                   amended complaint
   12/01/20 Kozaczuk           5.2 Continue preparation of motion to             $425.00     $2,210.00
                                   dismiss derivative suit; analyze
                                   [REDACTED] and other case law
                                   regarding [REDACTED].
   12/01/20 Kozaczuk           1.5 Analysis of [REDACTED] and its progeny        $425.00       $637.50
                                   and evaluate filing [REDACTED] in the
                                   federal action; review case law regarding
                                   [REDACTED].
12/01/20    Heffner            0.2 Correspond with Procopio re anticipated       $550.00       $110.00
                                   first amended complaint
12/01/20    Ren                  2 Make further revisions to the MPA in          $350.00       $700.00
                                   support of the motion to dismiss
                                   Plaintiff's complaint
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Date        Person     Hours       Description                             Hourly rate Total Cost
   12/02/20 Tyrell             0.3 Preliminary review of verified cross-        $745.00      $223.50
                                   complaint; correspondence re same.
   12/02/20 Kozaczuk           0.5 Review verified first amended complaint      $425.00      $212.50
                                   and cross-reference with original
                                   complaint; review legal authority
                                   addressing sufficiency of [REDACTED].

   12/02/20 Kozaczuk           5.6 Review of file and identify pleadings       $425.00    $2,380.00
                                   relevant to responsive motions for
                                   client's request for judicial notice;
                                   continue preparation of memorandum of
                                   points and authorities in support of
                                   client's motion to dismiss the C.
                                   Richmond's derivative claims.
   12/02/20 Caplan             0.2 Review and evaluate verified first          $525.00      $105.00
                                   amended complaint.
12/02/20    Heffner            0.8 Status and strategy re pleading             $550.00      $440.00
                                   challenges and anticipated first amended
                                   complaint; confer with attorneys Sybert
                                   and Ren re same
12/02/20    Ren                0.3 Receive and review the first amended        $350.00      $105.00
                                   complaint, determine the responsive due
                                   date to the amended complaint with
                                   opposing counsel's email
12/02/20    Ren                1.1 Revise the MPA in support of the motion     $350.00      $385.00
                                   to dismiss the complaint
12/02/20    Sybert             0.7 reviewed Verified First Amended             $575.00      $402.50
                                   Complaint, corresponded David re
                                   [REDACTED]
12/02/20    Sybert             1.1 reviewed first draft motion to dismiss      $575.00      $632.50
                                   complaint
12/02/20    Sybert             0.4 reviewed corresponded Richmond              $575.00      $230.00
                                   counsel re application of Rule 15 to bar
                                   stipulation, necessity to revise response
                                   date, directed re preparation of
                                   necessary court papers
   12/03/20 Tyrell             0.2 Correspondence re acceptance of service;    $745.00      $149.00
                                   follow up re timing for filing motion to
                                   dismiss.
   12/03/20 Kozaczuk           4.8 Continue preparation of motion to           $425.00    $2,040.00
                                   dismiss C. Richmond's shareholder
                                   derivative claims.
   12/03/20 Caplan             0.2 Research and analysis regarding             $525.00      $105.00
                                   response to amended complaint.
12/03/20    Sybert             0.2 Corresponded Matt Hrutkay re Rule 15,       $575.00      $115.00
                                   electronic service
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Date         Person       Hours       Description                              Hourly rate Total Cost
12/03/20     Sybert               0.4 reviewed and conferred re any derivative      $575.00      $230.00
                                      nature of surviving claims, reviewed
                                      correspondence re same
12/07/20     Ren                  0.8 Draft and revise Defendant's motion to        $350.00      $280.00
                                      dismiss and MPA in support of the
                                      motion to dismiss plaintiff's First
                                      Amended Complaint
12/08/20     Ren                  0.9 Draft and revise the request for judicial    $350.00      $315.00
                                      notice in support of the motion to
                                      dismiss Plaintiff's first amended
                                      complaint
   12/09/20 Caplan                0.3 Research and analysis regarding              $525.00      $157.50
                                      response to Richmond complaint.
   12/09/20 Alcantara             0.8 Update case chronology.                      $300.00      $240.00
            (paralegal)
12/09/20    Heffner               0.2 Review correspondence and certificate of     $550.00      $110.00
                                      service from plaintiff's counsel; ation on
                                      file and calendar; confer with attorney
                                      Sybert
12/09/20     Heffner              1.2 Analyze derivative claims for additional     $550.00      $660.00
                                      pleading challenges including review of
                                      SMG and client demurrers in state court
                                      action and order on same, Dunn's state
                                      court complaint and demurrer thereto
12/09/20     Sybert               0.2 reviewed certificate of service of the       $575.00      $115.00
                                      Verified First Amended Complaint
12/10/20     Heffner              0.7 Initial analysis of merits of plaintiff's    $550.00      $385.00
                                      allegations relative to SMG's
                                      characterization of fee advancements as
                                      business expenses for tax purposes
12/10/20     Heffner              2.1 Analyze plaintiff's fraud, negligent         $550.00    $1,155.00
                                      misrepresentation, unjust enrichment
                                      claims for 12(b)(6) challenges; develop
                                      arguments and outline same
12/11/20     Heffner              2.7 Analyze and further develop res judicata     $550.00    $1,485.00
                                      and collateral estoppel challenges to
                                      plaintiff's fraud, negligent
                                      misrepresentation, unjust enrichment
                                      claims; develop and draft motion to
                                      dismiss
   12/12/20 Kozaczuk              2.8 Prepare client's motion to dismiss           $425.00    $1,190.00
                                      pursuant to Federal Rules of Civil
                                      Procedure 12(b)(6) and 23.1.
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Date        Person     Hours       Description                                  Hourly rate Total Cost
   12/13/20 Kozaczuk           8.4 Continue preparation of motino to                 $425.00   $3,570.00
                                   dismiss the First Amended Complaint;
                                   analyze case law [REDACTED] for
                                   procedural and substantive aspects of
                                   [REDACTED] analysis; review case law
                                   addressing [REDACTED] and prepare
                                   discussion regarding the same in the
                                   memorandum of points and authorities.
12/13/20    Heffner            2.3 Review and further draft request for             $550.00    $1,265.00
                                   judicial notice supporting motion to
                                   dismiss and identify 36 supporting
                                   exhibits preparatory to filing; augment
                                   motion to reflect same
   12/14/20 Kozaczuk           1.6 Analyze case law regarding [REDACTED]            $425.00      $680.00
                                   prepare memorandum addressing the
                                   same in anticipation of opposition
                                   arguments from plaintiff.
   12/14/20 Kozaczuk           7.7 Analyze case law regarding [REDACTED]            $425.00    $3,272.50
                                   including [REDACTED]; continue
                                   preparation of memorandum of points
                                   and authorities in support of motion to
                                   dismiss including discussion of
                                   inadequate representation and
                                   application of res judicata to derivative
                                   shareholder claims.
12/14/20    Heffner            4.3 Review revised motion to dismiss;                $550.00    $2,365.00
                                   analyse issues and continued research
                                   relative to demand futility, standing, and
                                   direct (non derivative) claims; further
                                   draft
   12/15/20 Tyrell             0.7 Review and provide preliminary                   $745.00      $521.50
                                   comments on motion to dismiss.
   12/15/20 Kozaczuk           1.4 Call with counsel regarding motions to           $425.00      $595.00
                                   dismiss the C. Richmond's federal claims;
                                   coordinate and discusss arguments and
                                   supporting legal authority.

   12/15/20 Kozaczuk           0.4 Confer with R. Caplan regarding motion           $425.00      $170.00
                                   to dismiss and potential requests for stay
                                   of action.
   12/15/20 Kozaczuk           7.1 Continue preparation of motion to                $425.00    $3,017.50
                                   dismiss [REDACTED]; review of file and
                                   identify pertinent records for judicial
                                   notice in support of motion to dismiss.
   12/15/20 Caplan             3.2 Assist with preparation of motion to             $525.00    $1,680.00
                                   dismiss First Amended Complaint.
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Date        Person     Hours       Description                                 Hourly rate Total Cost
12/15/20    Heffner            1.8 Status and strategy re claims and                $550.00      $990.00
                                   pleading challenges; conference with
                                   SMG counsel re same; subsequent
                                   correspondences with same via phone
                                   and e-mail
12/15/20    Heffner            3.4 Reviewed revised motion to dismiss;             $550.00     $1,870.00
                                   further analyze and develop issues
                                   relative to diversity jurisdiction and
                                   request for discovery re same; further
                                   draft
12/15/20    Ren                1.5 Review documents and case files in the          $350.00      $525.00
                                   state court case and prepare exhibits for
                                   the motion to dismiss the first amended
                                   complaint in the federal court case
12/15/20    Sybert             0.3 corresponded Westbrook, Procopio re             $575.00      $172.50
                                   SMG payment of Westbrook fees
12/15/20    Sybert             2.2 reviewed documents for Request for              $575.00     $1,265.00
                                   Judicial Notice in connection with motion
                                   to dismiss Complaint: ROA summary;
                                   TAC; two anti-SLAPP motions (notice &
                                   MPA) + two oppositions MPA + two
                                   replies + two court's minute orders; two
                                   demurrers (notice & MPA) + two
                                   oppositions MPA + two replies + two
                                   notice of ruling
12/15/20    Sybert             0.3 finalized, corresponded with Messrs.            $575.00      $172.50
                                   Mikkelson and Westbrook re conflicts
                                   waivers
   12/16/20 Tyrell             3.3 Review draft memorandum of points and           $745.00     $2,458.50
                                   authorities in support of Snopes Media
                                   Group's motion to dismiss; telephone
                                   conferrences with J Kozaczuk re
                                   arguments and moving papers; legal
                                   research regarding [REDACTED] and
                                   other issues; revise moving papers.
   12/16/20 Kozaczuk           0.8 Call with counsel to discuss overlapping        $425.00      $340.00
                                   legal arguments and authority for
                                   motions to dismiss the federal claims.
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Date        Person        Hours       Description                                 Hourly rate Total Cost
   12/16/20 Kozaczuk              6.9 Prepare request for judicial notice;             $425.00   $2,932.50
                                      continue review of file for identification
                                      of pertinent records for judicial notice in
                                      support of preclusion, demand futility,
                                      and inadequate representation
                                      arguments; review legal authority
                                      addressing use of judicial notice to
                                      establish re judicata and demand futility
                                      for purposes of citing the same in
                                      request for judicial notice; revise and
                                      finalize motion to dismiss the First
                                      Amended Complaint.

   12/16/20 Caplan                0.4 Continue assisting with motion to             $525.00       $210.00
                                      dismiss.
   12/16/20 Alcantara             0.5 Review and analysis of new case               $300.00       $150.00
            (paralegal)               developments; update to chronology in
                                      regard to same.
12/16/20    Heffner               1.4 Further status and strategy on pleading       $550.00       $770.00
                                      challenges; correspond with SMG's
                                      counsel re same via phone and e-mail
12/16/20    Heffner               6.7 Continue preparation of motion to             $550.00     $3,685.00
                                      dismiss
12/16/20    Heffner               1.2 Calls and e-mails with SMG counsel re         $550.00       $660.00
                                      motion to dismiss
12/16/20    Ren                   0.5 Review and confirm Plaintiff's public         $350.00       $175.00
                                      available record in Puerto Rico for the
                                      purpose of rebutting the diversity
                                      citiaenship jurisdiction
12/16/20    Sybert                2.7 revised and edited draft motion for           $575.00     $1,552.50
                                      dismissal based, inter alia, on res
                                      judicata
   12/17/20 Belanger              1.9 Review Richmond Complaint and Motion          $670.00     $1,273.00
                                      to Dismiss.
   12/17/20 Tyrell                0.8 Correspondence and telephone                  $745.00       $596.00
                                      conference with J Kozaczuk re Motion to
                                      Dismiss Richmond Federal Action
   12/17/20 Kozaczuk              0.1 Call with department clerk regarding          $425.00        $42.50
                                      motion to dismiss and hearing date.
   12/17/20 Kozaczuk              0.5 Review [REDACTED], and related cases          $425.00       $212.50
                                      [REDACTED] regarding [REDACTED] of
                                      Rule 11 motions in connection with
                                      dispositive motions; interoffice
                                      correspondence regarding the same for
                                      purposes of preparing Rule 11 motion
                                      seeking sanctions.
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Date        Person        Hours       Description                              Hourly rate Total Cost
   12/17/20 Caplan                0.3 Review and evaluate motions to dismiss;       $525.00      $157.50
                                      prepare notices of appearance.
   12/17/20 Alcantara             0.3 Review of motion to dismiss and case          $300.00       $90.00
            (paralegal)               status in regard to same.
12/17/20    Heffner               0.3 Review SMG's motion to dismiss                $550.00      $165.00
12/17/20    Sybert                0.3 multiple correspondence with David re         $575.00      $172.50
                                      [REDACTED] and arguments if Complaint
                                      survives pleading stage
   12/18/20 Caplan                0.2 Research ana analysis regarding possible      $525.00      $105.00
                                      Rule 11 motion.
12/18/20     Heffner              0.5 Draft proposed order granting motion to       $550.00      $275.00
                                      dismiss
12/18/20     Heffner              0.2 Review truncated deadline for motion to       $550.00      $110.00
                                      dismiss reply briefing due to court
                                      holiday; call to counsel for SMG
   12/21/20 Kozaczuk              0.3 Call with counsel regarding motions to        $425.00      $127.50
                                      dismiss and anticipated reply briefs.
12/21/20     Heffner              0.4 Call with SMG counsel re strategy for         $550.00      $220.00
                                      motion to dismiss reply breiefing and
                                      potential Rule 11 motion
12/22/20     Heffner              1.3 Consider sanctions motion and timing of       $550.00      $715.00
                                      same including review of Rule 11 and
                                      decisional authority; confer with
                                      attorneys Sybert and Brown
12/22/20     Sybert               0.5 [REDACTED] corresponded David re same         $575.00      $287.50

12/22/20    Sybert                0.2 corresponded David re [REDACTED]               $575.00    $115.00
   12/23/20 Belanger              0.6 Review litigation status correspondence.       $670.00    $402.00

   12/23/20 Kozaczuk              7.5 Prepare Rule 11 motion for sanctions;          $425.00   $3,187.50
                                      review [REDACTED], and other California,
                                      Ninth Circuit, and out-of-district decisions
                                      imposing sanctions under Rule 11
                                      [REDACTED] for purposes of referencing
                                      the same in memorandum of points and
                                      authorities.
12/23/20     Brown                  1 Conduct and summarize legal research           $350.00    $350.00
                                      on [REDACTED] and review emails on
                                      same
12/23/20     Heffner              1.1 Review attorney Brown's summary and            $550.00    $605.00
                                      authority re [REDACTED] analyze and
                                      confer internally re application including
                                      [REDACTED]
12/23/20     Heffner              0.5 [REDACTED]                                     $550.00    $275.00
12/23/20     Sybert               1.4 further review and analysis of                 $575.00    $805.00
                                      [REDACTED], correspond David re same
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Date        Person     Hours       Description                                  Hourly rate Total Cost
12/26/20    Brown              1.4 Conduct and analyze legal research on             $350.00      $490.00
                                   sanctions for purposes of preparing
                                   motion
12/26/20    Brown              1.3 Review motions to dismiss and                    $350.00      $455.00
                                   attachments filed with the court for
                                   purposes of preparing motion for
                                   sanctions
   12/27/20 Kozaczuk           4.1 Continue preparation of memorandum of            $425.00     $1,742.50
                                   points and authorities in support of
                                   request for sanctions pursuant to Rule
                                   11; analyze federal cases addressing
                                   requests for sanctions in shareholder
                                   derivative suits.
   12/28/20 Kozaczuk           0.4 Call with counsel regarding motions for          $425.00      $170.00
                                   sanctions.
   12/28/20 Kozaczuk           4.3 Continue preparation of motion for               $425.00     $1,827.50
                                   sanctions pursuant to Federal Rule of
                                   Civil Procedure 11 including discussion of
                                   Mr. Hrutkay's knowledge or presumed
                                   knowledge over Rule 11 violations, and
                                   review of file regarding records
                                   evidencing the same.
12/28/20    Brown              0.4 Develop strategy and plan for motion for         $350.00      $140.00
                                   sanctions
12/28/20    Heffner            3.4 Continue analysis and research relative to       $550.00     $1,870.00
                                   sanctions motion and further develop
                                   strategy; calls with counsel for SMG (.4)
                                   and attorney Brown (.3); outline grounds
                                   for motion
   12/29/20 Kozaczuk           0.3 Confer with R. Caplan regarding Rule 11          $425.00      $127.50
                                   motion for sanctions.
   12/29/20 Kozaczuk             4 Continue preparation of memorandum of            $425.00     $1,700.00
                                   points and authorities in support of Rule
                                   11 motion; review case law regarding
                                   [REDACTED] for purposes of citing same
                                   in moving papers.
   12/29/20 Caplan             0.5 Research and analysis regarding Rule 11          $525.00      $262.50
                                   motion.
12/29/20    Brown              1.9 Draft motion for sanctions                       $350.00      $665.00
12/29/20    Brown              1.7 Conduct and analyze legal research on            $350.00      $595.00
                                   basis for sanctions, including Rule 11 and
                                   court's inherent power
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Date        Person     Hours       Description                                Hourly rate Total Cost
   12/30/20 Kozaczuk           6.3 Prepare motion for sanctions pursuant to        $425.00   $2,677.50
                                   Rule 11; review of file regarding
                                   pertinent background for Rule 11 motion
                                   and identify relevant records for judicial
                                   notice; prepare request for judicial
                                   notice.
   12/30/20 Caplan             0.3 Continue research and analysis regarding     $525.00       $157.50
                                   Rule 11 motion.
12/30/20    Brown              0.5 Supplement motion for sanctions with         $350.00       $175.00
                                   authority on res judicata and standing
12/30/20    Brown                1 Supplement motion for sanctions on           $350.00       $350.00
                                   types of sanctions a court may issue
12/30/20    Brown              0.6 Continue drafting motion for sanctions       $350.00       $210.00
12/30/20    Heffner            3.9 Review draft Rule 11 memorandum;             $550.00     $2,145.00
                                   analysis and continue drafting same
   12/31/20 Kozaczuk           0.3 Confer with R. Caplan regarding service      $425.00       $127.50
                                   of Rule 11 motion and next steps.
   12/31/20 Kozaczuk           4.6 prepare and revise moving papers             $425.00     $1,955.00
                                   seeking Rule 11 sanctions; review
                                   revisions by R. Caplan and continue
                                   preparation of memorandum of points
                                   and authorities; analyze [REDACTED] and
                                   its progeny regarding [REDACTED], for
                                   purposes of seeking sanctions against C.
                                   Richmond in the motion for sanctions.


   12/31/20 Kozaczuk           0.2 Review newly published decision              $425.00        $85.00
                                   [REDACTED] for potential impact on
                                   pending motion to dismiss.
   12/31/20 Kozaczuk           0.3 Confer with R. Caplan regarding              $425.00       $127.50
                                   arguments in Rule 11 motion, including
                                   seeking sanctions as to C. Richmond and
                                   asserting Rule 11 violations for lack of
                                   evidentiary support.
12/31/20    Heffner            5.4 Continue preparation of Rule 11              $550.00     $2,970.00
                                   memorandum and supporting documents

   01/01/21 Kozaczuk           4.3 Prepare attorney declaration and finalize    $460.00     $1,978.00
                                   motion for sanctions and supporting
                                   papers; correspondence with R. Caplan
                                   regarding revisions to moving papers;
                                   prepare correspondence to counsel
                                   serving motion for sanctions pursuant to
                                   Federal Rule of Civil Procedure Rule 11.
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Date        Person     Hours       Description                              Hourly rate Total Cost
   01/01/21 Caplan             3.7 Continue preparing Rule 11 motion;            $550.00   $2,035.00
                                   continue research and analysis regarding
                                   the same.
01/01/21    Heffner            1.3 Review SMG's Rule 11 correspondence to        $550.00      $715.00
                                   plaintiff's counsel and enclosed motion

01/01/21    Sybert             0.6 reviewed Snopes Media Group Inc.'s          $575.00       $345.00
                                   motion for an order imposing sanctions
                                   against Plaintiff Christopher Richmond
                                   and his counsel, Matthew Hrutkay and
                                   Hrutkay Law PC, pursuant to Federal Rule
                                   of Civil Procedure 11, and supporting
                                   papers
01/03/21    Brown              0.2 Review and analyze Snopes' motion for       $350.00        $70.00
                                   sanctions
   01/04/21 Belanger           0.9 Review summary of federal litigation        $685.00       $616.50
                                   matters, correspondence from Mr. Tyrell
                                   regarding same; review draft Rule 11
                                   motion for sanctions regarding same.

01/04/21    Brown              0.3 Prepare notice of motion for sanctions      $350.00       $105.00
01/04/21    Heffner            3.5 Review and continue drafting notice of      $550.00     $1,925.00
                                   motion and memorandum supporting
                                   Rule 11 sanctions; draft attorney
                                   declaration and correspondence to
                                   plaintiff's counsel serving same
01/04/21    Sybert             0.1 correspond David re Hrutkay new filing      $575.00        $57.50
   01/05/21 Kozaczuk           0.3 Review Mikkelson and Werstbrook's           $460.00       $138.00
                                   motion for sanctions.
01/05/21    Heffner            0.2 Review client correspondence re timing      $550.00       $110.00
                                   of motions to dismiss and for sanctions;
                                   draft response re anticipated sequencing

01/05/21    Heffner            0.3 Correspond with client and plaintiff's      $550.00       $165.00
                                   counsel re revision to sanctions motion
01/05/21    Sybert             0.8 reviewed and corresponded clients re        $575.00       $460.00
                                   Rule 11 sanctions motion against
                                   Plaintiff and his counsel
   01/06/21 Belanger           0.4 Review correspondence regarding motion      $685.00       $274.00
                                   for sanctions.
   01/06/21 Tyrell             0.3 Review motion for sanctions filed by        $780.00       $234.00
                                   individual defendants.
01/06/21    Sybert             0.2 corresponded David re interplay between     $575.00       $115.00
                                   Rule 11 motion and motion to dismiss

   01/07/21 Tyrell             0.1 Telephone call with defense counsel.        $780.00        $78.00
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Date        Person     Hours       Description                                Hourly rate Total Cost
   01/07/21 Tyrell             0.2 Review motions filed by individual              $780.00      $156.00
                                   defendants.
01/07/21    Sybert             0.4 conferred with corporate counsel re             $575.00      $230.00
                                   [REDACTED] for Messrs. Mikkelson and
                                   Westbrook
   01/12/21 Tyrell             0.6 Review and comment on Richmond's                $780.00      $468.00
                                   opposition to motion to dismiss.
   01/12/21 Kozaczuk           1.8 Initial review of opposition papers to the      $460.00      $828.00
                                   motions to dismiss Richmond's claims;
                                   confer with R. Caplan regarding same in
                                   preparation for reply.
   01/12/21 Caplan             0.7 Research and analysis regarding                 $550.00      $385.00
                                   plaintiffs' opposition to motions to
                                   dismiss, proposed extension request,
                                   response to Rule 11 motion, and next
                                   steps.
01/12/21    Heffner            0.9 Review correspondences from plaintiff's       $550.00       $495.00
                                   counsel and SMG re late opposition filing
                                   and stipulation to continue briefing
                                   schedule; call with SMG counsel re same;
                                   review ex parte application

01/12/21    Heffner            1.9 Review and analyze plaintiff's opposition     $550.00     $1,045.00
                                   to motion to dismiss preparatory to
                                   drafting reply, strategy with attorneys
                                   Sybert and Ren
01/12/21    Heffner            3.4 Review plaintiff's authority cited in         $550.00     $1,870.00
                                   opposition to motion to dismiss direct
                                   claim for breach of fiduciary duty;
                                   research and review 20+ opinions;
                                   analysis re application of Jones v. H.F.
                                   Ahmanson & Co and potential effect of
                                   allegations re majority voting bloc
01/12/21    Ren                  2 Review and analyze the objection to the       $350.00       $700.00
                                   request for judicial notice to prepare
                                   drafting the reply
01/12/21    Sybert             0.5 reviewed Richmond "Omnibus                    $575.00       $287.50
                                   Objections" to our Request for Judicial
                                   Notice
01/12/21    Sybert             1.5 reviewed and analyzed Richmond's              $575.00       $862.50
                                   Opposition to the pending motions to
                                   dismiss his federal action, corresponded
                                   clients re same
   01/13/21 Belanger           0.5 Brief review of opposition to Motion to       $685.00       $342.50
                                   Dismiss and related correspondnce.
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Date        Person     Hours       Description                             Hourly rate Total Cost
   01/13/21 Kozaczuk           0.3 Confer with counsel regarding arguments      $460.00      $138.00
                                   raised in plaintiff's opposition to the
                                   motions to dismiss; review of file in
                                   connection with the same.

   01/13/21 Kozaczuk           0.1 Review plaintiff's ex parte application       $460.00     $46.00
                                   and supporting declaration.
   01/13/21 Caplan             0.1 Review and evaluate ex parte application      $550.00     $55.00
                                   from Richmond requesting briefing
                                   extension.
01/13/21    Heffner            2.1 Review plaintiff's arguments in               $550.00   $1,155.00
                                   opposition to motion to dismiss that
                                   business judgment rule inapplicable at
                                   pleading stage; research and develop
                                   arguments in reply
01/13/21    Heffner            0.5 Research application of the business          $550.00    $275.00
                                   judgment rule to officers in California
01/13/21    Heffner            0.3 Call and e-mail with counsel for SMG re       $550.00    $165.00
                                   plaintiff's allegations and underlying
                                   letter exchange relative to tax return
                                   issue
01/13/21    Heffner            0.9 Draft reply in support of motion to           $550.00    $495.00
                                   dismiss
01/13/21    Heffner            1.1 Further analyze and develop                   $550.00    $605.00
                                   counterarguments in reply to plaintiff's
                                   opposition to motion to dismiss breach of
                                   fiduciary duty claim
01/13/21    Ren                  5 Start drafting the reply to Plaintiff's 40+   $350.00   $1,750.00
                                   page long objections to the request for
                                   judicial notice
   01/14/21 Belanger           0.3 Telephone conference with Mr. Kozaczuk        $685.00    $205.50
                                   regarding status of pending litigation
                                   matters, motion to stay action.

01/14/21    Heffner            3.4 Continue to analysis and strategy in          $550.00   $1,870.00
                                   response to plaintiff's motion to dismiss
                                   opposition including continued review of
                                   first amended complaint,
                                   correspondences between parties and
                                   pleadings in underlying state court action

01/14/21    Heffner            1.2 Review and analyze plaintiff's 68-page        $550.00    $660.00
                                   objectoin to requests for judicial notice;
                                   review Evidence Code and decisional
                                   authority relative to same
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Date        Person     Hours       Description                               Hourly rate Total Cost
01/14/21    Ren                4.7 Review and analyze legal authorities           $350.00   $1,645.00
                                   distringuishing permitted request for
                                   judicial notice and improper judicial
                                   notice, draft arguments rebut Plaintiff's
                                   arguments in objection to the request for
                                   judicial notice
   01/15/21 Kozaczuk           0.2 Telephone conference with counsel            $460.00       $92.00
                                   regarding reply briefs in support of
                                   motions to dismiss.
   01/15/21 Caplan             0.2 Review and evaluate court order on MTD       $550.00      $110.00
                                   briefing.
01/15/21    Heffner            0.3 Correspond with court clerk re pending ex    $550.00      $165.00
                                   parte application to revise dispositive
                                   motion briefing schedule; review notice
                                   of entry of order granting same
01/15/21    Heffner            0.6 Research whether damages allegations         $550.00      $330.00
                                   sufficient under CA law
01/15/21    Heffner            0.2 Call with SMG counsel re status and          $550.00      $110.00
                                   strategy of reply supporting motion to
                                   dismiss
01/15/21    Heffner            5.9 Draft reply supporting motion to dismiss     $550.00    $3,245.00
01/15/21    Ren                  8 Continue drafting reply to Plaintiff's       $350.00    $2,800.00
                                   objection to each exhibit requested in the
                                   request for judicial notice
01/16/21    Heffner            3.6 Continue drafting reply supporting           $550.00    $1,980.00
                                   motion to dismiss
01/16/21    Ren                  3 Continue drafting the reply to Plaintiff's   $350.00    $1,050.00
                                   objection to each individual exhibit
                                   requested in the request for judicial
                                   noticee
   01/17/21 Kozaczuk           4.2 Preparation of reply brief in support of     $460.00    $1,932.00
                                   motion to dismiss derivative claims;
                                   analyze cases addressing [REDACTED],
                                   and prepare analysis regarding the same
                                   for purposes of rebutting arguments
                                   raised in plaintiff's opposition papers.


01/17/21    Heffner            0.2 Status and strategy call with SMG's          $550.00      $110.00
                                   counsel re reply briefing supporting
                                   motion to dismiss
   01/19/21 Tyrell             1.6 Review and revise reply in support of        $780.00    $1,248.00
                                   motion to dismiss; review reply in
                                   support of Mikkelson motion; follow up
                                   with J Kozaczuk re suggestions for
                                   particular arguments.
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Date        Person     Hours        Description                                 Hourly rate Total Cost
   01/19/21 Kozaczuk           10.6 Prepare and finalize reply brief in support      $460.00   $4,876.00
                                    of motion to dismiss C. Richmond's
                                    derivative claims; analyze case law cited
                                    in plaintiff's opposition papers, review
                                    related decisions, and address plaintiff's
                                    arguments relating to the same in reply
                                    brief with reference to pertinent legal
                                    authority; analyze [REDACTED], and
                                    prepare discussion addressing same in
                                    reply brief.
   01/19/21 Caplan              0.7 Research and analysis regarding reply          $550.00      $385.00
                                    brief in support of motion to dismiss;
                                    confer with J. Kozaczuk regarding the
                                    same.
01/19/21    Heffner             3.3 Review and continue preparation of             $550.00    $1,815.00
                                    response to plaintiff's objections to
                                    request for judicial notice
01/19/21    Ren                 0.3 Revise and finalize the reply to Plaintiff's   $350.00      $105.00
                                    objection to the Request for Judicial
                                    Notice
01/19/21    Sybert              0.2 corresponded Brad Westbrook re                 $575.00      $115.00
                                    [REDACTED] corresponded David and
                                    Brad re reply, including our responses on
                                    their objections to judicial notice, in
                                    support of our motion to dismiss
                                    Richmond's federal suit
01/19/21    Sybert              0.5 final review Reply in Support of Motion        $575.00      $287.50
                                    to Dismiss
01/19/21    Sybert              0.3 final revisions to Defendant's Reply to        $575.00      $172.50
                                    Oppo to Request for Judicial Notice in
                                    support of Motion to Dismiss
01/20/21    Heffner             0.2 Correspond with client re analysis of          $550.00      $110.00
                                    fraud claim
01/20/21    Heffner             0.2 Correspond with counsel for SMG re             $550.00      $110.00
                                    motion to dismiss and Rule 11 briefing
01/20/21    Heffner             0.3 Review SMG's reply in support of motion        $550.00      $165.00
                                    to dismiss
01/20/21    Sybert              0.2 corresponded David re Richmond claim           $575.00      $115.00
01/21/21    Heffner             0.8 Review and finalize Rule 11 motion             $550.00      $440.00
                                    including notice, memorandum of points
                                    and authorities, and attorney declaration;
                                    call with clerk re hearing date for same
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Date        Person     Hours       Description                                Hourly rate Total Cost
01/21/21    Heffner            0.9 Further draft demand for SMG                    $550.00      $495.00
                                   indemnification and/or advancement of
                                   litigation fees and costs; confer with
                                   attorneys Howatt and Sybert re same
01/21/21    Sybert             0.4 reviewed draft correspondence to Snopes         $575.00      $230.00
                                   re defense of Richmond suit against
                                   Mikkelson and Westbrook
   01/22/21 Belanger           0.3 Brief review of replies in furtherance of       $685.00      $205.50
                                   Motion to Dismiss.
   01/22/21 Kozaczuk           0.1 Call with clerk regarding client's motion       $460.00       $46.00
                                   for sanctions pursuant to Federal Rule of
                                   Civil Procedure 11.
   01/22/21 Kozaczuk           0.3 Confer with counsel regarding Rule 11           $460.00      $138.00
                                   motions seeking sanctions.
   01/22/21 Kozaczuk           0.3 Draft correspondence to opposing                $460.00      $138.00
                                   counsel regarding Rule 11 motion for
                                   sanctions; confer with R. Caplan
                                   regarding the same.
   01/22/21 Kozaczuk           0.3 Review cases addressing [REDACTED] for          $460.00      $138.00
                                   purposes of timing filing of motion for
                                   sanctions.
   01/22/21 Kozaczuk           1.4 Review and finalize moving papers and           $460.00      $644.00
                                   exhibits for motion for sanctions
                                   pursuant to Federal Rule of Civil
                                   Procedure 11.
   01/22/21 Caplan             0.3 Research and analysis regarding filing of       $550.00      $165.00
                                   Rule 11 motion.
01/22/21    Heffner            0.4 Review message from counsel for SMG;            $550.00      $220.00
                                   call with sme re demand for legal fee
                                   advancements; confer with attorney
                                   Sybert re issue relative to same
01/22/21    Heffner            0.4 Calls and e-mails with SMG counsel re           $550.00      $220.00
                                   Rule 11 motions and hearing on same
01/22/21    Sybert             0.2 reviewed questions from David on our            $575.00      $115.00
                                   Reply in support of Motion to Dismiss
   01/24/21 Kozaczuk           0.3 Revise supporting exhibits in support of        $460.00      $138.00
                                   Rule 11 sanctions for filing.
   01/25/21 Tyrell             0.2 Telephone call from Attorney Hrutkay re         $780.00      $156.00
                                   briefing schedule for sanctions motion;
                                   follow up re same.
   01/25/21 Kozaczuk           0.1 Call with counsel regarding stipulation to      $460.00       $46.00
                                   extend time to oppose motion for
                                   sanctions.
   01/25/21 Caplan             0.2 Research and analysis regarding filed           $550.00      $110.00
                                   Rule 11 motion and next steps.
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Date        Person     Hours       Description                                 Hourly rate Total Cost
01/25/21    Heffner            0.7 Review and respond to client questions           $550.00      $385.00
                                   re motion to dismiss briefing including
                                   review of respondent's brief relative to
                                   Cal. Corp. Code 317(f) analysis under
                                   Delaware decisional authority
01/25/21    Heffner            0.7 Correspond with SMG and plaintiff's             $550.00      $385.00
                                   counsel re Hrutkay request to continue
                                   Rule 11 briefing in light of accident and
                                   hospital stay; confer with attorneys
                                   Sybert and Howatt re strategy
01/25/21    Heffner            0.2 Correspond with client re motion to             $550.00      $110.00
                                   dismiss and sanctions motion
01/25/21    Sybert             0.3 correspondence from David re Rule 11            $575.00      $172.50
                                   hearing, transmitted RUle [sic] motion
                                   papers
   01/26/21 Caplan             0.2 Review and evaluate Rule 11 motion              $550.00      $110.00
                                   filed by Mikkelson
01/26/21    Heffner            0.5 Finalize and execute Rule 11 motion;            $550.00      $275.00
                                   action on filing
01/29/21    Heffner            0.2 Call with SMG's counsel re joint motion         $550.00      $110.00
                                   relative to Rule 11 briefing schedule and
                                   demand on Board for legal fee
                                   advancements
   02/01/21 Kozaczuk           0.1 Call with M. Hrutkay regarding joint            $460.00       $46.00
                                   motionto continue hearings on Rule 11
                                   motions for sanctions.
   02/02/21 Kozaczuk           0.7 Prepare and revise joint motion for             $460.00      $322.00
                                   continuance of motion for sanctions and
                                   proposed order.
   02/03/21 Kozaczuk           0.3 Review newly-published [REDACTED]               $460.00      $138.00
                                   decision regarding [REDACTED] for
                                   purposes of evaluating potential
                                   persuasive authority for pending motion
                                   to dismiss; correspondence with R.
                                   Caplan regarding the same.
   02/03/21 Caplan             0.2 Research and analysis regarding new             $550.00      $110.00
                                   caselaw concerning [REDACTED].
   02/05/21 Kozaczuk           0.4 Review correspondence from M. Hrutkay,          $460.00      $184.00
                                   revise joint stipulation and proposed
                                   order, and prepare reply correspondence
                                   to M. Hrutkay; review and reply to
                                   correspondence from defendants'
                                   counsel regarding the same.
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Date        Person     Hours       Description                               Hourly rate Total Cost
   02/05/21 Kozaczuk           0.3 Review proposed revisions to joint             $460.00      $138.00
                                   motion; interoffice correspondence and
                                   prepare response to M. Hrutkay regarding
                                   the same; provide instruction for filing.

   02/05/21 Caplan             0.2 Review and evaluate joint mouton [sic]       $550.00       $110.00
                                   regarding Rule 11 briefing.
02/05/21    Heffner            0.7 Correspond with counsel for plaintiff and    $550.00       $385.00
                                   SMG re Rule 11 briefing and joint motion
                                   relative to same; review multiple
                                   iterations; approve motion and draft
                                   response
   02/08/21 Caplan             0.2 Review and evaluate filed joint motion to    $550.00       $110.00
                                   continue Rule 11 briefing.
02/08/21    Heffner            0.3 Review correspondences between               $550.00       $165.00
                                   counsel re motion to amend Rule 11
                                   briefing schedule and filing of same
   02/16/21 Caplan             0.2 Review and evaluate order granting joint     $550.00       $110.00
                                   motion on Rule 11 briefing.
02/16/21    Heffner            0.1 Review order granting joint motion to        $550.00        $55.00
                                   amend briefing schedule for Rule 11
                                   snactions motions; action on calendar
02/16/21    Sybert             0.3 review ORDER Granting Joint Motion           $575.00       $172.50
                                   (Doc. [27]) to Continue Hearing and
                                   Briefing on Motion for Sanctions;
                                   corresponded clients re same
02/23/21    Heffner            0.3 Review status re correspondences with        $550.00       $165.00
                                   Westbrook relative to [REDACTED];
                                   confer with attorney Sybert
02/23/21    Sybert             0.5 reviewed and corresponded re status of       $575.00       $287.50
                                   [REDACTED]
   02/25/21 Caplan             0.2 Research and analysis regarding new          $550.00       $110.00
                                   caselaw addressing [REDACTED], as
                                   applicable to pending MTD briefing.
02/27/21    Sybert             0.1 followed up with Paul Tyrell re              $575.00        $57.50
                                   [REDACTED]
03/15/21    Sybert             0.5 reviewed [REDACTED]                          $575.00       $287.50
03/18/21    Sybert             0.6 reviewed and analyzed Richmond               $575.00       $345.00
                                   Opposition to Motion for Sanctions
   03/19/21 Tyrell             0.3 Review opposition papers re motion for       $780.00       $234.00
                                   sanctions.
03/19/21    Brown              0.7 Review opposition brief in preparation of    $350.00       $245.00
                                   drafting reply brief
03/19/21    Heffner            0.2 Confer re strategy for Rule 11 reply brief   $550.00       $110.00
03/21/21    Brown              1.1 Draft reply brief in support of motion for   $350.00       $385.00
                                   sanctions
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Date        Person     Hours       Description                                 Hourly rate Total Cost
   03/22/21 Belanger           0.2 Review correspondence regarding                  $685.00      $137.00
                                   responsive motions with respect to
                                   sanctions.
   03/22/21 Kozaczuk           0.2 Call with H. Heffner regarding                   $460.00       $92.00
                                   oppositions to the Rule 11 sanctions
                                   motions.
   03/22/21 Kozaczuk           0.2 Confer with P. Tyrell regarding reply brief      $460.00       $92.00
                                   in support of motion for sanctions.
   03/22/21 Kozaczuk           4.7 Analyze opposition papers filed in               $460.00   $2,162.00
                                   response to Snopes' and defendants'
                                   motions for sanctions, including
                                   supporting declarations and exhibits, and
                                   motions to file under seal; review
                                   authorities cited by plaintiff, cross-
                                   reference with authority and arguments
                                   in underlying motions, and consider
                                   appropriate arguments for reply; consider
                                   next steps re: opposition to plaintiff's
                                   request for sanctions.

03/22/21    Brown              2.1 Continue to draft reply brief in support of    $350.00       $735.00
                                   motion for sanctions and supplement
                                   with further factual analysis and
                                   comparison to state court case
03/22/21    Heffner            4.1 Review and analyze plaintiff's opposition      $550.00     $2,255.00
                                   to clients' Rule 11 motion and the
                                   opposition to Snopes's Rule 11 motion;
                                   further review of prior briefing including
                                   Rule 11 moving papers and motion to
                                   dismiss papers; outline issues
03/22/21    Heffner            0.3 Call with Snopes' counsel re Rule 11           $550.00       $165.00
                                   opposition and strategy
   03/23/21 Tyrell             0.6 Correspondence re [REDACTED]                   $780.00       $468.00
   03/23/21 Tyrell               1 Review Plaintiff's opposition to motion        $780.00       $780.00
                                   for sanctions; emails to J Kozaczuk re
                                   strategy for reply brief.
   03/23/21 Kozaczuk           2.7 Prepare reply brief re: Rule 11 motion for     $460.00     $1,242.00
                                   sanctions; analyze opposition arguments
                                   regarding [REDACTED] required under
                                   Rule 11 including [REDACTED] review
                                   case law including [REDACTED].
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Date        Person     Hours        Description                                   Hourly rate Total Cost
   03/23/21 Kozaczuk            6.5 Begin preparation of reply brief in                $460.00   $2,990.00
                                    support of sanctions motion; analyze
                                    case law [REDACTED] including analysis
                                    of [REDACTED] and related cases
                                    addressing [REDACTED] analysis; review
                                    legal authority [REDACTED] and
                                    additional legal theories [REDACTED],
                                    and prepare discussion regarding the
                                    same in reply brief.
03/23/21    Brown               0.4 Supplement reply brief in support of              $350.00      $140.00
                                    motion for sanctions with further legal
                                    authority
03/23/21    Heffner             3.8 Review draft Rule 11 reply brief and cited        $550.00    $2,090.00
                                    authorities; identify issues for further
                                    research and development and confer
                                    with attorney Brown re same; continue
                                    drafting
   03/24/21 Kozaczuk            0.6 Call with H. Heffner regarding opposition         $460.00      $276.00
                                    papers and reply briefs for pending
                                    motions for Rule 11 sanctions.
   03/24/21 Kozaczuk           10.4 Continue preparation of reply to                  $460.00    $4,784.00
                                    plaintiff's opposition to sanctions motion;
                                    analyze [REDACTED] including federal
                                    cases addressing the same for purposes
                                    of rebutting plaintiff's arguments
                                    [REDACTED]; prepare discussion
                                    addressing [REDACTED], including
                                    discussion regarding [REDACTED]; review
                                    authority addressing plaintiff's argument
                                    re: [REDACTED].


03/24/21    Brown               0.5 Conduct legal research on demurrers and           $350.00      $175.00
                                    motions to dismiss by nominal parties,
                                    and analyze as compared to this case

03/24/21    Heffner             5.6 Continue analysis and drafting of Rule 11         $550.00    $3,080.00
                                    reply brief
03/24/21    Heffner             0.3 Develop strategy for objections to                $550.00      $165.00
                                    evidence; confer with attorney Brown re
                                    same
03/24/21    Heffner             0.7 Calls with counsel for Snopes re Rule 11          $550.00      $385.00
                                    briefing
   03/25/21 Tyrell              1.2 Review and revise Reply in support of             $780.00      $936.00
                                    Rule 11 motion; telephone conference
                                    with J Kozaczuk re same.
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Date        Person     Hours       Description                               Hourly rate Total Cost
   03/25/21 Kozaczuk           0.2 Call with H. Heffner re: arguments raised      $460.00       $92.00
                                   in plaintiff's opposition papers to the
                                   Rule 11 motions.
   03/25/21 Kozaczuk           0.4 Call with H. Heffner regarding legal           $460.00      $184.00
                                   authority relevant to reply briefs and
                                   evidence submitted in opposition to the
                                   Rule 11 motions
   03/25/21 Kozaczuk           7.9 Further preparation of reply brief re: Rule   $460.00    $3,634.00
                                   11 sanctions; prepare discussion
                                   regarding timing and appropriateness of
                                   motion with reference to supporting
                                   authority; consider [REDACTED]
                                   submitted in opposition to sanctions
                                   motions; review of file regarding
                                   evidence [REDACTED]; prepare discussoin
                                   regarding Snopes right to challenge
                                   derivative claims and discussion
                                   analyzing and applying objective standard
                                   for assessing frivolous filing and claims
                                   filed for an improper purposes.


   03/25/21 Kozaczuk           3.4 Revise and finalize reply brief in support    $460.00    $1,564.00
                                   of motion for Rule 11 sanctions against
                                   plaintiff and his counsel.
03/25/21    Brown              1.6 Conduct legal research on a draft             $350.00      $560.00
                                   objections to new evidence raised by
                                   plaintiff in opposition
03/25/21    Brown              1.1 Respond to Plaintiff's arguments under        $350.00      $385.00
                                   Rule 23.1 in reply brief and conduct legal
                                   research re: same
03/25/21    Heffner            0.7 Further strategy calls with Snopes's          $550.00      $385.00
                                   counsel
03/25/21    Heffner            0.2 Review tentative ruling on demurrer to        $550.00      $110.00
                                   Dunn's lawsuit relative to Richmond
                                   matter; confer with attorney Sybert re
                                   same
03/25/21    Heffner            4.1 Review draft objections to evidence;          $550.00    $2,255.00
                                   analyze, including review of Hrutkay,
                                   Tencer, and Richmond declarations,
                                   exhibits thereto, request for judicial
                                   notice, and motion to seal; further draft
                                   objections and augment reply brief to
                                   reflect same
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Date        Person     Hours         Description                               Hourly rate Total Cost
03/25/21    Heffner              2.9 Further develop Rule 11 briefing strategy      $550.00   $1,595.00
                                     including conference with attorney
                                     Sybert; review revisions and comments
                                     from same and continue drafting

03/25/21    Sybert               0.7 reviewed and revised draft Reply in         $575.00       $402.50
                                     support of sanctions motion
   03/26/21 Kozaczuk             0.3 Review defendants' objections and reply     $460.00       $138.00
                                     briefs in support of Rule 11 sanctions.
04/21/21    Sybert               0.2 [REDACTED]                                  $575.00       $115.00
04/22/21    Heffner              0.2 Status and strategy with attorneys Sybert   $550.00       $110.00
                                     and Howatt re [REDACTED]
04/26/21    Heffner              0.2 Review status; client update including      $550.00       $110.00
                                     Rule 11 sanctions briefing
0/12/21     Kozaczuk             0.4 Call with counsel to discuss opposition     $460.00       $184.00
                                     papers and plaintiff's anticipated ex
                                     parte application.
TOTALS                         532.4                                                       $251,346.50
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                          EXHIBIT 5
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                                           William C. Belanger, Partner
                                           Practice Areas        Capital Markets and Securities
                                                                 Intellectual Property
                                                                 Licensing and Technology Transactions
                                                                 Mergers & Acquisitions and Strategic Joint
                                                                 Ventures

                                           Admissions            California

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                                           Direct Phone          619.515.3245
                                           Direct Fax            619.744.5445
                                           Email                 bill.belanger@procopio.com


   Professional Summary

   William C. Belanger represents both private and publicly held companies in acquisitions and divestitures
   and a wide range of technology transactions. William’s practice focuses on mergers and acquisitions,
   technology and intellectual property licensing, and general corporate, securities and commercial matters.
   He has extensive experience in international and high-technology transactions including within the e-
   commerce, software, semiconductor, telecommunications, battery, manufacturing, supply, distribution,
   and sports equipment industries. William is also co-chair of Procopio’s Licensing Practice Group and has
   extensive knowledge of the legal and business issues inherent in licensing transactions.

   Representative Matters

          Represented NASDAQ-listed corporation in sale of semiconductor test interface board business
          and related assets to affiliate of Chinese publicly-traded corporation involving offices in the U.S.,
          United Kingdom, Germany, China, Singapore, Malaysia and Philippines.

          Negotiation and preparation of Software License Agreement between wireless embedded software
          technology company and publicly-traded multinational software technology corporation.

          Represented private health care company in acquisition of health care technology assets from
          NYSE-listed corporation.
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        Represented private automated test equipment technology company operating in semiconductor
        industry in sale to private acquirer backed by global investment firm, involving offices in the U.S.,
        United Kingdom, Malta, Italy, France, Germany, Singapore, Taiwan, Philippines, Malaysia and
        Thailand.

        Represented private health care anti-fraud, waste and abuse software company in merger with
        NYSE-listed corporation.

        Represented private biomechanical software modeling company in merger with NYSE-listed
        corporation.

        Represented public Singapore company in connection with its acquisition of target public company
        international assets, including intellectual property assets, out of bankruptcy.

        Represented private technology company in sale and partnering venture with public investment
        bank, involving offices in the U.S., United Kingdom, Singapore, Malaysia and Thailand.

        Represented private smart battery software company in merger with NASDAQ-listed corporation.

        Represented public Singapore company in its acquisition of tangible and intellectual property
        assets, including numerous international patents and trademarks, from public Delaware
        corporation.

        Represented Canadian software company in its acquisition of intellectual property assets, including
        software, copyrights and international trademarks, from California corporation and New Zealand
        corporation.

        Represented public company in numerous stock and asset acquisitions.

        Represented public and private companies in numerous licensing and commercial transactions.

        Assisted privately-held medical corporation with merger into NYSE-listed corporation.

        Negotiation and preparation of Technology License Agreement for high-tech OEM in connection with
        acquisition and license-back of patented computerized technology within specified rebreather fields
        of use.

        Negotiation and preparation of Software License Agreement for legislative software technology
        company for use with legislative branches and regulatory agencies of government.

        Preparation of Exclusive Patent License Agreement for high-tech OEM in connection with the
        worldwide production and sale of co-marketed products within sports industry.
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        Negotiation and preparation of Mutual OEM International Supply and Licensing Agreement between
        multinational corporations.

        Preparation of numerous agreements for website development, terms of use, access, privacy
        policies, services, licensing and electronic commerce.


   Recognitions

        Martindale-Hubbell® AV Preeminent Rating

        “Top Lawyers,” San Diego Magazine, 2014-present

        AmLaw Top Rated Lawyer in Intellectual Property Law, 2018

        2018 Corporate/Strategic Deal of the Year winner, M&A Advisor Award




   Community

        6 Degrees Elite – Member

        University Club – Member


   Education

        MBA, California Polytechnic State University, San Luis Obispo, ranked number one in his class,
        1999

        JD, Loyola Law School Los Angeles, magna cum laude, 1993

        BS (Business Administration), California Polytechnic State University, San Luis Obispo, summa
        cum laude, 1988


   News Coverage

        Dan Heching, Gina Kim and Melanie Brisbon. “Exactech acquires XpandOrtho, with help from
        Procopio,” San Diego Daily Transcript, March 19, 2019.
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   Seminars

        Webinar co-presenter. "How To Negotiate A License," September 16, 2020.
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                          EXHIBIT 6
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Date        Person     Hours       Description                               Hourly rate Total Cost
   09/28/20 Belanger           1.3 Attention to new federal court complaint       $670.00      $871.00
                                   and review of realted internal legal team
                                   correspondence regarding same; analyze
                                   and respond to [REDACTED] related to
                                   same
   10/05/20 Belanger           1.2 Attend all-hands call regarding new          $670.00       $804.00
                                   federal action, response to same;
                                   correspondence with Mr. Tyrell regarding
                                   [REDACTED]; review and analyze same

   12/17/20 Belanger           1.9 Review Richmond Complaint and Motion         $670.00     $1,273.00
                                   to Dismiss.
   12/23/20 Belanger           0.6 Review litigation status correspondence.     $670.00       $402.00

   01/04/21 Belanger           0.9 Review summary of federal litigation         $685.00       $616.50
                                   matters, correspondence from Mr. Tyrell
                                   regarding same; review draft Rule 11
                                   motion for sanctions regarding same.

   01/06/21 Belanger           0.4 Review correspondence regarding motion       $685.00       $274.00
                                   for sanctions.
   01/13/21 Belanger           0.5 Brief review of opposition to Motion to      $685.00       $342.50
                                   Dismiss and related correspondnce.
   01/14/21 Belanger           0.3 Telephone conference with Mr. Kozaczuk       $685.00       $205.50
                                   regarding status of pending litigation
                                   matters, motion to stay action.

   01/22/21 Belanger           0.3 Brief review of replies in furtherance of    $685.00       $205.50
                                   Motion to Dismiss.
   03/22/21 Belanger           0.2 Review correspondence regarding              $685.00       $137.00
                                   responsive motions with respect to
                                   sanctions.
TOTALS                         7.6                                                          $5,131.00
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                          EXHIBIT 7
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Date        Person   Hours       Description                              Hourly rate Total Cost
   09/28/20 Caplan           0.3 Continue research and analysis regarding      $525.00      $157.50
                                 new federal action filed by Richmond,
                                 implications of the same, and next steps

   11/02/20 Caplan             1 Research and analysis regarding             $525.00       $525.00
                                 response to Richmond action.
   11/04/20 Caplan           0.3 Prepare acknowledgement of receipt of       $525.00       $157.50
                                 complaint/summons on behalf of
                                 Snopes.
   11/05/20 Caplan           0.5 Research and analysis regarding case        $525.00       $262.50
                                 status and next steps.
   11/05/20 Caplan             1 Research and analysis regarding             $525.00       $525.00
                                 challenges to lawsuit and next steps.
   11/10/20 Caplan           0.3 Research and analysis regarding             $525.00       $157.50
                                 response to complaint; confer with J.
                                 Kozaczuk regarding the same.
   11/11/20 Caplan           1.4 Continue research and analysis regarding    $525.00       $735.00
                                 pleading challenges to complaint; confer
                                 with J. Kozaczuk regarding the same.

   11/17/20 Caplan           0.8 Continue research and analysis regarding    $525.00       $420.00
                                 status of lawsuits, upcoming pleadings,
                                 and next steps.
   11/30/20 Caplan           0.7 Research and analysis regarding             $525.00       $367.50
                                 potential [REDACTED] Richmond
                                 complaint; confer with J. Kozaczuk
                                 regarding the same.
   12/02/20 Caplan           0.2 Review and evaluate verified first          $525.00       $105.00
                                 amended complaint.
   12/03/20 Caplan           0.2 Research and analysis regarding             $525.00       $105.00
                                 response to amended complaint.
   12/09/20 Caplan           0.3 Research and analysis regarding             $525.00       $157.50
                                 response to Richmond complaint.
   12/15/20 Caplan           3.2 Assist with preparation of motion to        $525.00     $1,680.00
                                 dismiss First Amended Complaint.
   12/16/20 Caplan           0.4 Continue assisting with motion to           $525.00       $210.00
                                 dismiss.
   12/17/20 Caplan           0.3 Review and evaluate motions to dismiss;     $525.00       $157.50
                                 prepare notices of appearance.
   12/18/20 Caplan           0.2 Research ana analysis regarding possible    $525.00       $105.00
                                 Rule 11 motion.
   12/29/20 Caplan           0.5 Research and analysis regarding Rule 11     $525.00       $262.50
                                 motion.
   12/30/20 Caplan           0.3 Continue research and analysis regarding    $525.00       $157.50
                                 Rule 11 motion.
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Date        Person   Hours       Description                              Hourly rate Total Cost
   01/01/21 Caplan           3.7 Continue preparing Rule 11 motion;            $550.00   $2,035.00
                                 continue research and analysis regarding
                                 the same.
   01/12/21 Caplan           0.7 Research and analysis regarding               $550.00      $385.00
                                 plaintiffs' opposition to motions to
                                 dismiss, proposed extension request,
                                 response to Rule 11 motion, and next
                                 steps.
   01/13/21 Caplan           0.1 Review and evaluate ex parte application    $550.00        $55.00
                                 from Richmond requesting briefing
                                 extension.
   01/15/21 Caplan           0.2 Review and evaluate court order on MTD      $550.00       $110.00
                                 briefing.
   01/19/21 Caplan           0.7 Research and analysis regarding reply       $550.00       $385.00
                                 brief in support of motion to dismiss;
                                 confer with J. Kozaczuk regarding the
                                 same.
   01/22/21 Caplan           0.3 Research and analysis regarding filing of   $550.00       $165.00
                                 Rule 11 motion.
   01/25/21 Caplan           0.2 Research and analysis regarding filed       $550.00       $110.00
                                 Rule 11 motion and next steps.
   01/26/21 Caplan           0.2 Review and evaluate Rule 11 motion          $550.00       $110.00
                                 filed by Mikkelson
   02/03/21 Caplan           0.2 Research and analysis regarding new         $550.00       $110.00
                                 caselaw concerning [REDACTED].
   02/05/21 Caplan           0.2 Review and evaluate joint mouton [sic]      $550.00       $110.00
                                 regarding Rule 11 briefing.
   02/08/21 Caplan           0.2 Review and evaluate filed joint motion to   $550.00       $110.00
                                 continue Rule 11 briefing.
   02/16/21 Caplan           0.2 Review and evaluate order granting joint    $550.00       $110.00
                                 motion on Rule 11 briefing.
   02/25/21 Caplan           0.2 Research and analysis regarding new         $550.00       $110.00
                                 caselaw addressing [REDACTED], as
                                 applicable to pending MTD briefing.
TOTALS                        19                                                        $10,152.50
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                          EXHIBIT 8
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Date        Person        Hours       Description                               Hourly rate Total Cost
   10/26/20 Alcantara             1.6 Confer with J. Kozaczuk regarding key          $300.00      $480.00
            (paralegal)               documents and progress regarding case
                                      going forward; prepare documents in
                                      regard to same; update to chronology in
                                      regard to Richmond Answer.
   12/09/20 Alcantara             0.8 Update case chronology.                       $300.00      $240.00
            (paralegal)
   12/16/20 Alcantara             0.5 Review and analysis of new case               $300.00      $150.00
            (paralegal)               developments; update to chronology in
                                      regard to same.
   12/17/20 Alcantara             0.3 Review of motion to dismiss and case          $300.00       $90.00
            (paralegal)               status in regard to same.
TOTALS                            3.2                                                            $960.00
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                          EXHIBIT 9
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Date       Person   Hours       Description                                 Hourly rate    Total Cost
10/03/20   Sybert           0.2 corresponded David re [REDACTED]                 $575.00         $115.00
10/05/20   Sybert           0.8 prep and conference call with Snopes             $575.00         $460.00
                                counsel re deadling with new Chris
                                Richmond federal suit
10/05/20   Sybert           0.5 corresponded David re [REDACTED]                 $575.00         $287.50
                                followed up re same
10/05/20   Sybert           0.6 corresponded Richmond counsel re                 $575.00         $345.00
                                acceptance of Waiver of Service,
                                reviewed and revised same
10/05/20   Sybert           0.4 corresponded ProCopio re [REDACTED]              $575.00         $230.00
                                reviewed same
10/05/20   Sybert           0.2 corresponded Tyrell re [REDACTED]                $575.00         $115.00
10/07/20   Sybert           0.3 conferred re Westbrook, reviewed                 $575.00         $172.50
                                [REDACTED]
10/07/20   Sybert           0.2 corresponded David re [REDACTED]                 $575.00         $115.00
10/08/20   Sybert           0.3 correspond, phone Brad Westbrook re              $575.00         $172.50
                                representation in new Chris Richmond
                                suit
10/09/20   Sybert           0.4 corresponded David with analysis of              $575.00         $230.00
                                grounds of oppositiont o new Chris
                                Richmond federal suit
10/16/20   Sybert           0.2 conferred with Bill Belanger re                  $575.00         $115.00
                                [REDACTED]
10/26/20   Sybert           0.2 conferred, corresponded Belanger, David          $575.00         $115.00
                                re [REDACTED]
10/27/20   Sybert           0.3 corresponded Westbrook, David,                   $575.00         $172.50
                                Belanger re representation in new suit
11/03/20   Sybert           0.1 reviewed response date to complaint              $575.00          $57.50
11/19/20   Sybert           0.3 corresponded plaintiff's counsel re              $575.00         $172.50
                                service, response date for Westbrook
11/22/20   Sybert           0.2 reviewed and conferred re conflicts              $575.00         $115.00
                                waiver for Brad Westbrook
11/23/20   Sybert           0.2 reviewed and corresponded David re               $575.00         $115.00
                                filing a challenge based on [REDACTED]
11/24/20   Sybert           0.3 reviewed and conferred re representation         $575.00         $172.50
                                of Westbrook, stipulation with opposing
                                counsel re response

11/24/20   Sybert           0.4 reviewed application of [REDACTED]               $575.00         $230.00
                                doctrine to Richmond complaint,
                                corresponded Paul Tyrell re same
11/25/20   Sybert           0.3 reviewed and conferred, corresponded             $575.00         $172.50
                                Bill Belanger, re corporate
                                reimbursement of Westbrook
11/29/20   Sybert           0.5 reviewed notes on first draft response to        $575.00         $287.50
                                new Richmond complaint
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Date       Person   Hours       Description                                 Hourly rate    Total Cost
11/30/20   Sybert           0.2 correspond Hrutkay re stipulation for            $575.00         $115.00
                                unified response date to verified
                                amended complaint
12/02/20   Sybert           0.7 reviewed Verified First Amended                  $575.00         $402.50
                                Complaint, corresponded David re
                                [REDACTED]
12/02/20   Sybert           1.1 reviewed first draft motion to dismiss           $575.00         $632.50
                                complaint
12/02/20   Sybert           0.4 reviewed corresponded Richmond                   $575.00         $230.00
                                counsel re application of Rule 15 to bar
                                stipulation, necessity to revise response
                                date, directed re preparation of
                                necessary court papers
12/03/20   Sybert           0.2 Corresponded Matt Hrutkay re Rule 15,            $575.00         $115.00
                                electronic service
12/03/20   Sybert           0.4 reviewed and conferred re any derivative         $575.00         $230.00
                                nature of surviving claims, reviewed
                                correspondence re same
12/09/20   Sybert           0.2 reviewed certificate of service of the           $575.00         $115.00
                                Verified First Amended Complaint
12/15/20   Sybert           0.3 corresponded Westbrook, Procopio re              $575.00         $172.50
                                SMG payment of Westbrook fees
12/15/20   Sybert           2.2 reviewed documents for Request for               $575.00       $1,265.00
                                Judicial Notice in connection with motion
                                to dismiss Complaint: ROA summary;
                                TAC; two anti-SLAPP motions (notice &
                                MPA) + two oppositions MPA + two
                                replies + two court's minute orders; two
                                demurrers (notice & MPA) + two
                                oppositions MPA + two replies + two
                                notice of ruling
12/15/20   Sybert           0.3 finalized, corresponded with Messrs.             $575.00         $172.50
                                Mikkelson and Westbrook re conflicts
                                waivers
12/16/20   Sybert           2.7 revised and edited draft motion for              $575.00       $1,552.50
                                dismissal based, inter alia, on res
                                judicata
12/17/20   Sybert           0.3 multiple correspondence with David re            $575.00         $172.50
                                [REDACTED] and arguments if Complaint
                                survives pleading stage
12/22/20   Sybert           0.5 [REDACTED] corresponded David re same            $575.00         $287.50

12/22/20   Sybert           0.2 corresponded David re [REDACTED]                 $575.00         $115.00
12/23/20   Sybert           1.4 further review and analysis of                   $575.00         $805.00
                                [REDACTED], correspond David re same
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Date       Person   Hours       Description                                 Hourly rate    Total Cost
01/01/21   Sybert           0.6 reviewed Snopes Media Group Inc.'s               $575.00         $345.00
                                motion for an order imposing sanctions
                                against Plaintiff Christopher Richmond
                                and his counsel, Matthew Hrutkay and
                                Hrutkay Law PC, pursuant to Federal Rule
                                of Civil Procedure 11, and supporting
                                papers
01/04/21   Sybert           0.1 correspond David re Hrutkay new filing           $575.00          $57.50
01/05/21   Sybert           0.8 reviewed and corresponded clients re             $575.00         $460.00
                                Rule 11 sanctions motion against
                                Plaintiff and his counsel
01/06/21   Sybert           0.2 corresponded David re interplay between          $575.00         $115.00
                                Rule 11 motion and motion to dismiss

01/07/21   Sybert           0.4 conferred with corporate counsel re              $575.00         $230.00
                                [REDACTED] for Messrs. Mikkelson and
                                Westbrook
01/12/21   Sybert           0.5 reviewed Richmond "Omnibus                       $575.00         $287.50
                                Objections" to our Request for Judicial
                                Notice
01/12/21   Sybert           1.5 reviewed and analyzed Richmond's                 $575.00         $862.50
                                Opposition to the pending motions to
                                dismiss his federal action, corresponded
                                clients re same
01/19/21   Sybert           0.2 corresponded Brad Westbrook re                   $575.00         $115.00
                                [REDACTED] corresponded David and
                                Brad re reply, including our responses on
                                their objections to judicial notice, in
                                support of our motion to dismiss
                                Richmond's federal suit
01/19/21   Sybert           0.5 final review Reply in Support of Motion          $575.00         $287.50
                                to Dismiss
01/19/21   Sybert           0.3 final revisions to Defendant's Reply to          $575.00         $172.50
                                Oppo to Request for Judicial Notice in
                                support of Motion to Dismiss
01/20/21   Sybert           0.2 corresponded David re Richmond claim             $575.00         $115.00
01/21/21   Sybert           0.4 reviewed draft correspondence to Snopes          $575.00         $230.00
                                re defense of Richmond suit against
                                Mikkelson and Westbrook
01/22/21   Sybert           0.2 reviewed questions from David on our             $575.00         $115.00
                                Reply in support of Motion to Dismiss
01/25/21   Sybert           0.3 correspondence from David re Rule 11             $575.00         $172.50
                                hearing, transmitted RUle [sic] motion
                                papers
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Date       Person   Hours        Description                              Hourly rate    Total Cost
02/16/21   Sybert            0.3 review ORDER Granting Joint Motion            $575.00         $172.50
                                 (Doc. [27]) to Continue Hearing and
                                 Briefing on Motion for Sanctions;
                                 corresponded clients re same
02/23/21   Sybert            0.5 reviewed and corresponded re status of        $575.00         $287.50
                                 [REDACTED]
02/27/21   Sybert            0.1 followed up with Paul Tyrell re               $575.00          $57.50
                                 [REDACTED]
03/15/21   Sybert            0.5 reviewed [REDACTED]                           $575.00         $287.50
03/18/21   Sybert            0.6 reviewed and analyzed Richmond                $575.00         $345.00
                                 Opposition to Motion for Sanctions
03/25/21   Sybert            0.7 reviewed and revised draft Reply in           $575.00         $402.50
                                 support of sanctions motion
04/21/21   Sybert            0.2 [REDACTED]                                    $575.00        $115.00
TOTALS                      27.1                                                           $15,582.50
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                         EXHIBIT 10
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Date        Person   Hours       Description                               Hourly rate Total Cost
   09/25/20 Tyrell           0.2 Review notice of new federal court             $745.00      $149.00
                                 action filed by Richmond today; emails to
                                 Mr. Mikkelson and team re same
   09/27/20 Tyrell           1.4 Review and analysis of new action filed        $745.00   $1,043.00
                                 by Richmond; legal research regarding
                                 defenses to be raised by Snopes Media
                                 Group; correspondence re new actoin
   09/28/20 Tyrell           0.6 Correspondence re new federal case filed     $745.00       $447.00
                                 by Richmond, [REDACTED] and related
                                 issues
   09/28/20 Tyrell           0.3 Telephone conference with J Kozaczuk re      $745.00       $223.50
                                 research regarding newly filed federal
                                 court action and strategy for motion to
                                 dismiss
   10/05/20 Tyrell           0.8 Strategy call re new actions; follow up      $745.00       $596.00
                                 with W Belanger re same
   10/23/20 Tyrell           0.2 Follow up re timing of response to new       $745.00       $149.00
                                 action
   10/30/20 Tyrell           0.3 Telephone call with J Kozaczuk regarding     $745.00       $223.50
                                 motion to dismiss and possible Rule 11
                                 motion.
   11/16/20 Tyrell           1.1 Review research and upates re motion to      $745.00       $819.50
                                 dismiss, motion to stay, and Rule 11
                                 motion; draft [REDACTED]; follow up
                                 with team re motions.
   11/03/20 Tyrell           0.9 Telephone call with J. Kozaczuk regarding    $745.00       $670.50
                                 arguments and strategy for motion to
                                 dismiss and possible motion to stay.

   11/06/20 Tyrell           0.2 Review research notes re motions to          $745.00       $149.00
                                 dismiss; preliminary draft of litigation
                                 update.
   11/11/20 Tyrell           0.4 Telephone conference with J Kozaczuk re      $745.00       $298.00
                                 new argument for motion to dismiss
                                 based on lack of verification.
   11/17/20 Tyrell           0.8 Telephone conference with R Caplan and       $745.00       $596.00
                                 J Kozaczuk re motions to dismiss; review
                                 legal research regarding same.
   11/19/20 Tyrell           0.4 Telephone conference with J Kozaczuk re      $745.00       $298.00
                                 motion to dismiss and strategy;
                                 correspondence with counsel re same
   11/30/20 Tyrell           0.2 Review correspondence regarding              $745.00       $149.00
                                 anticipated amended complaint;
                                 [REDACTED].
   12/02/20 Tyrell           0.3 Preliminary review of verified cross-        $745.00       $223.50
                                 complaint; correspondence re same.
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Date        Person   Hours        Description                              Hourly rate Total Cost
   12/03/20 Tyrell            0.2 Correspondence re acceptance of service;      $745.00      $149.00
                                  follow up re timing for filing motion to
                                  dismiss.
   12/15/20 Tyrell            0.7 Review and provide preliminary                $745.00      $521.50
                                  comments on motion to dismiss.
   12/16/20 Tyrell            3.3 Review draft memorandum of points and         $745.00   $2,458.50
                                  authorities in support of Snopes Media
                                  Group's motion to dismiss; telephone
                                  conferrences with J Kozaczuk re
                                  arguments and moving papers; legal
                                  research regarding [REDACTED] and
                                  other issues; revise moving papers.
   12/17/20 Tyrell            0.8 Correspondence and telephone                $745.00       $596.00
                                  conference with J Kozaczuk re Motion to
                                  Dismiss Richmond Federal Action
   01/06/21 Tyrell            0.3 Review motion for sanctions filed by        $780.00       $234.00
                                  individual defendants.
   01/07/21 Tyrell            0.1 Telephone call with defense counsel.        $780.00        $78.00
   01/07/21 Tyrell            0.2 Review motions filed by individual          $780.00       $156.00
                                  defendants.
   01/12/21 Tyrell            0.6 Review and comment on Richmond's            $780.00       $468.00
                                  opposition to motion to dismiss.
   01/19/21 Tyrell            1.6 Review and revise reply in support of       $780.00     $1,248.00
                                  motion to dismiss; review reply in
                                  support of Mikkelson motion; follow up
                                  with J Kozaczuk re suggestions for
                                  particular arguments.
   01/25/21 Tyrell            0.2 Telephone call from Attorney Hrutkay re     $780.00       $156.00
                                  briefing schedule for sanctions motion;
                                  follow up re same.
   03/19/21 Tyrell            0.3 Review opposition papers re motion for      $780.00       $234.00
                                  sanctions.
   03/23/21 Tyrell            0.6 Correspondence re [REDACTED]                $780.00       $468.00
   03/23/21 Tyrell              1 Review Plaintiff's opposition to motion     $780.00       $780.00
                                  for sanctions; emails to J Kozaczuk re
                                  strategy for reply brief.
   03/25/21 Tyrell            1.2 Review and revise Reply in support of       $780.00       $936.00
                                  Rule 11 motion; telephone conference
                                  with J Kozaczuk re same.
TOTALS                       19.2                                                        $14,517.50
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Date        Person     Hours       Description                                 Hourly rate Total Cost
   09/28/20 Kozaczuk           0.2 Confer with P. Tyrell regarding C.               $425.00       $85.00
                                   Richmond's federal complaint, including
                                   issues related to [REDACTED]
   09/28/20 Kozaczuk           5.2 Initial analysis of federal complaint filed      $425.00   $2,210.00
                                   by C. Richmond; cross-reference with file
                                   and consider potential pleading
                                   challenges; analysis of case law relating
                                   to [REDACTED] causes of action,
                                   including applicable [REDACTED] for
                                   claims in federal court and recent
                                   California and Delaware cases addressing
                                   [REDACTED]; analyze [REDACTED]
                                   prepare memorandum regarding case
                                   law reelevant to motion to dismiss on
                                   grounds of [REDACTED], including
                                   analysis of [REDACTED].

   10/05/20 Kozaczuk           1.4 Review federal complaint filed by C.           $425.00       $595.00
                                   Richmond, consider pleading challenges
                                   to plaintiff's claims, and confer with R.
                                   Caplan regarding the same; analysis of
                                   [REDACTED]; review legal authority
                                   addressing consideration of [REDACTED]
                                   in connection with anticipated motion to
                                   dismiss
   10/23/20 Kozaczuk           0.4 Review of file regarding [REDACTED] in         $425.00       $170.00
                                   preparation for motion to dismiss federal
                                   claims, including Snopes' [REDACTED]

   10/26/20 Kozaczuk           2.5 Evaluate potential Rule 11 motion for          $425.00     $1,062.50
                                   sanctions in federal action, including
                                   review of file and analyze pertinent legal
                                   authority; analyze [REDACTED] and
                                   related cases addressing propriety of
                                   Rule 11 sanctions where claims are
                                   [REDACTED]
   10/27/20 Kozaczuk           1.8 Analysis of case law regarding standards       $425.00       $765.00
                                   for Rule 11 motions and the [REDACTED],
                                   including analysis of [REDACTED], and
                                   related cases; prepare memorandum
                                   regarding pertinent legal authority for
                                   potential Rule 11 sanctions motion in the
                                   federal action.
   10/27/20 Kozaczuk           0.2 Confer with R. Caplan regarding potential      $425.00        $85.00
                                   Rule 11 motion for sanctions in the
                                   federal action.
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Date        Person     Hours       Description                                 Hourly rate Total Cost
   10/30/20 Kozaczuk           6.7 Begin preparation of motion to dismiss C.        $425.00   $2,847.50
                                   Richmond's federal complaint; review of
                                   file including prior pleadings, claims, and
                                   allegations asserted by plaintiffs in state
                                   court action for purposes of preparing
                                   same.
   10/30/20 Kozaczuk           0.4 Review docket for federal action and          $425.00       $170.00
                                   consider next steps (.2); confer with P.
                                   Tyrell regarding federal action, including
                                   Rule 11 motion for sanctions and
                                   [REDACTED] (.2).
   10/30/20 Kozaczuk             1 Prepare memorandum regarding relevant         $425.00       $425.00
                                   case law for seeking Rule 11 sanctions in
                                   federal action in preparation for Rule 11
                                   motion.
   10/31/20 Kozaczuk           4.2 Analyze whether Richmond's federal            $425.00     $1,785.00
                                   claims are barred by the [REDACTED] for
                                   purposes of client's motion to dismiss C.
                                   Richmond's federal complaint including
                                   review of [REDACTED], and cases
                                   addressing claims [REDACTED]; analyze
                                   [REDACTED], and their progeny regarding
                                   application of [REDACTED] and related
                                   cases addressing the [REDACTED];
                                   prepare memorandum regarding
                                   pertinent case law and application to C.
                                   Richmond's claims.


   11/03/20 Kozaczuk           7.3 Alanyze case law regarding [REDACTED]         $425.00     $3,102.50
                                   for purposes of seeking dismissal of the
                                   federal action under Rule 12(b)(1) and
                                   prepare memorandum analyzing
                                   application of [REDACTED] to plaintiff's
                                   federal causes of action; review recent
                                   decisions including [REDACTED] and
                                   evaluate whether [REDACTED] analyze
                                   civil actions implicating [REDACTED].
   11/03/20 Kozaczuk           3.2 Continue preparation of motion to stay        $425.00     $1,360.00
                                   federal procexeding, including discussion
                                   regarding claims, pleadings, and
                                   adjudicated issues in state court action
                                   and related judicial findings; review of
                                   file in connection with same
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Date        Person     Hours       Description                                Hourly rate Total Cost
   11/04/20 Kozaczuk           1.6 Continue preparation of memorandum              $425.00      $680.00
                                   analyzing key issues for seeking stay or
                                   dismissal under [REDACTED] and review
                                   of file in connection with same.
   11/04/20 Kozaczuk           8.2 Prepare motion to dismiss derivative           $425.00     $3,485.00
                                   shareholder claims pursuant to Rule
                                   12(b)(6) and Rule 23.1; continue
                                   preparation of memorandum analyzing
                                   pertinent legal authority for motion to
                                   dismiss; analysis of case law regarding
                                   [REDACTED] applicable to Richmond's
                                   shareholder derivative claims; review
                                   federal cases addressing [REDACTED]
   11/11/20 Kozaczuk           0.6 Evaluate [REDACTED] with respect to            $425.00      $255.00
                                   shareholder derivative claims for
                                   purposes of [REDACTED]; review legal
                                   authority regarding same, including
                                   [REDACTED].
   11/01/20 Kozaczuk           5.3 Extensive analysis of Ninth Circuit            $425.00     $2,252.50
                                   jurisprudence regading application of
                                   [REDACTED] for purposes of Snopes'
                                   motion to dismiss the federal complaint,
                                   including [REDACTED], and other
                                   decisions analyzing [REDACTED]; begin
                                   preparation of Snopes' motion to dismiss
                                   the federal complaint.
   11/02/20 Kozaczuk            6 Prepare motion to stay federal action           $425.00     $2,550.00
                                  pending adjudication of state action and
                                  continue preparation of Rule 12(b)(6)
                                  motion to dismiss; review legal authority
                                  regarding [REDACTED], including
                                  [REDACTED] and subsequent cases.
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Date        Person     Hours       Description                             Hourly rate Total Cost
   11/02/20 Kozaczuk           4.8 Analysis of case law and state and           $425.00   $2,040.00
                                   federal pleadings for purposes of
                                   evaluating [REDACTED]; analyze
                                   [REDACTED] and its progeny regarding
                                   [REDACTED]; review case law including
                                   [REDACTED] addressoing applicable legal
                                   standards for challenging [REDACTED];
                                   analyze [REDACTED] and other cases
                                   regarding [REDACTED] for purposes of
                                   evaluating dismissal [REDACTED];
                                   prepare memorandum analyzing legal
                                   authority relevant to dismissal of
                                   Richmond's claims on grounds of
                                   [REDACTED]; confer with R. Caplan
                                   regarding the same.

   11/05/20 Kozaczuk           0.4 Confer with R. Caplan regarding seeking      $425.00    $170.00
                                   stay or dismissal under [REDACTED]
   11/05/20 Kozaczuk           5.9 Evaluate dismissal of Richmond's claims      $425.00   $2,507.50
                                   under [REDACTED] extensive review of
                                   federal cases applying the [REDACTED]
                                   and decisions addressing the
                                   [REDACTED]; prepare memorandum
                                   analyzing pertinent case law [REDACTED]
                                   dismissal of C. Richmond's federal claims
                                   under [REDACTED].
   11/06/20 Kozaczuk           1.4 Review case law regarding application of     $425.00    $595.00
                                   the [REDACTED], and other district court
                                   decisions applying [REDACTED] and
                                   addressing persuasive holdings of other
                                   circuits; prepare discussion regarding
                                   pertinent legal authority in memorandum
                                   [REDACTED].
   11/09/20 Kozaczuk           4.7 Analyze case law addressing stay or          $425.00   $1,997.50
                                   dismissal [REDACTED], and cases
                                   addressing [REDACTED]; prepare
                                   discussion in memorandum applying
                                   pertinent case law to claims at bar in the
                                   federal action and consider next steps re:
                                   pleading challenges.
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Date        Person     Hours      Description                               Hourly rate Total Cost
   11/10/20 Kozaczuk            5 Analysis of pertinent case law regarding       $425.00   $2,125.00
                                  [REDACTED] for purposes of raising
                                  preclusion defenses in client's motion to
                                  dismiss, and prepare memorandum
                                  analyzing relevant legal authority;
                                  extensive analysis of [REDACTED]; review
                                  [REDACTED], and other federal cases
                                  applying [REDACTED]; review California
                                  federal and state court cases analyzing
                                  [REDACTED].
   11/10/20 Kozaczuk           2.6 Review legal authority relevant to          $425.00    $1,105.00
                                   seeking [REDACTED]; analyze district and
                                   circuit court decisions applying
                                   [REDACTED]; continue preparation of
                                   memorandum analysing potential issue
                                   and [REDACTED] and germane legal
                                   authority in preparation for motion to
                                   dismiss.
   11/11/20 Kozaczuk           0.1 Confer with P. Tyrell regarding C.          $425.00       $42.50
                                   Richmond's failure to verify the federal
                                   complaint.
   11/11/20 Kozaczuk           1.4 Confer with R. Caplan regarding             $425.00      $595.00
                                   challenges to C. Richmond's federal
                                   complaint including discussion of
                                   [REDACTED].
   11/11/20 Kozaczuk           4.6 Continue preparation of client's motion     $425.00    $1,955.00
                                   to dismiss; analyze [REDACTED] and
                                   subsequent cases addressing Ninth
                                   Circuit [REDACTED]; analyze case law
                                   regarding [REDACTED]; review
                                   [REDACTED] and other cases addressing
                                   pleadings [REDACTED], and continue
                                   preparation of memorandum addressing
                                   pertinent legal authority for motion to
                                   dismiss pursuant to Rule 12(b)(6).


   11/11/20 Kozaczuk           1.9 Evaluate plaintiff's compliance with        $425.00      $807.50
                                   pleading requirements under
                                   [REDACTED]; analysis of [REDACTED] and
                                   its progeny regarding [REDACTED] and
                                   appropriate remedits; consider next steps
                                   and prepare discussion regarding same in
                                   client's motion to dismiss.
   11/16/20 Kozaczuk           0.2 Correspondence with P. Tyrell re: moving    $425.00       $85.00
                                   for sanctions under Rule 11.
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Date        Person     Hours       Description                                Hourly rate Total Cost
   11/17/20 Kozaczuk           0.3 Review of file and Rule 23.1 in                 $425.00      $127.50
                                   preparation for meet and confer with
                                   opposing counsel; call with plaintiff's
                                   counsel to discuss unverified complaint.
   11/18/20 Kozaczuk           6.3 Continue preparation of motion to               $425.00   $2,677.50
                                   dismiss Richmond's derivative
                                   shareholder claims.
   11/25/20 Kozaczuk           0.1 Call with plaintiff's counsel regarding         $425.00       $42.50
                                   filing of amended complaint.
   11/30/20 Kozaczuk           0.2 Confer with R. Caplan regarding                 $425.00       $85.00
                                   Richmnond's [REDACTED] and potential
                                   [REDACTED].
   11/30/20 Kozaczuk           9.3 Continue preparation of motion to               $425.00   $3,952.50
                                   dismiss the federal complaint including
                                   discussion regarding res judicata effect
                                   of the anti-SLAPP order and application
                                   of the primary rights theory; review
                                   [REDACTED] and related cases regarding
                                   [REDACTED], and prepare discussion in
                                   client's motion to dismiss regarding prior
                                   litigation of pertinent elements and
                                   alleged issues in the state action.


   11/30/20 Kozaczuk           0.1 Review and reply to correspondence from       $425.00        $42.50
                                   plaintiff's counsel regarding filing of the
                                   amended complaint; interoffice
                                   correspondence regarding the same.
   12/01/20 Kozaczuk           5.2 Continue preparation of motion to             $425.00     $2,210.00
                                   dismiss derivative suit; analyze
                                   [REDACTED] and other case law
                                   regarding [REDACTED].
   12/01/20 Kozaczuk           1.5 Analysis of [REDACTED] and its progeny        $425.00       $637.50
                                   and evaluate filing [REDACTED] in the
                                   federal action; review case law regarding
                                   [REDACTED].
   12/02/20 Kozaczuk           0.5 Review verified first amended complaint       $425.00       $212.50
                                   and cross-reference with original
                                   complaint; review legal authority
                                   addressing sufficiency of [REDACTED].

   12/02/20 Kozaczuk           5.6 Review of file and identify pleadings         $425.00     $2,380.00
                                   relevant to responsive motions for
                                   client's request for judicial notice;
                                   continue preparation of memorandum of
                                   points and authorities in support of
                                   client's motion to dismiss the C.
                                   Richmond's derivative claims.
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Date        Person     Hours       Description                                  Hourly rate Total Cost
   12/03/20 Kozaczuk           4.8 Continue preparation of motion to                 $425.00   $2,040.00
                                   dismiss C. Richmond's shareholder
                                   derivative claims.
   12/12/20 Kozaczuk           2.8 Prepare client's motion to dismiss               $425.00    $1,190.00
                                   pursuant to Federal Rules of Civil
                                   Procedure 12(b)(6) and 23.1.
   12/13/20 Kozaczuk           8.4 Continue preparation of motino to                $425.00    $3,570.00
                                   dismiss the First Amended Complaint;
                                   analyze case law [REDACTED] for
                                   procedural and substantive aspects of
                                   [REDACTED] analysis; review case law
                                   addressing [REDACTED] and prepare
                                   discussion regarding the same in the
                                   memorandum of points and authorities.
   12/14/20 Kozaczuk           1.6 Analyze case law regarding [REDACTED]            $425.00      $680.00
                                   prepare memorandum addressing the
                                   same in anticipation of opposition
                                   arguments from plaintiff.
   12/14/20 Kozaczuk           7.7 Analyze case law regarding [REDACTED]            $425.00    $3,272.50
                                   including [REDACTED]; continue
                                   preparation of memorandum of points
                                   and authorities in support of motion to
                                   dismiss including discussion of
                                   inadequate representation and
                                   application of res judicata to derivative
                                   shareholder claims.
   12/15/20 Kozaczuk           1.4 Call with counsel regarding motions to           $425.00      $595.00
                                   dismiss the C. Richmond's federal claims;
                                   coordinate and discusss arguments and
                                   supporting legal authority.

   12/15/20 Kozaczuk           0.4 Confer with R. Caplan regarding motion           $425.00      $170.00
                                   to dismiss and potential requests for stay
                                   of action.
   12/15/20 Kozaczuk           7.1 Continue preparation of motion to                $425.00    $3,017.50
                                   dismiss [REDACTED]; review of file and
                                   identify pertinent records for judicial
                                   notice in support of motion to dismiss.
   12/16/20 Kozaczuk           0.8 Call with counsel to discuss overlapping         $425.00      $340.00
                                   legal arguments and authority for
                                   motions to dismiss the federal claims.
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Date        Person     Hours       Description                                 Hourly rate Total Cost
   12/16/20 Kozaczuk           6.9 Prepare request for judicial notice;             $425.00   $2,932.50
                                   continue review of file for identification
                                   of pertinent records for judicial notice in
                                   support of preclusion, demand futility,
                                   and inadequate representation
                                   arguments; review legal authority
                                   addressing use of judicial notice to
                                   establish re judicata and demand futility
                                   for purposes of citing the same in
                                   request for judicial notice; revise and
                                   finalize motion to dismiss the First
                                   Amended Complaint.

   12/17/20 Kozaczuk           0.1 Call with department clerk regarding           $425.00       $42.50
                                   motion to dismiss and hearing date.
   12/17/20 Kozaczuk           0.5 Review [REDACTED], and related cases           $425.00      $212.50
                                   [REDACTED] regarding [REDACTED] of
                                   Rule 11 motions in connection with
                                   dispositive motions; interoffice
                                   correspondence regarding the same for
                                   purposes of preparing Rule 11 motion
                                   seeking sanctions.
   12/21/20 Kozaczuk           0.3 Call with counsel regarding motions to         $425.00      $127.50
                                   dismiss and anticipated reply briefs.
   12/23/20 Kozaczuk           7.5 Prepare Rule 11 motion for sanctions;          $425.00    $3,187.50
                                   review [REDACTED], and other California,
                                   Ninth Circuit, and out-of-district decisions
                                   imposing sanctions under Rule 11
                                   [REDACTED] for purposes of referencing
                                   the same in memorandum of points and
                                   authorities.
   12/27/20 Kozaczuk           4.1 Continue preparation of memorandum of          $425.00    $1,742.50
                                   points and authorities in support of
                                   request for sanctions pursuant to Rule
                                   11; analyze federal cases addressing
                                   requests for sanctions in shareholder
                                   derivative suits.
   12/28/20 Kozaczuk           0.4 Call with counsel regarding motions for        $425.00      $170.00
                                   sanctions.
   12/28/20 Kozaczuk           4.3 Continue preparation of motion for             $425.00    $1,827.50
                                   sanctions pursuant to Federal Rule of
                                   Civil Procedure 11 including discussion of
                                   Mr. Hrutkay's knowledge or presumed
                                   knowledge over Rule 11 violations, and
                                   review of file regarding records
                                   evidencing the same.
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Date        Person     Hours       Description                               Hourly rate Total Cost
   12/29/20 Kozaczuk           0.3 Confer with R. Caplan regarding Rule 11        $425.00      $127.50
                                   motion for sanctions.
   12/29/20 Kozaczuk             4 Continue preparation of memorandum of          $425.00   $1,700.00
                                   points and authorities in support of Rule
                                   11 motion; review case law regarding
                                   [REDACTED] for purposes of citing same
                                   in moving papers.
   12/30/20 Kozaczuk           6.3 Prepare motion for sanctions pursuant to     $425.00     $2,677.50
                                   Rule 11; review of file regarding
                                   pertinent background for Rule 11 motion
                                   and identify relevant records for judicial
                                   notice; prepare request for judicial
                                   notice.
   12/31/20 Kozaczuk           0.3 Confer with R. Caplan regarding service      $425.00       $127.50
                                   of Rule 11 motion and next steps.
   12/31/20 Kozaczuk           4.6 prepare and revise moving papers             $425.00     $1,955.00
                                   seeking Rule 11 sanctions; review
                                   revisions by R. Caplan and continue
                                   preparation of memorandum of points
                                   and authorities; analyze [REDACTED] and
                                   its progeny regarding [REDACTED], for
                                   purposes of seeking sanctions against C.
                                   Richmond in the motion for sanctions.


   12/31/20 Kozaczuk           0.2 Review newly published decision              $425.00        $85.00
                                   [REDACTED] for potential impact on
                                   pending motion to dismiss.
   12/31/20 Kozaczuk           0.3 Confer with R. Caplan regarding              $425.00       $127.50
                                   arguments in Rule 11 motion, including
                                   seeking sanctions as to C. Richmond and
                                   asserting Rule 11 violations for lack of
                                   evidentiary support.
   01/01/21 Kozaczuk           4.3 Prepare attorney declaration and finalize    $460.00     $1,978.00
                                   motion for sanctions and supporting
                                   papers; correspondence with R. Caplan
                                   regarding revisions to moving papers;
                                   prepare correspondence to counsel
                                   serving motion for sanctions pursuant to
                                   Federal Rule of Civil Procedure Rule 11.


   01/05/21 Kozaczuk           0.3 Review Mikkelson and Werstbrook's            $460.00       $138.00
                                   motion for sanctions.
0/12/21     Kozaczuk           0.4 Call with counsel to discuss opposition      $460.00       $184.00
                                   papers and plaintiff's anticipated ex
                                   parte application.
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Date        Person     Hours        Description                                Hourly rate Total Cost
   01/12/21 Kozaczuk            1.8 Initial review of opposition papers to the      $460.00      $828.00
                                    motions to dismiss Richmond's claims;
                                    confer with R. Caplan regarding same in
                                    preparation for reply.
   01/13/21 Kozaczuk            0.3 Confer with counsel regarding arguments         $460.00      $138.00
                                    raised in plaintiff's opposition to the
                                    motions to dismiss; review of file in
                                    connection with the same.

   01/13/21 Kozaczuk            0.1 Review plaintiff's ex parte application       $460.00        $46.00
                                    and supporting declaration.
   01/15/21 Kozaczuk            0.2 Telephone conference with counsel             $460.00        $92.00
                                    regarding reply briefs in support of
                                    motions to dismiss.
   01/17/21 Kozaczuk            4.2 Preparation of reply brief in support of      $460.00     $1,932.00
                                    motion to dismiss derivative claims;
                                    analyze cases addressing [REDACTED],
                                    and prepare analysis regarding the same
                                    for purposes of rebutting arguments
                                    raised in plaintiff's opposition papers.

   01/19/21 Kozaczuk           10.6 Prepare and finalize reply brief in support   $460.00     $4,876.00
                                    of motion to dismiss C. Richmond's
                                    derivative claims; analyze case law cited
                                    in plaintiff's opposition papers, review
                                    related decisions, and address plaintiff's
                                    arguments relating to the same in reply
                                    brief with reference to pertinent legal
                                    authority; analyze [REDACTED], and
                                    prepare discussion addressing same in
                                    reply brief.

   01/22/21 Kozaczuk            0.1 Call with clerk regarding client's motion     $460.00        $46.00
                                    for sanctions pursuant to Federal Rule of
                                    Civil Procedure 11.
   01/22/21 Kozaczuk            0.3 Confer with counsel regarding Rule 11         $460.00       $138.00
                                    motions seeking sanctions.
   01/22/21 Kozaczuk            0.3 Draft correspondence to opposing              $460.00       $138.00
                                    counsel regarding Rule 11 motion for
                                    sanctions; confer with R. Caplan
                                    regarding the same.
   01/22/21 Kozaczuk            0.3 Review cases addressing [REDACTED] for        $460.00       $138.00
                                    purposes of timing filing of motion for
                                    sanctions.
   01/22/21 Kozaczuk            1.4 Review and finalize moving papers and         $460.00       $644.00
                                    exhibits for motion for sanctions
                                    pursuant to Federal Rule of Civil
                                    Procedure 11.
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Date        Person     Hours       Description                                Hourly rate Total Cost
   01/24/21 Kozaczuk           0.3 Revise supporting exhibits in support of        $460.00      $138.00
                                   Rule 11 sanctions for filing.
   01/25/21 Kozaczuk           0.1 Call with counsel regarding stipulation to      $460.00       $46.00
                                   extend time to oppose motion for
                                   sanctions.
   02/01/21 Kozaczuk           0.1 Call with M. Hrutkay regarding joint            $460.00       $46.00
                                   motionto continue hearings on Rule 11
                                   motions for sanctions.
   02/02/21 Kozaczuk           0.7 Prepare and revise joint motion for             $460.00      $322.00
                                   continuance of motion for sanctions and
                                   proposed order.
   02/03/21 Kozaczuk           0.3 Review newly-published [REDACTED]               $460.00      $138.00
                                   decision regarding [REDACTED] for
                                   purposes of evaluating potential
                                   persuasive authority for pending motion
                                   to dismiss; correspondence with R.
                                   Caplan regarding the same.
   02/05/21 Kozaczuk           0.4 Review correspondence from M. Hrutkay,        $460.00       $184.00
                                   revise joint stipulation and proposed
                                   order, and prepare reply correspondence
                                   to M. Hrutkay; review and reply to
                                   correspondence from defendants'
                                   counsel regarding the same.

   02/05/21 Kozaczuk           0.3 Review proposed revisions to joint            $460.00       $138.00
                                   motion; interoffice correspondence and
                                   prepare response to M. Hrutkay regarding
                                   the same; provide instruction for filing.

   03/22/21 Kozaczuk           0.2 Call with H. Heffner regarding                $460.00        $92.00
                                   oppositions to the Rule 11 sanctions
                                   motions.
   03/22/21 Kozaczuk           0.2 Confer with P. Tyrell regarding reply brief   $460.00        $92.00
                                   in support of motion for sanctions.
   03/22/21 Kozaczuk           4.7 Analyze opposition papers filed in            $460.00     $2,162.00
                                   response to Snopes' and defendants'
                                   motions for sanctions, including
                                   supporting declarations and exhibits, and
                                   motions to file under seal; review
                                   authorities cited by plaintiff, cross-
                                   reference with authority and arguments
                                   in underlying motions, and consider
                                   appropriate arguments for reply; consider
                                   next steps re: opposition to plaintiff's
                                   request for sanctions.
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Date        Person     Hours        Description                                Hourly rate Total Cost
   03/23/21 Kozaczuk            2.7 Prepare reply brief re: Rule 11 motion for      $460.00   $1,242.00
                                    sanctions; analyze opposition arguments
                                    regarding [REDACTED] required under
                                    Rule 11 including [REDACTED] review
                                    case law including [REDACTED].

   03/23/21 Kozaczuk            6.5 Begin preparation of reply brief in           $460.00    $2,990.00
                                    support of sanctions motion; analyze
                                    case law [REDACTED] including analysis
                                    of [REDACTED] and related cases
                                    addressing [REDACTED] analysis; review
                                    legal authority [REDACTED] and
                                    additional legal theories [REDACTED],
                                    and prepare discussion regarding the
                                    same in reply brief.
   03/24/21 Kozaczuk            0.6 Call with H. Heffner regarding opposition     $460.00      $276.00
                                    papers and reply briefs for pending
                                    motions for Rule 11 sanctions.
   03/24/21 Kozaczuk           10.4 Continue preparation of reply to              $460.00    $4,784.00
                                    plaintiff's opposition to sanctions motion;
                                    analyze [REDACTED] including federal
                                    cases addressing the same for purposes
                                    of rebutting plaintiff's arguments
                                    [REDACTED]; prepare discussion
                                    addressing [REDACTED], including
                                    discussion regarding [REDACTED]; review
                                    authority addressing plaintiff's argument
                                    re: [REDACTED].


   03/25/21 Kozaczuk            0.2 Call with H. Heffner re: arguments raised     $460.00       $92.00
                                    in plaintiff's opposition papers to the
                                    Rule 11 motions.
   03/25/21 Kozaczuk            0.4 Call with H. Heffner regarding legal          $460.00      $184.00
                                    authority relevant to reply briefs and
                                    evidence submitted in opposition to the
                                    Rule 11 motions
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Date        Person     Hours         Description                                 Hourly rate Total Cost
   03/25/21 Kozaczuk             7.9 Further preparation of reply brief re: Rule      $460.00   $3,634.00
                                     11 sanctions; prepare discussion
                                     regarding timing and appropriateness of
                                     motion with reference to supporting
                                     authority; consider [REDACTED]
                                     submitted in opposition to sanctions
                                     motions; review of file regarding
                                     evidence [REDACTED]; prepare discussoin
                                     regarding Snopes right to challenge
                                     derivative claims and discussion
                                     analyzing and applying objective standard
                                     for assessing frivolous filing and claims
                                     filed for an improper purposes.


   03/25/21 Kozaczuk             3.4 Revise and finalize reply brief in support    $460.00     $1,564.00
                                     of motion for Rule 11 sanctions against
                                     plaintiff and his counsel.
   03/26/21 Kozaczuk             0.3 Review defendants' objections and reply       $460.00       $138.00
                                     briefs in support of Rule 11 sanctions.
TOTALS                         257.7                                                         $111,773.00
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                         EXHIBIT 11
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
10/05/20   Heffner           0.3 Action on opening matter and                      $550.00         $165.00
                                 calendaring responsive pleading
                                 deadline; confer with attorney Sybert re
                                 attorney handling
10/30/20   Heffner           1.1 Draft demand to SMG for                           $550.00         $605.00
                                 indemnification and/or advancement of
                                 litigation fees and costs
11/03/20   Heffner           0.2 Review waiver of service; action on               $550.00         $110.00
                                 calendar and file
11/23/20   Heffner           0.7 Review docket and proof of service of             $550.00         $385.00
                                 complaint on Westbrook; review local
                                 rules relative to extending responsive
                                 pleading deadline and confer with
                                 attorney Sybert; correspond with
                                 plaintiff's counsel re stipulation
11/23/20   Heffner           0.8 Prepare legal service agreement and               $550.00         $440.00
                                 conflict waiver
11/24/20   Heffner           0.2 Correspond with plaintiff's counsel re            $550.00         $110.00
                                 Westbrook responsive pleading
11/28/20   Heffner           3.7 Review draft motion to dismiss; revise            $550.00       $2,035.00
                                 and further draft; identify issues for
                                 further development and confer with
                                 attorney Ren re same
11/30/20   Heffner           0.3 Correspond with plaintiff's counsel re            $550.00         $165.00
                                 first amended complaint and responsive
                                 pleading
12/01/20   Heffner           0.2 Correspond with Procopio re anticipated           $550.00         $110.00
                                 first amended complaint
12/02/20   Heffner           0.8 Status and strategy re pleading                   $550.00         $440.00
                                 challenges and anticipated first amended
                                 complaint; confer with attorneys Sybert
                                 and Ren re same
12/09/20   Heffner           0.2 Review correspondence and certificate of          $550.00         $110.00
                                 service from plaintiff's counsel; ation on
                                 file and calendar; confer with attorney
                                 Sybert
12/09/20   Heffner           1.2 Analyze derivative claims for additional          $550.00         $660.00
                                 pleading challenges including review of
                                 SMG and client demurrers in state court
                                 action and order on same, Dunn's state
                                 court complaint and demurrer thereto
12/10/20   Heffner           0.7 Initial analysis of merits of plaintiff's         $550.00         $385.00
                                 allegations relative to SMG's
                                 characterization of fee advancements as
                                 business expenses for tax purposes
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
12/10/20   Heffner           2.1 Analyze plaintiff's fraud, negligent              $550.00       $1,155.00
                                 misrepresentation, unjust enrichment
                                 claims for 12(b)(6) challenges; develop
                                 arguments and outline same
12/11/20   Heffner           2.7 Analyze and further develop res judicata          $550.00       $1,485.00
                                 and collateral estoppel challenges to
                                 plaintiff's fraud, negligent
                                 misrepresentation, unjust enrichment
                                 claims; develop and draft motion to
                                 dismiss
12/13/20   Heffner           2.3 Review and further draft request for              $550.00       $1,265.00
                                 judicial notice supporting motion to
                                 dismiss and identify 36 supporting
                                 exhibits preparatory to filing; augment
                                 motion to reflect same
12/14/20   Heffner           4.3 Review revised motion to dismiss;                 $550.00       $2,365.00
                                 analyse issues and continued research
                                 relative to demand futility, standing, and
                                 direct (non derivative) claims; further
                                 draft
12/15/20   Heffner           1.8 Status and strategy re claims and                 $550.00         $990.00
                                 pleading challenges; conference with
                                 SMG counsel re same; subsequent
                                 correspondences with same via phone
                                 and e-mail
12/15/20   Heffner           3.4 Reviewed revised motion to dismiss;               $550.00       $1,870.00
                                 further analyze and develop issues
                                 relative to diversity jurisdiction and
                                 request for discovery re same; further
                                 draft
12/16/20   Heffner           1.4 Further status and strategy on pleading           $550.00         $770.00
                                 challenges; correspond with SMG's
                                 counsel re same via phone and e-mail
12/16/20   Heffner           6.7 Continue preparation of motion to                 $550.00       $3,685.00
                                 dismiss
12/16/20   Heffner           1.2 Calls and e-mails with SMG counsel re             $550.00         $660.00
                                 motion to dismiss
12/17/20   Heffner           0.3 Review SMG's motion to dismiss                    $550.00         $165.00
12/18/20   Heffner           0.5 Draft proposed order granting motion to           $550.00         $275.00
                                 dismiss
12/18/20   Heffner           0.2 Review truncated deadline for motion to           $550.00         $110.00
                                 dismiss reply briefing due to court
                                 holiday; call to counsel for SMG
12/21/20   Heffner           0.4 Call with SMG counsel re strategy for             $550.00         $220.00
                                 motion to dismiss reply breiefing and
                                 potential Rule 11 motion
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
12/22/20   Heffner           1.3 Consider sanctions motion and timing of           $550.00         $715.00
                                 same including review of Rule 11 and
                                 decisional authority; confer with
                                 attorneys Sybert and Brown
12/23/20   Heffner           1.1 Review attorney Brown's summary and               $550.00         $605.00
                                 authority re [REDACTED] analyze and
                                 confer internally re application including
                                 [REDACTED]
12/23/20   Heffner           0.5 [REDACTED]                                        $550.00         $275.00
12/28/20   Heffner           3.4 Continue analysis and research relative to        $550.00       $1,870.00
                                 sanctions motion and further develop
                                 strategy; calls with counsel for SMG (.4)
                                 and attorney Brown (.3); outline grounds
                                 for motion
12/30/20   Heffner           3.9 Review draft Rule 11 memorandum;                  $550.00       $2,145.00
                                 analysis and continue drafting same
12/31/20   Heffner           5.4 Continue preparation of Rule 11                   $550.00       $2,970.00
                                 memorandum and supporting documents

01/01/21   Heffner           1.3 Review SMG's Rule 11 correspondence to            $550.00         $715.00
                                 plaintiff's counsel and enclosed motion

01/04/21   Heffner           3.5 Review and continue drafting notice of            $550.00       $1,925.00
                                 motion and memorandum supporting
                                 Rule 11 sanctions; draft attorney
                                 declaration and correspondence to
                                 plaintiff's counsel serving same
01/05/21   Heffner           0.2 Review client correspondence re timing            $550.00         $110.00
                                 of motions to dismiss and for sanctions;
                                 draft response re anticipated sequencing

01/05/21   Heffner           0.3 Correspond with client and plaintiff's            $550.00         $165.00
                                 counsel re revision to sanctions motion
01/12/21   Heffner           0.9 Review correspondences from plaintiff's           $550.00         $495.00
                                 counsel and SMG re late opposition filing
                                 and stipulation to continue briefing
                                 schedule; call with SMG counsel re same;
                                 review ex parte application

01/12/21   Heffner           1.9 Review and analyze plaintiff's opposition         $550.00       $1,045.00
                                 to motion to dismiss preparatory to
                                 drafting reply, strategy with attorneys
                                 Sybert and Ren
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
01/12/21   Heffner           3.4 Review plaintiff's authority cited in             $550.00       $1,870.00
                                 opposition to motion to dismiss direct
                                 claim for breach of fiduciary duty;
                                 research and review 20+ opinions;
                                 analysis re application of Jones v. H.F.
                                 Ahmanson & Co and potential effect of
                                 allegations re majority voting bloc
01/13/21   Heffner           2.1 Review plaintiff's arguments in                   $550.00       $1,155.00
                                 opposition to motion to dismiss that
                                 business judgment rule inapplicable at
                                 pleading stage; research and develop
                                 arguments in reply
01/13/21   Heffner           0.5 Research application of the business              $550.00         $275.00
                                 judgment rule to officers in California
01/13/21   Heffner           0.3 Call and e-mail with counsel for SMG re           $550.00         $165.00
                                 plaintiff's allegations and underlying
                                 letter exchange relative to tax return
                                 issue
01/13/21   Heffner           0.9 Draft reply in support of motion to               $550.00         $495.00
                                 dismiss
01/13/21   Heffner           1.1 Further analyze and develop                       $550.00         $605.00
                                 counterarguments in reply to plaintiff's
                                 opposition to motion to dismiss breach of
                                 fiduciary duty claim
01/14/21   Heffner           3.4 Continue to analysis and strategy in              $550.00       $1,870.00
                                 response to plaintiff's motion to dismiss
                                 opposition including continued review of
                                 first amended complaint,
                                 correspondences between parties and
                                 pleadings in underlying state court action


01/14/21   Heffner           1.2 Review and analyze plaintiff's 68-page            $550.00         $660.00
                                 objectoin to requests for judicial notice;
                                 review Evidence Code and decisional
                                 authority relative to same
01/15/21   Heffner           0.3 Correspond with court clerk re pending ex         $550.00         $165.00
                                 parte application to revise dispositive
                                 motion briefing schedule; review notice
                                 of entry of order granting same
01/15/21   Heffner           0.6 Research whether damages allegations              $550.00         $330.00
                                 sufficient under CA law
01/15/21   Heffner           0.2 Call with SMG counsel re status and               $550.00         $110.00
                                 strategy of reply supporting motion to
                                 dismiss
01/15/21   Heffner           5.9 Draft reply supporting motion to dismiss          $550.00       $3,245.00
01/16/21   Heffner           3.6 Continue drafting reply supporting                $550.00       $1,980.00
                                 motion to dismiss
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
01/17/21   Heffner           0.2 Status and strategy call with SMG's               $550.00         $110.00
                                 counsel re reply briefing supporting
                                 motion to dismiss
01/19/21   Heffner           3.3 Review and continue preparation of                $550.00       $1,815.00
                                 response to plaintiff's objections to
                                 request for judicial notice
01/20/21   Heffner           0.2 Correspond with client re analysis of             $550.00         $110.00
                                 fraud claim
01/20/21   Heffner           0.2 Correspond with counsel for SMG re                $550.00         $110.00
                                 motion to dismiss and Rule 11 briefing
01/20/21   Heffner           0.3 Review SMG's reply in support of motion           $550.00         $165.00
                                 to dismiss
01/21/21   Heffner           0.8 Review and finalize Rule 11 motion                $550.00         $440.00
                                 including notice, memorandum of points
                                 and authorities, and attorney declaration;
                                 call with clerk re hearing date for same

01/21/21   Heffner           0.9 Further draft demand for SMG                      $550.00         $495.00
                                 indemnification and/or advancement of
                                 litigation fees and costs; confer with
                                 attorneys Howatt and Sybert re same
01/22/21   Heffner           0.4 Review message from counsel for SMG;              $550.00         $220.00
                                 call with sme re demand for legal fee
                                 advancements; confer with attorney
                                 Sybert re issue relative to same
01/22/21   Heffner           0.4 Calls and e-mails with SMG counsel re             $550.00         $220.00
                                 Rule 11 motions and hearing on same
01/25/21   Heffner           0.7 Review and respond to client questions            $550.00         $385.00
                                 re motion to dismiss briefing including
                                 review of respondent's brief relative to
                                 Cal. Corp. Code 317(f) analysis under
                                 Delaware decisional authority
01/25/21   Heffner           0.7 Correspond with SMG and plaintiff's               $550.00         $385.00
                                 counsel re Hrutkay request to continue
                                 Rule 11 briefing in light of accident and
                                 hospital stay; confer with attorneys
                                 Sybert and Howatt re strategy
01/25/21   Heffner           0.2 Correspond with client re motion to               $550.00         $110.00
                                 dismiss and sanctions motion
01/26/21   Heffner           0.5 Finalize and execute Rule 11 motion;              $550.00         $275.00
                                 action on filing
01/29/21   Heffner           0.2 Call with SMG's counsel re joint motion           $550.00         $110.00
                                 relative to Rule 11 briefing schedule and
                                 demand on Board for legal fee
                                 advancements
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Date       Person    Hours       Description                                  Hourly rate    Total Cost
02/05/21   Heffner           0.7 Correspond with counsel for plaintiff and         $550.00         $385.00
                                 SMG re Rule 11 briefing and joint motion
                                 relative to same; review multiple
                                 iterations; approve motion and draft
                                 response
02/08/21   Heffner           0.3 Review correspondences between                    $550.00         $165.00
                                 counsel re motion to amend Rule 11
                                 briefing schedule and filing of same
02/16/21   Heffner           0.1 Review order granting joint motion to             $550.00          $55.00
                                 amend briefing schedule for Rule 11
                                 snactions motions; action on calendar
02/23/21   Heffner           0.3 Review status re correspondences with             $550.00         $165.00
                                 Westbrook relative to [REDACTED];
                                 confer with attorney Sybert
03/19/21   Heffner           0.2 Confer re strategy for Rule 11 reply brief        $550.00         $110.00
03/22/21   Heffner           4.1 Review and analyze plaintiff's opposition         $550.00       $2,255.00
                                 to clients' Rule 11 motion and the
                                 opposition to Snopes's Rule 11 motion;
                                 further review of prior briefing including
                                 Rule 11 moving papers and motion to
                                 dismiss papers; outline issues
03/22/21   Heffner           0.3 Call with Snopes' counsel re Rule 11              $550.00         $165.00
                                 opposition and strategy
03/23/21   Heffner           3.8 Review draft Rule 11 reply brief and cited        $550.00       $2,090.00
                                 authorities; identify issues for further
                                 research and development and confer
                                 with attorney Brown re same; continue
                                 drafting
03/24/21   Heffner           5.6 Continue analysis and drafting of Rule 11         $550.00       $3,080.00
                                 reply brief
03/24/21   Heffner           0.3 Develop strategy for objections to                $550.00         $165.00
                                 evidence; confer with attorney Brown re
                                 same
03/24/21   Heffner           0.7 Calls with counsel for Snopes re Rule 11          $550.00         $385.00
                                 briefing
03/25/21   Heffner           0.7 Further strategy calls with Snopes's              $550.00         $385.00
                                 counsel
03/25/21   Heffner           0.2 Review tentative ruling on demurrer to            $550.00         $110.00
                                 Dunn's lawsuit relative to Richmond
                                 matter; confer with attorney Sybert re
                                 same
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Date       Person    Hours         Description                                 Hourly rate    Total Cost
03/25/21   Heffner             4.1 Review draft objections to evidence;             $550.00       $2,255.00
                                   analyze, including review of Hrutkay,
                                   Tencer, and Richmond declarations,
                                   exhibits thereto, request for judicial
                                   notice, and motion to seal; further draft
                                   objections and augment reply brief to
                                   reflect same
03/25/21   Heffner             2.9 Further develop Rule 11 briefing strategy        $550.00       $1,595.00
                                   including conference with attorney
                                   Sybert; review revisions and comments
                                   from same and continue drafting

04/22/21   Heffner             0.2 Status and strategy with attorneys Sybert        $550.00         $110.00
                                   and Howatt re [REDACTED]
04/26/21   Heffner             0.2 Review status; client update including           $550.00         $110.00
                                   Rule 11 sanctions briefing
TOTALS                       118.6                                                              $65,230.00
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Date       Person   Hours       Description                                  Hourly rate    Total Cost
11/17/20   Ren              3.9 Review and analyze the complaint in the           $350.00       $1,365.00
                                federal action and relevant pleadings in
                                the state court proceeding to prepare
                                drafting the motion to dismiss

11/18/20   Ren              1.5 Draft the legal standard for motion to            $350.00         $525.00
                                dismiss under 12(b)(1) and 12(b)(6)
11/18/20   Ren              2.5 Draft the factual and proedural                   $350.00         $875.00
                                background for the motion to dismiss
11/18/20   Ren              0.8 Draft the notice to motion to dismiss and         $350.00         $280.00
                                motion to dismiss
11/18/20   Ren              2.5 Research and investigate Plaintiff's state        $350.00         $875.00
                                citizenship information in public record
                                database to help form arguments
                                regarding diversity jurisdiction

11/19/20   Ren              1.5 Continued drafting the factual and                $350.00         $525.00
                                procedural background
11/19/20   Ren                2 Review and analyze legal authorities              $350.00         $700.00
                                regarding the res judicata and collateral
                                estoppel to help form arguments in the
                                motion to dismiss
11/20/20   Ren              2.2 Review and analyze legal authorities              $350.00         $770.00
                                regarding the court's [REDACTED]
11/20/20   Ren              2.6 Draft the arguments regarding the res             $350.00         $910.00
                                judicata and collateral estoppel for the
                                motion to dismiss
11/21/20   Ren              2.9 Draft the arguments regarding                     $350.00       $1,015.00
                                [REDACTED] for the motion to dismiss
11/21/20   Ren              1.5 Review and analyze legal authorities              $350.00         $525.00
                                regarding establishing diversity
                                jurisdiction
11/21/20   Ren              1.8 Draft the arguments regarding the lack of         $350.00         $630.00
                                diversity jurisdiction
11/23/20   Ren                3 Review and analyze legal authorities              $350.00       $1,050.00
                                regarding [REDACTED] to determine
                                whether it applies to the motion, revise
                                the MPA in support of the motion to
                                dismiss
11/30/20   Ren              1.5 Revise the factual and proedural                  $350.00         $525.00
                                background in the motion to dismiss
11/30/20   Ren              1.9 Review and analyze legal authorities              $350.00         $665.00
                                regarding the finality of a judgment on
                                the merit when the appeal is pending
12/01/20   Ren                2 Make further revisions to the MPA in              $350.00         $700.00
                                support of the motion to dismiss
                                Plaintiff's complaint
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Date       Person   Hours        Description                                    Hourly rate    Total Cost
12/02/20   Ren               0.3 Receive and review the first amended                $350.00         $105.00
                                 complaint, determine the responsive due
                                 date to the amended complaint with
                                 opposing counsel's email
12/02/20   Ren               1.1 Revise the MPA in support of the motion             $350.00         $385.00
                                 to dismiss the complaint
12/07/20   Ren               0.8 Draft and revise Defendant's motion to              $350.00         $280.00
                                 dismiss and MPA in support of the
                                 motion to dismiss plaintiff's First
                                 Amended Complaint
12/08/20   Ren               0.9 Draft and revise the request for judicial           $350.00         $315.00
                                 notice in support of the motion to
                                 dismiss Plaintiff's first amended
                                 complaint
12/15/20   Ren               1.5 Review documents and case files in the              $350.00         $525.00
                                 state court case and prepare exhibits for
                                 the motion to dismiss the first amended
                                 complaint in the federal court case
12/16/20   Ren               0.5 Review and confirm Plaintiff's public               $350.00         $175.00
                                 available record in Puerto Rico for the
                                 purpose of rebutting the diversity
                                 citiaenship jurisdiction
01/12/21   Ren                 2 Review and analyze the objection to the             $350.00         $700.00
                                 request for judicial notice to prepare
                                 drafting the reply
01/13/21   Ren                 5 Start drafting the reply to Plaintiff's 40+         $350.00       $1,750.00
                                 page long objections to the request for
                                 judicial notice
01/14/21   Ren               4.7 Review and analyze legal authorities                $350.00       $1,645.00
                                 distringuishing permitted request for
                                 judicial notice and improper judicial
                                 notice, draft arguments rebut Plaintiff's
                                 arguments in objection to the request for
                                 judicial notice
01/15/21   Ren                 8 Continue drafting reply to Plaintiff's              $350.00       $2,800.00
                                 objection to each exhibit requested in the
                                 request for judicial notice
01/16/21   Ren                 3 Continue drafting the reply to Plaintiff's          $350.00       $1,050.00
                                 objection to each individual exhibit
                                 requested in the request for judicial
                                 noticee
01/19/21   Ren               0.3 Revise and finalize the reply to Plaintiff's        $350.00         $105.00
                                 objection to the Request for Judicial
                                 Notice
TOTALS                      62.2                                                                 $21,770.00
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Date       Person   Hours        Description                                   Hourly rate    Total Cost
12/23/20   Brown               1 Conduct and summarize legal research               $350.00         $350.00
                                 on [REDACTED] and review emails on
                                 same
12/26/20   Brown             1.4 Conduct and analyze legal research on              $350.00         $490.00
                                 sanctions for purposes of preparing
                                 motion
12/26/20   Brown             1.3 Review motions to dismiss and                      $350.00         $455.00
                                 attachments filed with the court for
                                 purposes of preparing motion for
                                 sanctions
12/28/20   Brown             0.4 Develop strategy and plan for motion for           $350.00         $140.00
                                 sanctions
12/29/20   Brown             1.9 Draft motion for sanctions                         $350.00         $665.00
12/29/20   Brown             1.7 Conduct and analyze legal research on              $350.00         $595.00
                                 basis for sanctions, including Rule 11 and
                                 court's inherent power
12/30/20   Brown             0.5 Supplement motion for sanctions with               $350.00         $175.00
                                 authority on res judicata and standing
12/30/20   Brown               1 Supplement motion for sanctions on                 $350.00         $350.00
                                 types of sanctions a court may issue
12/30/20   Brown             0.6 Continue drafting motion for sanctions             $350.00         $210.00
01/03/21   Brown             0.2 Review and analyze Snopes' motion for              $350.00          $70.00
                                 sanctions
01/04/21   Brown             0.3 Prepare notice of motion for sanctions             $350.00         $105.00
03/19/21   Brown             0.7 Review opposition brief in preparation of          $350.00         $245.00
                                 drafting reply brief
03/21/21   Brown             1.1 Draft reply brief in support of motion for         $350.00         $385.00
                                 sanctions
03/22/21   Brown             2.1 Continue to draft reply brief in support of        $350.00         $735.00
                                 motion for sanctions and supplement
                                 with further factual analysis and
                                 comparison to state court case
03/23/21   Brown             0.4 Supplement reply brief in support of               $350.00         $140.00
                                 motion for sanctions with further legal
                                 authority
03/24/21   Brown             0.5 Conduct legal research on demurrers and            $350.00         $175.00
                                 motions to dismiss by nominal parties,
                                 and analyze as compared to this case

03/25/21   Brown             1.6 Conduct legal research on a draft                  $350.00         $560.00
                                 objections to new evidence raised by
                                 plaintiff in opposition
03/25/21   Brown             1.1 Respond to Plaintiff's arguments under             $350.00         $385.00
                                 Rule 23.1 in reply brief and conduct legal
                                 research re: same
TOTALS                      17.8                                                                  $6,230.00
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                         EXHIBIT 12
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    Rate Report®
                          The Industry’s
                          Leading Analysis
                          of Law Firm Rates,
                          Trends, and
                          Practices




                                                       When you have to be right
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          A Letter to Our Readers


                 Welcome to the Wolters Kluwer’s ELM Solutions Real Rate Report®, the industry’s
                 leading data-driven benchmark report for lawyer rates.

                 Our Real Rate Report has been a useful data analytics resource to the legal industry
o Our Readers
         since its inception in 2010 and continues to evolve. The Real Rate Report is powered by
                Wolters Kluwer’s ELM Solutions LegalVIEW® data warehouse, the world‘s largest source
                of legal performance benchmark data, which has grown to include over $140 billion in
 7 Real Rate Report® Snapshot edition, the industry’s leading data-driven benchmark
                anonymized legal data.
 tes and matter costs.
                 The legal services industry relies on internal analytics and the use of external data
 nd ELM Solutions once again analyzed more than $9 billion in legal spending data
                 resources, such as the LegalVIEW® data warehouse, to support legal management
 yers and sellers of legal services with the transparency to make more informed
                 strategies. The depth and details of the data in the Real Rate Report enable you to
  and staffing decisions. As with past Real Rate Reports, all of the data analyzed are
                 better and
 and law firms’ e-billing benchmark  and make more
                             time management           informed investment and resourcing decisions for
                                                 solutions.
                 your organization.
  eve that the depth and granularity of the rate and matter staffing data in the Real
                 As with past Real Rate Reports, all of the data analyzed are from corporations’ and law
 ely enables you to better benchmark, predict, and manage matter costs. As the
 comes the normfirms’  e-billing and
                  and companies       time
                                  expect    management
                                          better           solutions.
                                                 information           We havemaking,
                                                              to fuel decision   included lawyer and paralegal
                 rate data filtered  by specific practice and  sub-practice    areas,
 ndustry relies more on internal analytics and the use of data resources, such as     metropolitan areas, and
                 types of matters
  M Solutions LegalVIEW®            to give legal
                          data warehouse,         departments
                                            to support            and law firms
                                                        legal management          greater ability to pinpoint
                                                                             strategies.
                 areas of opportunity.
 s, we have included lawyer and paralegal rate data filtered by specific practice and
                  We strive
 metropolitan areas,          to make
                        and types      the Real
                                  of matters     RateLegal
                                              to give  Report  a valuable and
                                                             departments   and law
                                                                                actionable
                                                                                    firms    reference tool
 npoint areas of for   legal departments
                   opportunity.  Our hope and   law firms.
                                            remains         As information
                                                      that the  always, we welcome     your comments and
                                                                            and analysis
 ort will not onlysuggestions
                   inform Legalon    what information
                                  departments           wouldrates
                                                about hourly    makeand
                                                                     thistotal
                                                                           publication
                                                                               costs, butmore valuable to you.
  to make betterWe andthank
                         moreyou  for making
                               confident       Wolters
                                         decisions  thatKluwer’s  ELM Solutions
                                                         create substantial       your trusted partner for
                                                                            cost savings
 tion with the lawlegal
                    firmsindustry  domain expertise, data, and analytics and look forward to continuing to
                           they use.
                 provide market-leading, expert solutions that deliver the best business outcomes for
 the Real Rate Report editions valuable and actionable reference tools for Legal
                  collaboration among legal departments and law firms.
 w firms. As always, we welcome your comments and suggestions on what information
 blication more valuable to you. We thank you and look forward to continuing the
 w Legal departments and law firms can collaborate with better clarity and trust.




                 Sincerely,




 anian           Jonah
                 Jonah Paransky
                       Paransky
                 Executive Vice President
                 EVP and General  Managerand General Manager
                 Wolters Kluwer’sELM
                 Wolters Kluwer’s ELMSolutions
                                      Solutions




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How to Use this Report


       The 2020 Real Rate Report:
       •   Examines law firm rates over time
       •   Itemizes rates by location, experience, firm size, areas of expertise, industry, and
           timekeeper role (i.e., partner, associate, and paralegal)
       •   Identifies variables that drive rates up or down
       All the analyses included in the report derive from the actual rates charged by law firm
       professionals as recorded on invoices submitted and approved for payment.
       Examining real, approved rate information, along with the ranges of those rates and their
       changes over time, highlights the role these variables play in driving aggregate legal cost
       and income. The analyses can energize questions for both corporate clients and law firm
       principals.
       Clients might ask whether they are paying the right amount for different types of legal
       services, while law firm principals might ask whether they are charging the right amount for
       legal services and whether to modify their pricing approach.

       Some key factors¹ that drive rates²:
       •   Geographic location - Lawyers in urban and major metropolitan areas tend to charge
           more when compared with lawyers in rural areas or small towns.
       •   Degree of difficulty - The cost of representation will be higher if the case is particularly
           complex or time-consuming; for example, if there are a large number of documents to
           review, many witnesses to depose, and numerous procedural steps, the case is likely to
           cost more (regardless of other factors like the lawyer’s level of experience).
       •   Experience and reputation - A more experienced, higher-profile lawyer is often going to
           charge more, but absorbing this higher cost at the outset may make more sense than
           hiring a less expensive lawyer who will likely take time and billable hours to come up to
           speed on unfamiliar legal and procedural issues.
       •   Overhead - The costs associated with the firm’s support network (paralegals, clerks, and
           assistants), document preparation, consultants, research, and other expenses.

       Additional analysis was performed to examine the impact of rates on law firm invoices
       relative to an e-billing providers’ business model. It should be noted that there are several
       industry-standard business models that e-billing providers use to charge law firms and other
       legal service providers to submit invoices and perform other transactions through their
       systems. The three main model types are:
       •   Client pay, where the corporate client pays a subscription for the matter and spend
           solution
       •   Law firm pay, where the law firm pays a subscription or usage fee based on the invoices
           submitted
       •   Hybrid, which is a combination of a client pay and law firm pay


       1 Source: 2018 RRR. Factor order validated in multiple analyses since 2010
       2 David Goguen, J.D., University of San Francisco School of Law (2017) Guide to Legal Services Billing Retrieved from https://
         www.lawyers.com/legal-info/research/guide-to-legal-services-billing-rates.html

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How to Use this Report


       The data shows that the law firm pay model has become normative in the industry –
       85%+ of Wolters Kluwer’s ELM Solutions clients’ law firms participate in a law firm pay or
       hybrid model. In addition, 99% of the Am Law 200 law firms participate in at least one
       law firm pay model paying 1% or more on the invoices submitted, and 97% of the Am
       Law 200 pay 2%.

       Additionally, the analysis performed then examined law firm rates from firms who
       participated in one of those law firm pay/hybrid models versus those who are in a client
       pay model. The analysis showed no statistical difference in rates, suggesting that the
       business model that the firm participates in does not impact the rates the firm charges
       to their corporate client.

       Overall, the data in the 2020 Real Rate Report provides corporate counsel with an
       understanding of the rates they can expect to pay for a given matter type, division,
       industry, or practice area and offers in-depth analyses on key drivers of rates to help
       make informed selection decisions. For law firms, it provides a relative benchmark to
       ensure that pricing for legal services remains competitive.




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Section I:
High-Level Data Cuts




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20                                                                       Page 7

     Cities
     Cities By Matter Type

     By Matter Type
     2019 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

              City            MatterType
                              Matter Type       Role    n      First         Median    Third     2019      2018    2017
                                                              Quartile                Quartile
                                            

     Rochester NY            Litigation     Partner     16     $253           $345     $380      $341      $342    $318

                             Non-Litigation Partner     11     $295           $356     $430      $374      $318    $312

                                            Associate   14     $208           $260     $348      $281      $256    $229

     Sacramento CA           Non-Litigation Partner     12     $300           $382     $493      $472      $550    $488

     Salt Lake City UT       Litigation     Partner     22     $246           $395     $442      $373      $359    $364

                                            Associate   12     $195           $235     $245      $222      $190    $262

                             Non-Litigation Partner     38     $285           $400     $419      $383      $393    $355

                                            Associate   16     $200           $210     $238      $226      $216    $214

     San Diego CA            Litigation     Partner     64     $200           $370     $605      $468      $494    $458

                                            Associate   75     $170           $225     $295      $269      $292    $298

                             Non-Litigation Partner     94     $320           $650    $1,028     $674      $625    $571

                                            Associate   67     $195           $250     $475      $335      $341    $328

     San Francisco CA        Litigation     Partner     201    $395           $641     $943      $681      $656    $633

                                            Associate   153    $300           $396     $558      $450      $443    $432

                             Non-Litigation Partner     320    $496           $675     $926      $721      $743    $705

                                            Associate   233    $336           $425     $625      $493      $470    $471

     San Jose CA             Litigation     Partner     57     $589           $762     $978      $784      $732    $762

                                            Associate   35     $349           $380     $559      $466      $444    $491

                             Non-Litigation Partner     104    $608           $850    $1,035     $852      $793    $791

                                            Associate   80     $375           $500     $695      $561      $545    $506

     San Juan PR             Litigation     Partner     11     $196           $215     $225      $215      $212    $213

                             Non-Litigation Partner     15     $223           $255     $280      $264      $241    $245

     Seattle WA              Litigation     Partner     83     $400           $463     $588      $500      $512    $483

                                            Associate   88     $299           $415     $470      $405      $409    $331

                             Non-Litigation Partner     206    $400           $520     $655      $539      $550    $501

                                            Associate   142    $298           $367     $470      $386      $398    $341

     St. Louis MO            Litigation     Partner     72     $250           $356     $448      $381      $368    $323

                                            Associate   40     $190           $225     $250      $230      $217    $206

                             Non-Litigation Partner     88     $340           $436     $548      $453      $387    $392

                                            Associate   24     $224           $265     $299      $266      $243    $228

     Syracuse NY             Non-Litigation Partner     12     $264           $295     $359      $310      $311    $307

     Tallahassee FL          Non-Litigation Partner     18     $378           $450     $563      $467      $418    $376




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 Appendix:
 Data Methodology




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Appendix: Data Methodology


Invoice Information                                  Non-Invoice Information

Data in Wolters Kluwer’s ELM Solutions reference     To capture practice area details, the matter ID
database and in the 2020 Real Rate Report were       within each invoice was associated with matter
taken from invoice line item entries contained in    profiles containing areas of work in the systems
invoices received and approved by participating      of each company. The areas of work were then
companies.                                           systematically categorized into legal practice
                                                     areas. Normalization of practice areas was done
Invoice data were received in the Legal Electronic   based on company mappings to system-level
Data Exchange Standard (LEDES) format (LEDES.        practice areas available in the ELM Solutions
org). The following information was extracted        system and by naming convention.
from those invoices and their line items:
                                                     The majority of analyses included in this report
• Law firm (which exists as a random number in       have been mapped to one of 12 practice areas,
  the ELM Solutions reference database)              further divided into sub-areas and litigation/
• Timekeeper ID (which exists as a random            non-litigation (for more information on practice
  number in the ELM Solutions reference              areas and sub-areas, please refer to pages 164-
  database)                                          166).

• Matter ID (which exists as a random number in      To capture location and jurisdiction details,
  the ELM Solutions reference database)              law firms and timekeepers were systematically
• Timekeeper’s position (role) within the law firm   mapped to the existing profiles within ELM
  (partner, associate, paralegal, etc.)              Solutions systems, as well as with publicly
                                                     available data sources for further validation and
• Uniform Task-Based Management System Code          normalization. Where city location information
  Set, Task Codes, and Activity Codes (UTBMS.        is provided, it includes any address within that
  com)                                               city’s defined Core-Based Statistical Area (CBSA)
• Date of service                                    as defined by the Office of Management and
                                                     Budget (OMB). The CBSAs are urban centers
• Hours billed                                       with populations of 10,000 or more and include
• Hourly rate billed                                 all adjacent counties that are economically
                                                     integrated with that urban center.
• Fees billed
                                                     Where the analyses focus on partners, associates,
                                                     and paralegals, the underlying data occasionally
                                                     included some sub-roles, such as “senior
                                                     partner” or “junior associate.” In such instances,
                                                     those timekeeper sub-roles were placed within
                                                     the broader partner, associate, and paralegal
                                                     segments.

                                                     Demographics regarding law firm size, location,
                                                     and lawyer years of experience were augmented
                                                     by incorporating publicly available information.




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Appendix: Data Methodology
A Note on US Cities
Throughout the report, we have used city names to refer to CBSA and consistently used the principal city
in the CBSA to refer to the entire area. The following are the shorthand city names used in this report and
the corresponding CBSA designations, as defined by the OMB.


Principal City                         CBSA Name

Akron, OH                             Akron, OH
Albany, NY                            Albany-Schenectady-Troy, NY
Albuquerque, NM                       Albuquerque, NM
Atlanta, GA                           Atlanta-Sandy Springs-Alpharetta, GA
Atlantic City, NJ                     Atlantic City-Hammonton, NJ
Austin, TX                            Austin-Round Rock-Georgetown, TX
Baltimore, MD                         Baltimore-Columbia-Towson, MD
Baton Rouge, LA                       Baton Rouge, LA
Birmingham, AL                        Birmingham-Hoover, AL
Boise City, ID                        Boise City, ID
Boston, MA                            Boston-Cambridge-Newton, MA-NH
Bridgeport, CT                        Bridgeport-Stamford-Norwalk, CT
Buffalo, NY                           Buffalo-Cheektowaga, NY
Burlington, VT                        Burlington-South Burlington, VT
Charleston, SC                        Charleston-North Charleston, SC
Charleston, WV                        Charleston, WV
Charlotte, NC                         Charlotte-Concord-Gastonia, NC-SC
Chicago, IL                           Chicago-Naperville-Elgin, IL-IN-WI
Cincinnati, OH                        Cincinnati, OH-KY-IN
Cleveland, OH                         Cleveland-Elyria, OH
Columbia, SC                          Columbia, SC
Columbus, OH                          Columbus, OH
Dallas, TX                            Dallas-Fort Worth-Arlington, TX
Dayton, OH                            Dayton-Kettering, OH
Denver, CO                            Denver-Aurora-Lakewood, CO
Des Moines, IA                        Des Moines-West Des Moines, IA
Detroit, MI                           Detroit-Warren-Dearborn, MI
Fresno, CA                            Fresno, CA
Grand Rapids, MI                      Grand Rapids-Kentwood, MI
Greenville, SC                        Greenville-Anderson, SC
Harrisburg, PA                        Harrisburg-Carlisle, PA
Hartford, CT                          Hartford-East Hartford-Middletown, CT


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Appendix: Data Methodology
A Note on US Cities


Principal City                 CBSA Name

Honolulu, HI                  Urban Honolulu HI
Houston, TX                   Houston-The Woodlands-Sugar Land, TX
Indianapolis, IN              Indianapolis-Carmel-Anderson, IN
Jackson, MS                   Jackson, MS
Jacksonville, FL              Jacksonville, FL
Kansas City, MO               Kansas City, MO-KS
Knoxville, TN                 Knoxville, TN
Lafayette, LA                 Lafayette, LA
Las Vegas, NV                 Las Vegas-Henderson-Paradise, NV
Lexington, KY                 Lexington-Fayette, KY
Little Rock, AR               Little Rock-North Little Rock-Conway, AR
Los Angeles, CA               Los Angeles-Long Beach-Anaheim, CA
Louisville, KY                Louisville/Jefferson County, KY-IN
Madison, WI                   Madison, WI
Miami, FL                     Miami-Fort Lauderdale-Pompano Beach, FL
Milwaukee, WI                 Milwaukee-Waukesha, WI
Minneapolis, MN               Minneapolis-St. Paul-Bloomington, MN-WI
Nashville, TN                 Nashville-Davidson-Murfreesboro-Franklin, TN
New Haven, CT                 New Haven-Milford, CT
New Orleans, LA               New Orleans-Metairie, LA
New York, NY                  New York-Newark-Jersey City, NY-NJ-PA
Oklahoma City, OK             Oklahoma City, OK
Omaha, NE                     Omaha-Council Bluffs, NE-IA
Orlando, FL                   Orlando-Kissimmee-Sanford, FL
Philadelphia, PA              Philadelphia-Camden-Wilmington, PA-NJ-DE-MD
Phoenix, AZ                   Phoenix-Mesa-Chandler, AZ
Pittsburgh, PA                Pittsburgh, PA
Portland, ME                  Portland-South Portland, ME
Portland, OR                  Portland-Vancouver-Hillsboro, OR-WA
Providence, RI                Providence-Warwick, RI-MA
Raleigh, NC                   Raleigh-Cary, NC
Richmond, VA                  Richmond, VA
Rochester, NY                 Rochester, NY
Sacramento, CA                Sacramento-Roseville-Folsom, CA



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Appendix: Data Methodology
A Note on US Cities


Principal City                 CBSA Name

Salt Lake City, UT            Salt Lake City, UT
San Diego, CA                 San Diego-Chula Vista-Carlsbad, CA
San Francisco, CA             San Francisco-Oakland-Berkeley, CA
San Jose, CA                  San Jose-Sunnyvale-Santa Clara, CA
San Juan, PR                  San Juan-Bayamon-Caguas, PR
Savannah, GA                  Savannah, GA
Seattle, WA                   Seattle-Tacoma-Bellevue, WA
St. Louis, MO                 St. Louis, MO-IL
Syracuse, NY                  Syracuse, NY
Tallahassee, FL               Tallahassee, FL
Tampa, FL                     Tampa-St. Petersburg-Clearwater, FL
Toledo, OH                    Toledo, OH
Trenton, NJ                   Trenton-Princeton, NJ
Tulsa, OK                     Tulsa, OK
Virginia Beach, VA            Virginia Beach-Norfolk-Newport News, VA-NC
Washington, DC                Washington-Arlington-Alexandria, DC-VA-MD-WV
Wheeling, WV                  Wheeling, WV-OH




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Appendix: Data Methodology

Anonymization of the Dataset                         “Real Rate” Definition
Prior to inclusion in the ELM Solutions reference    The information in this report consists of data
database, we systematically scrubbed the             taken from client invoices submitted by law
data of any information that would identify a        firms for work performed from 1/1/2017 through
particular matter, company, law firm, invoice, or    12/31/2019. All Invoices were submitted through
timekeeper (individual). To ensure relationships     the ELM billing systems.
necessary for analysis, those variables were
                                                     The analyses contained in this report are
assigned randomly generated numbers. To
                                                     derived from aggregating hours, fees, and rates
maintain data integrity and allow for proper
                                                     submitted as line items on those invoices. For a
analysis, these numbers are linked across data
                                                     line item to qualify for inclusion in this report,
tables to enforce their associations.
                                                     it had to undergo multiple and rigorous testing
To further ensure anonymity and confidentiality:     processes to ensure its validity.
• The information is published in such a manner      For example, for a rate to be loaded to the ELM
  as to make it reasonably impervious to reverse     Solutions reference database and used in this
  analysis should some attempt be made to            report, it must have been part of an invoice line
  determine what data might pertain to any           entry in which all of the following items were
  company, law firm, timekeeper, invoice, or         included:
  matter;                                            • Name of the biller
• The 2020 Real Rate Report will not reveal which    • Role of the biller
  ELM Solutions client or clients are included or    • Date of activity
  excluded in its analyses;
                                                     • Hourly rate charged
• Clients are not and will not be informed as        • Time charged
  to whether their data are included within a
  particular facet of analysis; and                  • UTBMS code associated with the time charged
                                                     • Total amount charged for the activity
• No textual description of any legal work
  performed by any individual exists in the          In addition, each line item’s hourly rate was
  ELM Solutions reference database.                  validated against its “real rate” (calculated by
                                                     dividing the total amount charged for the activity
A Note on Insurance Litigation                       by the time charged). Any line items with an
Our aim is to provide a point of comparison          hourly rate that did not align closely with the real
for companies purchasing law firm services. To       rate were not loaded to the reference database.
improve comparability, we removed data related       Real Rate = Line Item Total/Line Item Hours
to insurance company defense litigation for all      (Units) Example: $4,000/10 Hours = Real Rate of
analyses unless noted otherwise. Insurance           $400
litigation tends to be less expensive than
other types of litigation, as it is typically more   Adjustments the client made to line item amounts
repetitive and less complex.                         subsequent to submission are not factored into
                                                     the dataset. These types of adjustments may
                                                     impact the effective rate paid by the client to the
                                                     law firm but do not reflect the real rate billed.




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Appendix: Data Methodology

In short, the real rate is the rate appearing on an     All data included within this report have been
approved invoice at the invoice line item level.        mapped to a corresponding practice area. The
                                                        majority of our analyses focus on the following 12
Aggregations of data taken from millions of these
                                                        practice areas:
line item–level invoice entries are the core of the
information analyzed.                                   • Bankruptcy and Collections
                                                        • Commercial
A Note on Negotiated Rates and Billing
                                                        • Corporate
Practices law firms can generally follow vary for       • Employment and Labor
submitting “negotiated” rates on invoices. Firms
                                                        • Environmental
may submit the negotiated rate as the hourly rate
identified on the invoice line item, insert a vendor    • Finance and Securities
line item adjustment to ensure compliance,              • General Liability
or provide a vendor invoice level adjustment            • Government Relations
to bring the total amount of the fees into              • Insurance Defense
compliance with agreed-on discounts. Although
the former two are considered part of the real          • Intellectual Property
rate calculation, the latter can be problematic. It     • Marketing and Advertising
is not directly linked to a line item, and therefore,   • Real Estate
for the purposes of determining the rate, it
                                                        Within each client’s areas of work, sub-areas are
should not be assumed that the adjustment
                                                        often identified. The lists that follow identify
is related to a specific line item. Invoice-level
                                                        client areas of work and, within those areas, the
adjustments may represent a credit or some
                                                        sub-areas underneath each practice area. Often,
other type of adjustment placed on the invoice.
                                                        the same sub-area appears within different
To ensure these types of adjustments would not
                                                        practice areas. For example, the sub-area
adversely impact the analysis contained within
                                                        “General/Other” when listed under “Commercial
the 2020 Real Rate Report, the team reviewed
                                                        and Contracts” refers to general work provided
the population of invoices and line items to
                                                        regarding Commercial and Contracts matters.
determine what the deviation of the real rate
                                                        When listed under the “Employment and Labor”
might be based on inclusion or exclusion. The
                                                        practice area, the same sub-area refers to work
analysis demonstrated that the variance was not
                                                        provided on Employment and Labor. Where
significant (less than 1%).
                                                        applicable and practicable, each area and sub-
As such, we decided not to include the vendor-          area has been further subdivided into litigation
level adjustments in the report.                        and non- litigation work for the purposes of
                                                        granular analysis.
Types of Matters Included in the Analysis
Matters within the ELM Solutions system are             Bankruptcy and Collections
associated with areas of work described and             Chapter 11
defined by ELM Solutions clients. Those areas           Collections
of work were analyzed and systematically                General/Other
categorized into legal practice areas.                  Workouts and Restructuring
Normalization of practice areas was supported by
mappings to system-level practice areas available
in the ELM Solutions system and by naming
convention.




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Appendix: Data Methodology

Commercial (Commercial Transactions and Agreements)
Contract Breach or Dispute
General, Drafting, and Review
General/Other

Corporate1
Antitrust and Competition                                               Partnerships and Joint Ventures
Corporate Development                                                   Regulatory and Compliance
General/Other                                                           Strategic Asset Management
Governance                                                              Tax
Information and Technology                                              Treasury
Mergers, Acquisitions, and Divestitures                                 White Collar/Fraud/Abuse

Employment and Labor
ADA                                                                     General/Other
Agreements                                                              Immigration
Compensation and Benefits                                               OFCCP
Discrimination, Retaliation, and Harassment/EEO                         Union Relations and Negotiations/NLRB
Employee Dishonesty/Misconduct                                          Wages, Tips, and Overtime
ERISA                                                                   Wrongful Termination

Environmental
General/Other
Health and Safety
Permits
Superfund
Waste/Remediation

Finance and Securities
Commercial Loans and Financing                                          Investments and Other Financial Instruments
Debt/Equity Offerings                                                   Loans and Financing
Fiduciary Services                                                      SEC Filings and Financial Reporting
General/Other                                                           Securities and Banking Regulations

General Liability
Asbestos/Mesothelioma                                                   Personal Injury/Wrongful Death
Auto and Transportation                                                 Premises
Consumer Related Claims                                                 Product and Product Liability
Crime, Dishonesty and Fraud                                             Property Damage
General/Other                                                           Toxic Tort

Government Relations
General/Other
Lobbying and Relations



1 All references to “Corporate: General/Other” in the 2020 Real Rate Report are the aggregation of all Corporate subareas excluding the
  Mergers, Acquisitions, and Divestitures sub-area and the Regulatory and Compliance sub-area.


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Appendix: Data Methodology

Insurance Defense
Asbestos/Mesothelioma
Auto and Transportation
Errors and Omissions
General/Other
Personal Injury/Wrongful Death
Product and Product Liability
Professional Liability
Property Damage
Toxic Tort

Intellectual Property2
Copyrights
General/Other
Licensing
Patents
Trademarks

Marketing and Advertising
General/Other


Real Estate
Commercial
Construction/Development
Easement and Right of Way
General/Other
Land Use/Zoning/Restrictive Covenants
Landlord/Tenant Issues
Leasing
Property/Land Acquisition or Disposition
Titles




2 All references to “Intellectual Property: General/Other” in the 2020 Real Rate Report are the aggregation of all Intellectual Property
  sub-areas excluding the Patents and Trademarks sub-areas.


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About Wolters Kluwer’s ELM Solutions
Wolters Kluwer’s ELM Solutions is the market-leading global provider of enterprise legal spend
and matter management, contract lifecycle management, and legal analytics solutions. We
provide a comprehensive suite of tools that address the growing needs of corporate legal
operations departments to increase operational efficiency and reduce costs. Corporate legal
and insurance claims departments trust our innovative technology and end-to-end customer
experience to drive world-class business outcomes. Wolters Kluwer’s ELM Solutions was named
a leader in both the IDC MarketScape: Worldwide Enterprise Legal Spend Management 2020
Vendor Assessment and IDC MarketScape: Worldwide Enterprise Matter Management 2020 Vendor
Assessment. The award-winning products include Passport®, the highest-rated ELM solution in
the latest Hyperion MarketView™ Legal Market Intelligence Report; TyMetrix® 360°, the industry’s
leading SaaS-based e-billing and matter management solution; CLM Matrix, named a “strong
performer” in the 2019 Q1 CLM Forrester Wave report; and the LegalVIEW® portfolio of legal
analytics solutions based upon the industry’s largest and most comprehensive legal spend
database, with more than $140 billion in invoices.




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